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                         IN THE UNITED STATES DISTRICT COURT

                        FOR THE SOUTHERN DISTRICT OF FLORIDA

    ALAN CAMPBELL, derivatively on behalf of
    RYDER SYSTEM, INC.,
                                                        Case No. ________________
           Plaintiff,

           vs.

    ROBERT E. SANCHEZ, ART A. GARCIA,                   DEMAND FOR JURY TRIAL
    DENNIS C. COOKE, JOHN M. BERRA,
    ROBERT J. ECK, ROBERT A. HAGEMANN,
    L. PATRICK HASSEY, MICHAEL F.
    HILTON, TAMARA L. LUNDGREN, LUIS P.
    NIETO, JR., DAVID G. NORD, ABBIE J.
    SMITH, E. FOLLIN SMITH, DMITRI L.
    STOCKTON, and HANSEL E. TOOKES, II,

           Defendants,

           and

    RYDER SYSTEM, INC.,

           Nominal Defendant.


                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

         Plaintiff Alan Campbell (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively and

  on behalf of Nominal Defendant Ryder System, Inc. (“Ryder” or the “Company”), files this

  Verified Shareholder Derivative Complaint against Individual Defendants Robert E. Sanchez, Art

  A. Garcia, Dennis C. Cooke, John M. Berra, Robert J. Eck, Robert A. Hagemann, L. Patrick

  Hassey, Michael F. Hilton, Tamara L. Lundgren, Luis P. Nieto, Jr., David G. Nord, Abbie J. Smith,

  E. Follin Smith, Dmitri L. Stockton, and Hansel E. Tookes, II (collectively, the “Individual

  Defendants,” and together with Ryder, the “Defendants”) for breaches of their fiduciary duties as

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  directors and/or officers of Ryder, unjust enrichment, waste of corporate assets, and violations of

  Sections 14(a), 10(b), and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”). As

  for Plaintiff’s complaint against the Individual Defendants, Plaintiff alleges the following based

  upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and belief as to

  all other matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s

  attorneys, which included, among other things, a review of the Defendants’ public documents,

  conference calls, and announcements made by Defendants, United States Securities and Exchange

  Commission (“SEC”) filings, wire and press releases published by and regarding Ryder, legal

  filings, news reports, securities analysts’ reports and advisories about the Company, and

  information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary

  support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                    NATURE OF THE ACTION

         1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

  by Ryder’s directors and/or officers starting on July 23, 2015 and continuing through February 13,

  2020 (the “Relevant Period”).

         2.      Ryder is a global provider of transportation and supply chain management solutions

  and operates its business through three main segments: (i) Fleet Management Solutions (“FMS”);

  (ii) Dedicated Transportation Solutions (“DTS”); and (iii) Supply Chain Solutions (“SCS”).

         3.      The FMS segment provides full-service leasing and leasing with flexible

  maintenance options, shorter-term commercial truck rental, and contract or transactional

  maintenance services of trucks, tractors, and trailers. As the Company has the largest commercial




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  vehicle fleet in North America, the FMS segment is a critical aspect of the Company’s overall

  business as it currently accounts for approximately 60% of Ryder’s revenue.

             4.   Ryder’s FMS segment’s financial performance is dependent on demand for truck

  rentals and leases, as well as demand for the used trucks once their useful life is over.

             5.   Most of the Company’s assets are tied up in its fleet of commercial trucks and

  tractors, i.e., the Company’s “revenue-earning equipment.” As a result, the valuation of the

  Company’s revenue-earning equipment, like its trucks, was critical to the Company’s finances.

             6.   The Company was required to report the value its revenue-earning equipment

  according to Generally Accepted Accounting Principles (“GAAP”). Pursuant to GAAP, the

  Company was required to recognize expenses associated with its revenue-earning equipment in

  the same reporting periods that revenue generated by such equipment was recognized. For

  example, one such expense was depreciation (which is simply the reduction in the asset’s value

  over time).

             7.   The Company calculated depreciation as the difference between the vehicle’s cost

  and its residual value (the value at which Ryder would be able to sell the used vehicle at the end

  of its useful life). Thus, the higher the residual value, the less depreciation a company needs to

  recognize because of that asset’s retained value. Since the Company has a lot of assets, namely its

  vehicles, depreciation is a major expense. Therefore, the residual value of the Company’s revenue-

  earning equipment is a vital consideration and has a huge impact on the Company’s financial

  results.

             8.   However, as discussed in detail below, throughout the Relevant Period, the

  Individual Defendants caused the Company to engage in improper accounting practices by



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  overstating the residual value of its trucking fleet, which allowed the Company to record lower

  depreciation expenses on those assets for years, and, in turn, artificially inflate the Company’s

  earnings and misrepresent the Company’s true financial position.

         9.      Moreover, residual values of Ryder’s vehicles were critical to other aspects of

  Ryder’s business, including the price of the lease that Ryder offered to consumers. Each month of

  the lease, the Ryder customer pays a portion of the vehicle’s depreciation expense. Therefore, if

  Ryder were to increase the residual value of its vehicles, the amount of deprecation on those

  vehicles would decline, which would lower the monthly payments customers make pursuant to the

  lease and make the Company’s lease pricing more competitive in the market. Consequently, by

  inflating the residual values of their vehicles, and understating its depreciation expense, Ryder not

  only artificially inflated its earnings, but the Company also artificially drove its leasing business

  throughout the Relevant Period.

         10.     In fact, between 2011 and 2016, Ryder adjusted the residual values of certain assets

  upwards between $10 million and $40 million, allowing Ryder to decrease the incremental

  depreciation charge the Company recorded on these assets each year, which boosted Ryder’s

  earnings.

         11.     But, starting in mid-2015, the Company should have adjusted the residual values

  of its vehicles downward. As admitted to by the Company’s CEO, Defendant Sanchez (defined

  below), the market for Ryder’s used vehicles started plummeting around then and the number of

  the Company’s used vehicles for sale increased greatly between 2015 and 2016. Despite the drop

  in used vehicle prices, the Company did not reduce residual values on its trucks (as it should have),




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  causing the Company to improperly overstate its earnings by hundreds of millions of dollars during

  the Relevant Period.

         12.     As explained more fully below, the Individual Defendants knew, at least by mid-

  2015, that a drastic reduction in residual values on Company vehicles was necessary but

  nonetheless caused the Company to fail to make the proper adjustments to its financial reporting—

  in particular to its vehicles’ residual values—in an attempt to artificially inflate the Company’s

  earnings and performance.

         13.     The truth began to gradually emerge on July 30, 2019, when Ryder reduced its full-

  year 2019 guidance and indicated that the lower earnings projection reflected the Company’s

  weaker valuation of its tractors. Then, on October 29, 2019, Ryder announced that it was reducing

  the residual value estimates and management finally admitted that the Company’s “residual value

  estimates likely exceeded the expected future values that would be realized upon the sale of power

  vehicles in our fleet.” Ryder incurred an additional $177 million in depreciation expenses for the

  third quarter of 2019 and announced a reduction in its residual value estimated for the second half

  of 2019 by $289 million. Moreover, the Company reduced its residual value estimates moving

  forward through 2024-2025 by $844 million.

         14.     Then, in a February 13, 2020 Press Release, Ryder finally disclosed that the full

  financial impact of its reduced residual value estimates was more than $1 billion. In response to

  this disclosure, the Company’s stock price fell dramatically by over 23% over three trading days,

  from a closing price of $50.19 per share on February 12, 2020 to a closing price of $38.34 per

  share on February 18, 2020.




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         15.     Although the Company claimed that the adjustment was due to an unexpected and

  unpredictable decline in used vehicle prices starting in the second half of 2019, it is clear that the

  Individual Defendants were aware of, or recklessly disregarded, a sharp and prolonged downturn

  in the market for used vehicles starting in mid-2015 and continuing throughout the Relevant Period

  and, thus, should have reduced the residual value of the Company’s assets much earlier than they

  did.

         16.     Instead, during the Relevant Period, the Individual Defendants breached their

  fiduciary duties by causing the Company to engage in improper accounting practices, and by

  personally making and/or causing the Company to make to the investing public a series of

  materially false and misleading statements regarding the Company’s business, operations, and

  prospects. Specifically, the Individual Defendants willfully or recklessly made and/or caused the

  Company to make false and misleading statements to the investing public that failed to disclose,

  inter alia, that: (1) throughout the Relevant Period, nearly all of Ryder’s used vehicles were selling

  at prices significantly below the residual values that the Company had designated for each vehicle;

  (2) as a result, Ryder had a large number of vehicles that were recorded at high residual values that

  needed to be written down because the residual values of the Company’s used vehicles had

  materially decreased and its depreciation expense had materially increased beginning at least as

  early as mid-2015; (3) the Company failed to correctly reduce the residual values of its fleet

  vehicles or increase its depreciation expense, which resulted in a material overstatement of the

  Company’s net earnings, earnings per share, the value of its operating property and equipment, its

  total assets, retained earnings, and total shareholder’s equity; (4) the Company failed to maintain




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  internal controls. As a result of the foregoing, the Company’s public statements were materially

  false and misleading at all relevant times.

         17.     The Individual Defendants failed to correct and/or caused the Company to fail to

  correct these false and/or misleading statements and/or omissions of material fact, rendering them

  personally liable to the Company for breaching their fiduciary duties.

         18.     Additionally, in breach of their fiduciary duties, the Individual Defendants willfully

  or recklessly caused the Company to fail to maintain internal controls.

         19.     As a result of the foregoing, the Individual Defendants’ and Company’s public

  statements were materially false and misleading at all relevant times.

         20.     Furthermore, during the period when the Company’s stock price was artificially

  inflated due to the false and misleading statements discussed herein, the Individual Defendants

  caused the Company to repurchase its own stock at prices that were artificially inflated due to the

  foregoing misrepresentations, while six of them engaged in lucrative insider sales, netting

  combined proceeds of over $11.5 million. Approximately 3.1 million of the Company’s equity

  securities were repurchased during the Relevant Period for over $201.3 million. As the Company’s

  stock was actually only worth $38.45 per share during that time, the Company overpaid

  approximately $83 million in total.

         21.     In light of the Individual Defendants’ misconduct, which has subjected Ryder, its

  CEO, its former CFO, and its former President of the FMS Solutions segment to being named as

  defendants in a federal securities fraud class action lawsuit pending in the United States District

  Court for the Southern District of Florida (the “Securities Class Action”), the need to undertake

  internal investigations, the need to implement adequate internal controls over its financial



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  reporting, and the losses from the waste of corporate assets, the Company will have to expend

  many millions of dollars.

         22.     In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

  eleven of whom are the Company’s current directors, their collective engagement in the fraud, the

  substantial likelihood of the directors’ liability in this derivative action and of two of them in the

  related Securities Class Action, their being beholden to each other, their longstanding business and

  personal relationships with each other, and their not being disinterested or independent directors,

  a majority of the Ryder’s Board of Directors (the “Board”) cannot consider a demand to commence

  litigation against themselves on behalf of the Company with the requisite level of disinterestedness

  and independence.

                                           JURISDICTION

         23.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

  Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act, 15 U.S.C. §

  78n(a)(1) and Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9, Sections 10(b) and 20(a)

  of the Exchange Act, 15 U.S.C. §§ 78j(b), 78t(a) and 78t-1, and SEC Rule 10b-5 (17 C.F.R. §

  240.10b-5) promulgated thereunder, and raise a federal question pertaining to the claims made in

  the Securities Class Action based on violations of the Exchange Act.

         24.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

  to 28 U.S.C. § 1367(a).

         25.     This derivative action is not a collusive action designed to confer jurisdiction upon

  a court of the United States that it would not otherwise have.




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         26.     Additionally, this Court also has subject matter jurisdiction under 28 U.S.C. §

  1332(a)(l) because complete diversity exists between the Plaintiff and each of the Defendants, and

  the amount in controversy exceeds $75,000 exclusive of interest and costs.

         27.     The Court has personal jurisdiction over each of the Defendants because each

  Defendant is either a corporation incorporated and/or conducting business and maintaining

  operations in this District, or he or she is an individual who is a citizen of Florida or who has

  minimum contacts with this District to justify the exercise of jurisdiction over them.

         28.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a

  substantial portion of the transactions and wrongs complained of herein occurred in this District,

  and the Defendants have received substantial compensation in this District by engaging in

  numerous activities that had an effect in this District.

         29.     Venue is proper in this District because Ryder and the Individual Defendants have

  conducted business in this District, and Defendants’ actions have had an effect in this District.

                                               PARTIES

         Plaintiff

         30.     Plaintiff is a current shareholder of Ryder common stock. Plaintiff has continuously

  held Ryder common stock at all relevant times. Plaintiff is citizen of the State of Michigan.

         Nominal Defendant Ryder

         31.     Nominal Defendant Ryder is a Florida corporation with corporate headquarters at

  11690 N.W. 105th Street, Miami, Florida 33178. Ryder’s shares trade on the New York Stock

  Exchange (“NYSE”) under the ticker symbol “R.”




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         Defendant Sanchez

         32.    Defendant Robert E. Sanchez (“Sanchez”) has served as Ryder’s President and

  Chief Executive Officer since January 2013 and as a Company director and Chairman of Ryder’s

  Board since May 2013. According to the 2020 Proxy Statement, as of February 28, 2020,

  Defendant Sanchez beneficially owned 718,409 shares of the Company’s common stock, which

  represented 1.3% of the Company’s outstanding shares of common stock as of that date. Given

  that the price per share of the Company’s common stock at the close of trading on February 28,

  2020 was $38.04, Defendant Sanchez owned over $27.3 million worth of Ryder stock.

         33.    For the fiscal year ended December 31, 2015, Defendant Sanchez received

  $5,640,937 in compensation from the Company. This included $768,825 in salary, $1,628,493 in

  stock awards, $1,539,956 in option awards, $1,520,137 in non-equity incentive plan compensation,

  and $183,526 in all other compensation. For the fiscal year ended December 31, 2016, Defendant

  Sanchez received $5,105,686 in compensation from the Company. This included $785,225 in

  salary, $1,351,441 in stock awards, $1,539,987 in option awards, $1,207,635 in non-equity

  incentive plan compensation, $65,069 in pension value and nonqualified deferred compensation

  earnings, and $156,329 in all other compensation. For the fiscal year ended December 31, 2017,

  Defendant Sanchez received $6,137,757 in compensation from the Company. This included

  $804,000 in salary, $2,140,487 in stock awards, $1,640,009 in option awards, $1,309,625 in non-

  equity incentive plan compensation, $101,879 in pension value and nonqualified deferred

  compensation earnings, and $141,757 in all other compensation. For the fiscal year ended

  December 31, 2018, Defendant Sanchez received $7,393,876 in compensation from the Company.

  This included $820,080 in salary, $3,558,155 in stock awards, $1,230,369 in option awards,



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  $1,595,259 in non-equity incentive plan compensation, and $190,013 in all other compensation.

  For the fiscal year ended December 31, 2019, Defendant Sanchez received $6,604,851 in

  compensation from the Company. This included $870,468 in salary, $3,897,431 in stock awards,

  $860,002 in option awards, $501,247 in non-equity incentive plan compensation, $196,915 in

  pension value and nonqualified deferred compensation earnings, and $278,788 in all other

  compensation.

         34.        During the Relevant Period, when the Company materially misstated information

  to the investing public to keep the stock price inflated, and before the scheme was exposed,

  Defendant Sanchez made the following sales of Company stock:

             Date              Number of Shares        Price Per Share            Proceeds
       May 24, 2016                 37,550                 $68.05               $2,555,277.50
      August 4, 2017                26,275                 $72.43               $1,903,098.25
      August 7, 2018                27,830                 $78.04               $2,171,853.20



  Thus, in total, before the fraud was exposed, Defendant Sanchez sold 91,655 Company shares on

  inside information, for which he received over $6.6 million. His insider sales, made with

  knowledge of material nonpublic information before the material misstatements and omissions

  were exposed, demonstrate his motive in facilitating and participating in the scheme.

         35.        The Company’s 2020 Proxy Statement stated the following about Defendant

  Sanchez:

         Mr. Sanchez currently serves as Chair and Chief Executive Officer of Ryder
         System, Inc.

         Mr. Sanchez was appointed Chair of Ryder's Board in May 2013. He was appointed
         President and Chief Executive Officer in January 2013, at which time he was also
         elected to Ryder's Board. Mr. Sanchez joined Ryder in 1993 and has served in


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         positions of increasing responsibility, including a broad range of leadership
         positions in Ryder's business segments. Mr. Sanchez served as President and Chief
         Operating Officer from February 2012 to December 2012. Prior to that position, he
         served as President of Global Fleet Management Solutions, Ryder's largest business
         segment, from September 2010 to February 2012. Mr. Sanchez also served as
         Executive Vice President and Chief Financial Officer from October 2007 to
         September 2010; as Executive Vice President of Operations, U.S. Fleet
         Management Solutions from October 2005 to October 2007; and as Senior Vice
         President and Chief Information Officer from January 2003 to October 2005. Mr.
         Sanchez has been a member of Ryder's Executive Leadership team since 2003.

         The Board nominated Mr. Sanchez as a director because of his leadership
         experience and expertise in transportation, supply chains/logistics, global
         operations, finance and information technology, which the Board finds to be
         valuable skills that complement the other skills represented on our Board. He has
         leadership experience based on years of broad-based, diverse senior management
         experience at Ryder, including serving as President and Chief Operating Officer,
         Division President of Ryder's largest business segment, Chief Financial Officer and
         Chief Information Officer. He also has experience as a director on a global public
         company board, including serving as compensation committee chair.

         Consistent with our policies and practices related to director service, in making a
         determination as to Mr. Sanchez's nomination, the Board considered Mr. Sanchez's
         current role as CEO of Ryder and service on the board of another public company.
         Mr. Sanchez was renominated based on his qualifications listed above, his valuable,
         significant contributions to the Board and Company and his demonstrated
         willingness and ability to commit adequate time and attention to all Board matters.

         36.    Upon information and belief, Defendant Sanchez is a citizen of Florida.

         Defendant Garcia

         37.    Defendant Art A. Garcia (“Garcia”) served as Executive Vice President and Chief

  Financial Officer of Ryder from December 2010 until April 5, 2019, and then served as a Special

  Advisor to the CEO until April 30, 2019. According to the 2020 Proxy Statement, as of April 5,

  2019, Defendant Garcia beneficially owned 134,752 shares of the Company’s common stock.

  Given that the price per share of the Company’s common stock at the close of trading on April 5,

  2019 was $64.73, Defendant Garcia owned approximately $8.7 million worth of Ryder stock.



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         38.    For the fiscal year ended December 31, 2015, Defendant Garcia received

  $1,678,684 in compensation from the Company. This included $440,800 in salary, $372,679 in

  stock awards, $359,954 in option awards, $424,426 in non-equity incentive plan compensation,

  and $80,825 in all other compensation. For the fiscal year ended December 31, 2016, Defendant

  Garcia received $1,680,694 in compensation from the Company. This included $479,783 in salary,

  $337,208 in stock awards, $392,027 in option awards, $351,234 in non-equity incentive plan

  compensation, $42,095 in pension value and nonqualified deferred compensation earnings, and

  $78,347 in all other compensation. For the fiscal year ended December 31, 2017, Defendant Garcia

  received $2,117,220 in compensation from the Company. This included $492,500 in salary,

  $601,366 in stock awards, $480,031 in option awards, $410,686 in non-equity incentive plan

  compensation, $62,842 in pension value and nonqualified deferred compensation earnings, and

  $69,795 in all other compensation. For the fiscal year ended December 31, 2018, Defendant Garcia

  received $2,483,295 in compensation from the Company. This included $500,000 in salary,

  $1,028,202 in stock awards, $360,113 in option awards, $509,282 in non-equity incentive plan

  compensation, and $85,698 in all other compensation. For the fiscal year ended December 31,

  2019, Defendant Garcia received $1,877,049 in compensation from the Company. This included

  $166,667 in salary, $90,876 in stock awards, $115,698 in pension value and nonqualified deferred

  compensation earnings, and $1,503,808 in all other compensation.

         39.    During the Relevant Period, when the Company materially misstated information

  to the investing public to keep the stock price inflated, and before the scheme was exposed,

  Defendant Garcia made the following sales of Company stock:




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           Date              Number of Shares          Price Per Share             Proceeds
     February 19, 2016              2,000                   $56.38                $112,760.00
     February 15, 2017              2,205                   $78.83                $173,820.15
       July 30, 2018                3,412                   $76.82                $262,109.84



  Thus, in total, before the fraud was exposed, Defendant Garcia sold 7,617 Company shares on

  inside information, for which he received $548,689. His insider sales, made with knowledge of

  material nonpublic information before the material misstatements and omissions were exposed,

  demonstrate his motive in facilitating and participating in the scheme.

         40.      The Company’s 2018 10-K stated the following about Defendant Garcia:

         Art A. Garcia has served as Executive Vice President and Chief Financial Officer
         since September 2010. Previously, Mr. Garcia served as Senior Vice President and
         Controller from October 2005 to August 2010, and as Vice President and Controller
         from February 2002 to September 2005. Mr. Garcia joined Ryder in 1997 and has
         held various other positions within Corporate Accounting.

         41.      Upon information and belief, Defendant Garcia is a citizen of Florida.

         Defendant Cooke

         42.      Defendant Dennis C. Cooke (“Cooke”) served as President of Ryder’s Global FMS

  segment from February 2012 until August 29, 2019 and remained with the Company until

  November 30, 2019. Prior to that, Defendant Cooke had served as Senior Vice President and Chief

  of Operations for Ryder’s FMS segment in the United States and Canada since 2011. According

  to the Company’s 2020 Proxy Statement, as of November 30, 2019, Defendant Cooke beneficially

  owned 100,634 shares of the Company’s common stock. Given that the price per share of the




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  Company’s common stock at the close of trading on November 29, 20191 was $52.49, Defendant

  Cooke owned approximately $5.3 million worth of Ryder stock.

         43.    For the fiscal year ended December 31, 2015, Defendant Cooke received

  $2,053,554 in compensation from the Company. This included $533,050 in salary, $424,134 in

  stock awards, $400,010 in options awards, $600,559 in non-equity incentive plan compensation,

  and $95,801 in all other compensation. For the fiscal year ended December 31, 2016, Defendant

  Cooke received $1,843,686 in compensation from the Company. This included $543,750 in salary,

  $353,692 in stock awards, $399,982 in options awards, $456,462 in non-equity incentive plan

  compensation, and $89,800 in all other compensation. For the fiscal year ended December 31,

  2017, Defendant Cooke received $2,399,477 in compensation from the Company. This included

  $555,000 in salary, $666,620 in stock awards, $539,966 in options awards, $558,692 in non-equity

  incentive plan compensation, and $79,199 in all other compensation. For the fiscal year ended

  December 31, 2018, Defendant Cooke received $2,925,059 in compensation from the Company.

  This included $566,825 in salary, $1,147,463 in stock awards, $405,127 in options awards,

  $708,217 in non-equity incentive plan compensation, and $97,427 in all other compensation. For

  the fiscal year ended December 31, 2019, Defendant Cooke received $4,214,364 in compensation

  from the Company. This included $527,358 in salary, $1,228,413 in stock awards, $270,002 in

  options awards, and $2,188,591 in all other compensation.




  1
   Since the Company’s 2020 Proxy Statement reflects Defendant Cooke’s beneficial ownership as
  of November 30, 2019, a Saturday, Plaintiff uses the closing price from the day before, Friday,
  November 29, 2019, to determine the value of Defendant Cooke’s ownership of Ryder stock.

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         44.      During the Relevant Period, when the Company materially misstated information

  to the investing public to keep the stock price inflated, and before the scheme was exposed,

  Defendant Cooke made the following sales of Company stock:

           Date              Number of Shares          Price Per Share            Proceeds
    November 14, 2016               6,000                  $79.27                $475,620.00
       July 31, 2017                9,650                  $72.75                $702,037.50
     October 31, 2017              32,328                  $81.46               $2,633,438.88



  Thus, in total, before the fraud was exposed, Defendant Garcia sold 47,978 Company shares on

  inside information, for which he received over $3.8 million. His insider sales, made with

  knowledge of material nonpublic information before the material misstatements and omissions

  were exposed, demonstrate his motive in facilitating and participating in the scheme.

         45.      The Company’s 2018 10-K stated the following about Defendant Cooke:

         Dennis C. Cooke has served as President, Global Fleet Management Solutions since
         February 2012. Previously, Mr. Cooke served as Senior Vice President and Chief
         of Operations, U.S. and Canada Fleet Management Solutions from July 2011 to
         February 2012. Prior to joining Ryder in July 2011, Mr. Cooke held various
         positions with General Electric (GE) and related companies, including Vice
         President and General Manager of GE Healthcare’s Global MRI business from
         2000 to 2005. He then served as President and Chief Executive Officer of GE
         Security’s Homeland Protection business from 2005 to 2009, and continued serving
         in those roles from 2009 to 2011 after the business was acquired by the Safran
         Group and became Morpho Detection, Inc.

         46.      Upon information and belief, Defendant Cooke is a citizen of Florida.

         Defendant Berra

         47.      Defendant John M. Berra (“Berra”) served as a Company director from July 2003

  until May 3, 2019. He served as a member of the Compensation Committee and as a member of

  the Finance Committee.


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         48.      For the fiscal year ended December 31, 2015, Defendant Berra received $248,309

  in compensation from the Company. This included $101,000 in fees earned or paid in cash,

  $137,309 in stock awards, and $10,000 in all other compensation. For the fiscal year ended

  December 31, 2016, Defendant Berra received $283,760 in compensation from the Company. This

  included $100,000 in fees earned or paid in cash, $173,760 in stock awards, and $10,000 in all

  other compensation. For the fiscal year ended December 31, 2017, Defendant Berra received

  $279,456 in compensation from the Company. This included $100,000 in fees earned or paid in

  cash and $179,456 in stock awards. For the fiscal year ended December 31, 2018, Defendant Berra

  received $289,624 in compensation from the Company. This included $100,000 in fees earned or

  paid in cash, $179,624 in stock awards, and $10,000 in all other compensation. For the fiscal year

  ended December 31, 2019, Defendant Berra received $128,379 in compensation from the

  Company. This included $82,562 in fees earned or paid in cash, $35,817 in stock awards, and

  $10,000 in all other compensation.

         49.      During the Relevant Period, when the Company materially misstated information

  to the investing public to keep the stock price inflated, and before the scheme was exposed,

  Defendant Berra made the following sale of Company stock:

           Date              Number of Shares          Price Per Share            Proceeds
       May 8, 2018                 1,990                   $68.33                $135,976.70



         50.      His insider sale, made with knowledge of material nonpublic information before

  the material misstatements and omissions were exposed, demonstrate his motive in facilitating and

  participating in the scheme.




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           51.    The Company’s 2018 Proxy Statement (defined below) stated the following about

  Berra:

           Mr. Berra served as Chairman of Emerson Process Management, a global leader in
           providing solutions to customers in process control, and Executive Vice President
           of Emerson Electric Company, until he retired in October 2010.

           Prior to October 2008, Mr. Berra served as President of Emerson Process
           Management. He joined Emerson's Rosemount division as a marketing manager in
           1976 and continued assuming more prominent roles in the organization until 1997
           when he was named President of Emerson's Fisher-Rosemount division (now
           Emerson Process Management). Prior to joining Emerson, Mr. Berra was an
           instrument and electrical engineer with Monsanto Company.

           The Board nominated Mr. Berra as a director because of his leadership experience
           and expertise in global marketing, operations and technology/engineering, which
           the Board finds to be valuable skills that complement the other skills represented
           on our Board. In addition, Mr. Berra has leadership experience in positions of
           executive oversight and senior management in a global public company with a
           diversified business. He also has experience as a director on a global public
           company board, including serving on audit,
           compensation and governance committees.

           Consistent with our policies and practices related to director service, in making a
           determination as to Mr. Berra's nomination, the Board considered Mr. Berra's
           current service on the board of another public company. Mr. Berra was renominated
           based on his qualifications listed above, his valuable, significant contributions to
           the Board and Company and his demonstrated willingness and ability to commit
           adequate time and attention to all Board matters.

           52.    Upon information and belief, Defendant Berra is a citizen of Texas.

           Defendant Eck

           53.    Defendant Robert J. Eck (“Eck”) has served as a Company director since March

  2007. He also serves as a member of the Compensation Committee and as a member of the

  Corporate Governance and Nominating Committee. Previously, he served as a member of the

  Finance Committee. Additionally, Defendant Eck has also served as the Company’s Lead

  Independent Director. According to the 2020 Proxy Statement, as of February 28, 2020, Defendant


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  Eck beneficially owned 19,715 shares of the Company’s common stock. Given that the price per

  share of the Company’s common stock at the close of trading on February 28, 2020 was $38.04,

  Defendant Eck owned approximately $749,959 worth of Ryder stock.

         54.    For the fiscal year ended December 31, 2015, Defendant Eck received $229,975 in

  compensation from the Company. This included $101,000 in fees earned or paid in cash, $118,975

  in stock awards and $10,000 in all other compensation. For the fiscal year ended December 31,

  2016, Defendant Eck received $252,951 in compensation from the Company. This included

  $100,000 in fees earned or paid in cash, $142,951 in stock awards and $10,000 in all other

  compensation. For the fiscal year ended December 31, 2017, Defendant Eck received $257,566 in

  compensation from the Company. This included $100,000 in fees earned or paid in cash, $147,566

  in stock awards and $10,000 in all other compensation. For the fiscal year ended December 31,

  2018, Defendant Eck received $266,358 in compensation from the Company. This included

  $100,000 in fees earned or paid in cash, $156,358 in stock awards and $10,000 in all other

  compensation. For the fiscal year ended December 31, 2019, Defendant Eck received $219,741 in

  compensation from the Company. This included $100,000 in fees earned or paid in cash, $181,741

  in stock awards and $10,000 in all other compensation.

         55.    The Company’s 2020 Proxy Statement stated the following about Eck:

         Mr. Eck served as Chief Executive Officer of Anixter International, Inc. (Anixter),
         a global distributor of network and security solutions, electrical and electronic
         solutions, and utility power solutions, from 2008 until he retired in 2018. He serves
         on Anixter’s Board of Directors.

         Mr. Eck joined Anixter in 1989 and held roles of increasing responsibility in
         strategy, supply chain management, sales and marketing, and human resources.
         From 2007 to 2008, Mr. Eck served as Executive Vice President and Chief
         Operating Officer of Anixter. Prior to that position, Mr. Eck served as Executive
         Vice President of Enterprise Cabling and Security Solutions for Anixter from 2004


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         to 2007. In 2003, he served as Senior Vice President of Physical Security Products
         and Integrated Supply of Anixter Inc.

         The Board nominated Mr. Eck as a director because of his leadership experience
         and expertise in supply chain management, domestic and international operations,
         and marketing and business development, which the Board finds to be valuable
         skills that complement the other skills represented on our Board. In addition, Mr.
         Eck has prior leadership experience as President and Chief Executive Officer of a
         global public company. He also has experience as a director on a global public
         company board.

         Consistent with our policies and practices related to director service, in making a
         determination as to Mr. Eck's nomination, the Board considered Mr. Eck's
         qualifications listed above, his valuable, significant contributions to the Board and
         Company and his demonstrated willingness and ability to commit adequate time
         and attention to all Board matters.

         56.    Upon information and belief, Defendant Eck is a citizen of Illinois.

         Defendant Hassey

         57.    Defendant L. Patrick Hassey (“Hassey”) served as a Company director from

  December 2005 to February 2018. Defendant Hassey also served as the Chair of the Compensation

  Committee and as a member of the Corporate Governance and Nominating Committee.

         58.    For the fiscal year ended December 31, 2015, Defendant Hassey received $247,842

  in compensation from the Company. This included $115,000 in fees earned or paid in cash and

  $132,842 in stock awards. For the fiscal year ended December 31, 2016, Defendant Hassey

  received $272,020 in compensation from the Company. This included in $106,000 fees earned or

  paid in cash and $166,020 stock awards. For the fiscal year ended December 31, 2017, Defendant

  Hassey received $271,463 in compensation from the Company. This included $100,000 in fees

  earned or paid in cash and $171,463 in stock awards.

         59.    The Company’s 2017 Proxy Statement stated the following about Defendant

  Hassey:


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         Served as Chairman and Chief Executive Officer of Allegheny Technologies
         Incorporated (ATI), a global leader in the production of specialty materials until he
         retired in May 2011.

         Mr. Hassey also served as President of ATI until August 2010. He became
         Chairman in 2004 and President and Chief Executive Officer in 2003. Mr. Hassey
         served as an outside management consultant to ATI executive management. Before
         joining ATI, Mr. Hassey served as Executive Vice President and member of the
         corporate executive committee of Alcoa, Inc. from May 2000 until his early
         retirement in February 2003. He served as Executive Vice President of Alcoa and
         Group President of Alcoa Industrial Components from May 2000 to October 2002.
         Prior to May 2000 to October 2002. Prior to May 2000, Mr. Hassey served as
         Executive Vice President of Alcoa and President of Alcoa Europe, Inc.

         The Board nominated Mr. Hassey as a director because of his leadership experience
         and expertise in global operations and oversight of large and diverse business units,
         which the Board finds to be valuable skills that complement the other skills
         represented on our Board. In addition, Mr. Hassey has leadership experience as
         President and Chief Executive Officer of a global public company. He also has
         experience as a director on global public company boards, including serving as
         board chair and member of audit and compensation committees.

         Consistent with our policies and practices related to director service, in making a
         determination as to Mr. Hassey's nomination, the Board considered Mr. Hassey's
         current service on the board of another public company. Mr. Hassey was
         renominated based on his qualifications listed above, his valuable, significant
         contributions to the Board and Company and his demonstrated willingness and
         ability to commit adequate time and attention to all Board matters.

         60.    Upon information and belief, Defendant Hassey is a citizen of Utah.

         Defendant Hagemann

         61.    Defendant Robert A. Hagemann (“Hagemann”) has served as a Company director

  since August 2014. Defendant Hagemann has also served as a member and as the Chair of the

  Board’s Audit Committee and as a member of the Finance Committee. According to the 2020

  Proxy Statement, as of February 28, 2020, Defendant Hagemann beneficially owned 13,670 shares

  of the Company’s common stock. Given that the price per share of the Company’s common stock




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  at the close of trading on February 28, 2020, was $38.04, Defendant Hagemann owned

  approximately $520,007 worth of Ryder stock.

         62.     For the fiscal year ended December 31, 2015, Defendant Hageman received

  $219,357 in compensation from the Company. This included $107,750 in fees earned or paid in

  cash and $111,607 in stock awards. For the fiscal year ended December 31, 2016, Defendant

  Hagemann received $248,689 in compensation from the Company. This included in $116,000 fees

  earned or paid in cash, $130,689 stock awards, and $2,000 in all other compensation. For the fiscal

  year ended December 31, 2017, Defendant Hagemann received $257,680 in compensation from

  the Company. This included $121,000 in fees earned or paid in cash, $134,680 in stock awards,

  and $2,000 in all other compensation. For the fiscal year ended December 31, 2018, Defendant

  Hagemann received $269,039 in compensation from the Company. This included $121,000 in fees

  earned or paid in cash, $146,039 in stock awards, and $2,000 in all other compensation. For the

  fiscal year ended December 31, 2019, Defendant Hagemann received $290,339 in compensation

  from the Company. This included $122,000 in fees earned or paid in cash, $166,339 in stock

  awards, and $2,000 in all other compensation.

         63.     The Company’s 2020 Proxy Statement stated the following about Defendant

  Hagemann:

         Mr. Hagemann served as Senior Vice President and Chief Financial Officer of
         Quest Diagnostics Incorporated until he retired in 2013.Mr. Hagemann joined
         Quest’s predecessor, Corning Life Sciences, Inc., in 1992, and held roles of
         increasing responsibility until he was named Chief Financial Officer of Quest in
         1998. Prior to joining Corning, Mr. Hagemann held senior financial positions at
         Prime Hospitality, Inc. and Crompton & Knowles, Inc. He also held various
         positions in corporate accounting and audit at Merrill Lynch and Company and
         Ernst & Young.




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         The Board nominated Mr. Hagemann as a director because of his leadership
         experience and expertise in finance/accounting, business development, strategy,
         supply chains and government contracting, which the Board finds to be valuable
         skills that complement the other skills represented on our Board. In addition, Mr.
         Hagemann has leadership experience as Chief Financial Officer of a global public
         company. He also has experience as a director on global public company boards,
         including serving on audit, compensation and research/innovation/technology
         committees.

         Consistent with our policies and practices related to director service, in making a
         determination as to Mr. Hagemann's nomination, the Board considered Mr.
         Hagemann's current service on the board of two other public companies. Mr.
         Hagemann was renominated based on his qualifications listed above, his valuable,
         significant contributions to the Board and Company and his demonstrated
         willingness and ability to commit adequate time and attention to all Board matters.

         64.    Upon information and belief, Defendant Hagemann is a citizen of New York.

         Defendant Hilton

         65.    Defendant Michael F. Hilton (“Hilton”) has served as a Company director since

  July 2012. He also serves as a member of the Compensation Committee and as a member of the

  Corporate Governance and Nominating Committee. According to the 2020 Proxy Statement, as of

  February 28, 2020, Defendant Hilton beneficially owned 15,477 shares of the Company’s common

  stock. Given that the price per share of the Company’s common stock at the close of trading on

  February 28, 2020 was $38.04, Defendant Hilton owned over $588,745 worth of Ryder stock.

         66.    For the fiscal year ended December 31, 2015, Defendant Hilton received $216,712

  in compensation from the Company. This included $100,000 in fees earned or paid in cash and

  $116,712 in stock awards. For the fiscal year ended December 31, 2016, Defendant Hilton received

  $239,043 in compensation from the Company. This included $100,000 in fees earned or paid in

  cash and $139,043 in stock awards. For the fiscal year ended December 31, 2017, Defendant Hilton

  received $243,488 in compensation from the Company. This included $100,000 in fees earned or



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  paid in cash and $143,488 in stock awards. For the fiscal year ended December 31, 2018,

  Defendant Hilton received $253,088 in compensation from the Company. This included $100,000

  in fees earned or paid in cash and $153,088 in stock awards. For the fiscal year ended December

  31, 2019, Defendant Hilton received $276,860 in compensation from the Company. This included

  $100,000 in fees earned or paid in cash and $176,860 in stock awards.

            67.    The Company’s 2020 Proxy Statement stated the following about Defendant

  Hilton:

            Mr. Hilton served as the President and Chief Executive Officer of Nordson
            Corporation, an engineering and manufacturing company, from 2010 until he
            retired in 2019. Prior to joining Nordson, Mr. Hilton served as Senior Vice
            President and General Manager of Air Products & Chemicals, Inc. from 2007 until
            2010 with specific responsibility for leading the company's global Electronics and
            Performance Materials segment. Mr. Hilton joined Air Products in 1976, where he
            held roles of increasing responsibility in a variety of management and operations
            positions. Air Products serves customers in industrial, energy, technology and
            healthcare markets worldwide with a unique portfolio of atmospheric gases,
            process and specialty gases, performance materials, equipment and services.

            The Board nominated Mr. Hilton as a director because of his leadership experience
            and expertise in global operations, strategy development, business to business
            marketing, and oversight of large and diverse business units, which the Board finds
            to be valuable skills that complement the other skills represented on our Board. In
            addition, Mr. Hilton has leadership experience as a Chief Executive Officer of a
            global public company. He also has experience as a director on two global public
            company boards, including serving on audit and governance committees.

            Consistent with our policies and practices related to director service, in making a
            determination as to Mr. Hilton's nomination, the Board considered Mr. Hilton's
            current role as CEO of another public company and service on the board of his
            company and one other public company. Mr. Hilton was renominated based on his
            qualifications listed above, his valuable contributions to the Board, his in-depth
            knowledge of the Company gleaned from his years of service on the Board, and his
            demonstrated willingness and ability to commit adequate time and attention to all
            Board matters.

            68.    Upon information and belief, Defendant Hilton is a citizen of Ohio.



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         Defendant Lundgren

         69.    Defendant Tamara L. Lundgren (“Lundgren”) has served as a Company director

  since October 2012. She also serves as a member of the Board’s Audit Committee and as a member

  of the Corporate Governance and Nominating Committee. According to the 2020 Proxy Statement,

  as of February 28, 2020, Defendant Lundgren beneficially owned 14,514 shares of the Company’s

  common stock. Given that the price per share of the Company’s common stock at the close of

  trading on February 28, 2020 was $38.04, Defendant Lundgren owned approximately $552,113

  worth of Ryder stock.

         70.    For the fiscal year ended December 31, 2015, Defendant Lundgren received

  $216,726 in compensation from the Company. This included $101,000 in fees earned or paid in

  cash and $115,726 in stock awards. For the fiscal year ended December 31, 2016, Defendant

  Lundgren received $244,933 in compensation from the Company. This included $100,000 in fees

  earned or paid in cash and $137,433 in stock awards. For the fiscal year ended December 31, 2017,

  Defendant Lundgren received $244,275 in compensation from the Company. This included

  $100,000 in fees earned or paid in cash and $141,775 in stock awards and $2,500 in other

  compensation. For the fiscal year ended December 31, 2018, Defendant Lundgren received

  $260,263 in compensation from the Company. This included $101,000 in fees earned or paid in

  cash, $149,263 in stock awards, and $10,000 in other compensation. For the fiscal year ended

  December 31, 2019, Defendant Lundgren received $278,443 in compensation from the Company.

  This included $102,000 in fees earned or paid in cash, $166,443 in stock awards, and $10,000 in

  other compensation.




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         71.    The Company’s 2020 Proxy Statement stated the following about Defendant

  Lundgren:

         Ms. Lundgren serves as President and Chief Executive Officer of Schnitzer Steel
         Industries, Inc., a position she has held since 2008. Schnitzer Steel is one of the
         largest manufacturers and exporters of recycled ferrous metal products in the
         United States with approximately 100 operating facilities in the United States,
         Puerto Rico and Canada.

         Ms. Lundgren joined Schnitzer Steel in 2005 as Chief Strategy Officer and
         subsequently served as Executive Vice President and Chief Operating Officer from
         2006 until 2008. Prior to joining Schnitzer Steel, Ms. Lundgren was a managing
         director at JP Morgan Chase in London and managing director at Deutsche Bank
         AG in New York and London. Before joining Deutsche Bank, Ms. Lundgren was
         a partner at the law firm of Hogan & Hartson, LLP in Washington D.C.

         The Board nominated Ms. Lundgren as a director because of her leadership
         experience and expertise in global operations, strategy, finance and corporate law,
         which the Board finds to be valuable skills that complement the other skills
         represented on our Board. In addition, Ms. Lundgren has leadership experience as
         President and Chief Executive Officer of a global public company. She also has
         experience as a director on a global public company board.

         The Board has determined that Ms. Lundgren qualifies as an audit committee
         financial expert. Consistent with our policies and practices related to director
         service, in making a determination as to Ms. Lundgren's nomination, the Board
         considered Ms. Lundgren's current role as CEO of another public company and
         service on the board of her company. Ms. Lundgren was renominated based on her
         qualifications listed above, her valuable, significant contributions to the Board and
         Company and her demonstrated willingness and ability to commit adequate time
         and attention to all Board matters.

         72.    Upon information and belief, Defendant Lundgren is a citizen of Oregon.

         Defendant Nieto

         73.    Defendant Luis P. Nieto, Jr. (“Nieto”) has served as a Company director since

  February 2007. He also serves as a member of the Compensation Committee and as a member of

  the Finance Committee. Previously, he served as the Chair of the Finance Committee. According

  to the 2020 Proxy Statement, as of February 28, 2020, Defendant Nieto beneficially owned 24,708


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  shares of the Company’s common stock. Given that the price per share of the Company’s common

  stock at the close of trading on February 28, 2020 was $38.04, Defendant Nieto owned

  approximately $939,892 worth of Ryder stock.

         74.      For the fiscal year ended December 31, 2015, Nieto received $249,637 in

  compensation from the Company. This included $114,000 in fees earned or paid in cash, $130,637

  in stock awards, and $5,000 in all other compensation. For the fiscal year ended December 31,

  2016, Nieto received $282,494 in compensation from the Company. This included $110,000 in

  fees earned or paid in cash, $162,494 in stock awards, and $10,000 in all other compensation. For

  the fiscal year ended December 31, 2017, Nieto received $287,793 in compensation from the

  Company. This included $110,000 in fees earned or paid in cash, $167,793 in stock awards, and

  $10,000 in all other compensation. For the fiscal year ended December 31, 2018, Nieto received

  $290,272 in compensation from the Company. This included $110,000 in fees earned or paid in

  cash, $170,272 in stock awards, and $10,000 in all other compensation. For the fiscal year ended

  December 31, 2019, Nieto received $311,751 in compensation from the Company. This included

  $104,000 in fees earned or paid in cash, $197,751 in stock awards and $10,000 in all other

  compensation.

         75.      During the Relevant Period, when the Company materially misstated information

  to the investing public to keep the stock price inflated, and before the scheme was exposed,

  Defendant Nieto made the following sales of Company stock:

           Date              Number of Shares         Price Per Share             Proceeds
       May 9, 2018                 1,990                   $67.93               $135,181.70
     August 27, 2019               2,293                   $46.67               $107,014.31




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  Thus, in total, before the fraud was exposed, Defendant Nieto sold 4,283 Company shares on inside

  information, for which he received over $242,196. His insider sales, made with knowledge of

  material nonpublic information before the material misstatements and omissions were exposed,

  demonstrate his motive in facilitating and participating in the scheme.

         76.     The Company’s 2020 Proxy Statement stated the following about Nieto:

         Mr. Nieto served as President of the Consumer Foods Group for ConAgra Foods
         Inc. from 2007 until he retired in 2009.

         Mr. Nieto joined ConAgra in 2005 and held various leadership positions, including
         President of the Meats Group and Refrigerated Foods Group. ConAgra is one of
         the largest packaged food companies in North America. Prior to joining ConAgra,
         Mr. Nieto was President and Chief Executive Officer of the Federated Group, a
         leading private label supplier to the retail grocery and foodservice industries, from
         2002 to 2005. From 2000 to 2002, he served as President of the National
         Refrigerated Products Group of Dean Foods Company. Prior to joining Dean
         Foods, Mr. Nieto held positions in brand management and strategic planning with
         Mission Foods, Kraft Foods and the Quaker Oats Company. Mr. Nieto is the
         President of Nieto Advisory LLC, a consulting firm and is affiliated with Akoya
         Capital Partners.

         The Board nominated Mr. Nieto as a director because of his leadership experience
         and expertise in finance, operations, supply chains, brand management, marketing
         and strategic planning, which the Board finds to be valuable skills that complement
         the other skills represented on our Board. In addition, Mr. Nieto has leadership
         experience in positions of executive oversight and senior management at a global
         public company. He also has experience as a director on a global public company
         board, including serving on audit and governance committees.

         The Board nominated Mr. Nieto as a director because of his leadership experience
         and expertise in finance, operations, supply chains, brand management, marketing
         and strategic planning, which the Board finds to be valuable skills that complement
         the other skills represented on our Board. In addition, Mr. Nieto has leadership
         experience in positions of executive oversight and senior management at a global
         public company. He also has experience as a director on a global public company
         board, including serving on audit and governance committees.

         Consistent with our policies and practices related to director service, in making a
         determination as to Mr. Nieto's nomination, the Board considered Mr. Nieto's past
         service on the board of another public company. Mr. Nieto was renominated based


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         on his qualifications listed above, his valuable, significant contributions to the
         Board and Company and his demonstrated willingness and ability to commit
         adequate time and attention to all Board matters.

         77.    Upon information and belief, Defendant Nieto is a citizen of Illinois.

         Defendant Nord

         78.    Defendant David G. Nord (“Nord”) has served as a Company director since March

  2018. He also serves as a member and the Chair of the Board’s Audit Committee and as a member

  of the Finance Committee. According to the 2020 Proxy Statement, as of February 28, 2020,

  Defendant Nord beneficially owned 9,255 shares of the Company’s common stock. Given that the

  price per share of the Company’s common stock at the close of trading on February 28, 2020 was

  $38.04, Defendant Nord owned over $352,060 worth of Ryder stock.

         79.    For the fiscal year ended December 31, 2018, Defendant Nord received $226,498

  in compensation from the Company. This included $89,166 in fees earned or paid in cash and

  $137,332 in stock awards. For the fiscal year ended December 31, 2019, Defendant Nord received

  $266,330 in compensation from the Company. This included $100,000 in fees earned or paid in

  cash, $156,330 in stock awards, and $10,000 in all other compensation.

         80.    The Company’s 2020 Proxy Statement stated the following about Defendant Nord:

         Mr. Nord serves Chairman and Chief Executive Officer of Hubbell Incorporated,
         an international manufacturer of electrical and electronic products for a broad range
         of non-residential and residential construction, industrial and utility applications.
         Mr. Nord has held this position since May 2014, and prior to that served as
         President and Chief Executive Officer of Hubbell since January 2013.

         Mr. Nord joined Hubbell in 2005 as Senior Vice President and Chief Financial
         Officer, and subsequently served as President and Chief Operating Officer from
         2012 to 2013. Prior to joining Hubbell, Mr. Nord held various senior financial
         positions at United Technologies Corporation, including Vice President and
         Controller as well as Vice President of Finance and Chief Financial Officer of
         Hamilton Sundstrand Corporation, one of its principal subsidiaries.


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         The Board nominated Mr. Nord as a director because of his leadership experience,
         expertise in global operations and strong financial acumen, which the Board finds
         to be valuable skills that complement the other skills represented on our Board. In
         addition, Mr. Nord has leadership experience as President and CEO of a global
         public company. He also has experience as a director on a global public company
         board.

         Consistent with our policies and practices related to director service, in making a
         determination as to Mr. Nord's nomination, the Board considered Mr. Nord's
         current role as CEO of another public company and service on the board of his
         company. Mr. Nord was nominated based on his qualifications listed above and his
         willingness and ability to commit adequate time and attention to all Board matters.

         81.    Upon information and belief, Defendant Nord is a citizen of Connecticut.

         Defendant A. Smith

         82.    Defendant Abbie J. Smith (“A. Smith”) has served as a Company director since

  July 2003. She also serves as the Chair of the Finance Committee and as a member of the Board’s

  Audit Committee. According to the 2020 Proxy Statement, as of February 28, 2020, Defendant A.

  Smith beneficially owned 51,933 shares of the Company’s common stock. Given that the price per

  share of the Company’s common stock at the close of trading on February 28, 2020 was $38.04,

  Defendant A. Smith owned approximately $2 million worth of Ryder stock.

         83.    For the fiscal year ended December 31, 2015, Defendant A. Smith received

  $256,309 in compensation from the Company. This included $119,000 in fees earned or paid in

  cash and $137,309 in stock awards. For the fiscal year ended December 31, 2016, Defendant A.

  Smith received $274,760 in compensation from the Company. This included $101,000 in in fees

  earned or paid in cash and $173,760 in stock awards. For the fiscal year ended December 31, 2017,

  Defendant A. Smith received $280,408 in compensation from the Company. This included

  $100,952 in fees earned or paid in cash and $179,456 in stock awards. For the fiscal year ended

  December 31, 2018, Defendant A. Smith received $283,066 in compensation from the Company.


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  This included $101,000 in fees earned or paid in cash and $182,066 in stock awards. For the fiscal

  year ended December 31, 2019, Defendant A. Smith received $328,175 in compensation from the

  Company. This included $108,000 in fees earned or paid in cash and $220,175 in stock awards.

           84.    The Company’s 2020 Proxy Statement stated the following about Defendant A.

  Smith:

           Ms. Smith serves as the Boris and Irene Stern Distinguished Service Professor of
           Accounting at the University of Chicago Booth School of Business.

           Ms. Smith joined the faculty of the University of Chicago Booth School of Business
           in 1980 upon completion of her Ph.D. in Accounting at Cornell University. The
           primary focus of her research is corporate restructuring, transparency and corporate
           governance. She was nominated for a 2005 Smith Breeden Prize for her publication
           in The Journal of Finance and has received a Marvin Bower Fellowship from the
           Harvard Business School, a McKinsey Award for Excellence in Teaching and a GE
           Foundation Research Grant.

           The Board nominated Ms. Smith as a director because of her leadership experience
           and expertise in business, accounting and corporate governance, which the Board
           finds to be valuable skills that complement the other skills represented on our
           Board. In addition, Ms. Smith has an accomplished educational background with
           extensive academic and teaching experience in business, accounting and corporate
           governance. She also has experience as a director on global public company boards,
           including serving as lead independent director and member of audit and governance
           committees.

           Consistent with our policies and practices related to director service, in making a
           determination as to Ms. Smith's nomination, the Board considered Ms. Smith's
           current role as a professor of a distinguished university and service on the board of
           three other companies. Ms. Smith was renominated based on her qualifications
           listed above, her valuable, significant contributions to the Board and Company and
           her demonstrated willingness and ability to commit adequate time and attention to
           all Board matters.

           85.    Upon information and belief, Defendant A. Smith is a citizen of Illinois.




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         Defendant E. Smith

         86.     Defendant E. Follin Smith (“E. Smith”) has served as a Company director since

  July 2005. She also serves as the Chair of the Compensation Committee and as a member of the

  Corporate Governance and Nominating Committee. According to the 2020 Proxy Statement, as of

  February 28, 2020, Defendant E. Smith beneficially owned 32,668 shares of the Company’s

  common stock. Given that the price per share of the Company’s common stock at the close of

  trading on February 28, 2020 was $38.04, Defendant E. Smith owned over $1.2 million worth of

  Ryder stock.

         87.     For the fiscal year ended December 31, 2015, Defendant E. Smith received

  $258,118 in compensation from the Company. This included $114,000 in fees earned or paid in

  cash, $134,118 in stock awards, and $10,000 in all other compensation. For the fiscal year ended

  December 31, 2016, Defendant E. Smith received $287,319 in compensation from the Company.

  This included $109,000 in fees earned or paid in cash, $168,319 in stock awards, and $10,000 in

  all other compensation. For the fiscal year ended December 31, 2017, Defendant E. Smith received

  $298,451 in compensation from the Company. This included $115,000 in fees earned or paid in

  cash, $173,747 in stock awards, and $9,704 in all other compensation. For the fiscal year ended

  December 31, 2018, Defendant E. Smith received $299,508 in compensation from the Company.

  This included $115,000 in fees earned or paid in cash, $175,155 in stock awards, and $9,353 in all

  other compensation. For the fiscal year ended December 31, 2019, Defendant E. Smith received

  $320,033 in compensation from the Company. This included $115,000 in fees earned or paid in

  cash and $205,033 in stock awards.




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           88.      During the Relevant Period, when the Company materially misstated information

  to the investing public to keep the stock price inflated, and before the scheme was exposed,

  Defendant E. Smith made the following sales of Company stock:

             Date              Number of Shares         Price Per Share             Proceeds
       May 7, 2018                    988                    $68.41                $67,589.08
       May 7, 2019                   1,138                   $62.82                $71,489.16



  Thus, in total, before the fraud was exposed, Defendant E. Smith sold 2,126 Company shares on

  inside information, for which she received over $139,078. Her insider sales, made with knowledge

  of material nonpublic information before the material misstatements and omissions were exposed,

  demonstrate her motive in facilitating and participating in the scheme.

           89.      The Company’s 2020 Proxy Statement stated the following about Defendant E.

  Smith:

           Until May 2007, Ms. Smith served as the Executive Vice President, Chief Financial
           Officer and Chief Administrative Officer of Constellation Energy Group, Inc., then
           the nation's largest competitive supplier of electricity to large commercial and
           industrial customers and the nation's largest wholesale power seller. Ms. Smith
           joined Constellation Energy Group as Senior Vice President, Chief Financial
           Officer in June 2001 and was appointed Chief Administrative Officer in December
           2003.

           Before joining Constellation Energy Group, Ms. Smith was Senior Vice President
           and Chief Financial Officer of Armstrong Holdings, Inc., the global leader in hard-
           surface flooring and ceilings. Prior to joining Armstrong, Ms. Smith held various
           senior financial positions with General Motors, including Chief Financial Officer
           for General Motors’ Delphi Chassis Systems division.

           The Board nominated Ms. Smith as a director based on her leadership experience
           and expertise in finance, human resources, risk management, legal and information
           technology, which the Board finds to be valuable skills that complement the other
           skills represented on our Board. In addition, Ms. Smith has leadership experience
           serving as Chief Financial Officer and Chief Administrative Officer of global


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         public companies. She also has experience as a director on other global public
         company boards, including serving on audit, governance and risk committees.

         Consistent with our policies and practices related to director service, in making a
         determination as to Ms. Smith's nomination, the Board considered Ms. Smith's past
         experience as a CFO and service on other company boards. Ms. Smith was
         renominated based on her qualifications listed above, her valuable, significant
         contributions to the Board and Company and her demonstrated willingness and
         ability to commit adequate time and attention to all Board matters.

         90.     Upon information and belief, Defendant E. Smith is a citizen of Pennsylvania.

         Defendant Stockton

         91.     Defendant Dmitri L. Stockton (“Stockton”) has served as a Company director since

  March 2018. He also serves as a member of the Compensation Committee and Finance Committee.

  According to the 2020 Proxy Statement, as of February 28, 2020, Defendant Stockton beneficially

  owned 6,335 shares of the Company’s common stock. Given that the price per share of the

  Company’s common stock at the close of trading on February 28, 2020 was $38.04, Defendant

  Stockton owned over $240,983 worth of Ryder stock.

         92.     For the fiscal year ended December 31, 2018, Defendant Stockton received

  $236,498 in compensation from the Company. This included $89,166 in fees earned or paid in

  cash, $137,332 in stock awards, and $10,000 in all other compensation. For the fiscal year ended

  December 31, 2019, Defendant Stockton received $266,330 in compensation from the Company.

  This included $100,00 in fees earned or paid in cash, $156,330 in stock awards, and $10,000 in all

  other compensation.

         93.     The Company’s 2020 Proxy Statement stated the following about Defendant

  Stockton:

         Mr. Stockton most recently served as Senior Vice President and Special Advisor to
         the Chairman of General Electric Company (GE) from 2016 until his retirement in


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         2017. GE is a multinational industrial company that provides power and water,
         aviation, oil and gas, healthcare, appliances and lighting, energy management,
         transportation and financial services.

         Mr. Stockton joined GE in 1987 and held various positions of increasing
         responsibility during his 30 year tenure. From 2011 to 2016, Mr. Stockton served
         as Chairman, President and Chief Executive Officer of GE Asset Management, a
         global asset management company affiliated with GE, and as Senior Vice President
         of GE. From 2008 to 2011, he served as President and Chief Executive Officer for
         GE Capital Global Banking and Senior Vice President of GE in London, UK. He
         previously also served as President and Chief Executive Officer for GE Consumer
         Finance for Central and Eastern Europe.

         The Board nominated Mr. Stockton as a director because of his leadership
         experience and his expertise in risk management, governance, finance and asset
         management, which the Board finds to be valuable skills that complement the other
         skills represented on our Board. In addition, Mr. Stockton also has leadership
         experience in positions of executive oversight and senior management from his
         tenure at GE, as well as experience as a director on public company boards.

         Consistent with our policies and practices related to director service, in making a
         determination as to Mr. Stockton's nomination, the Board considered Mr.
         Stockton's current service on the Board of three other public companies. Mr.
         Stockton was nominated based on his qualifications listed above and his
         willingness and ability to commit adequate time and attention to all Board matters.

         94.    Upon information and belief, Defendant Stockton is a resident of Connecticut.

         Defendant Tookes

         95.    Defendant Hansel E. Tookes, II (“Tookes”) has served as a Company director since

  September 2002. He has also served as the Chair of the Corporate Governance and Nominating

  Committee and as a member of the Board’s Audit Committee. Additionally, Defendant Tookes

  has also served as the Company’s Lead Independent Director. According to the 2020 Proxy

  Statement, as of February 28, 2020, Defendant Tookes beneficially owned 41,591 shares of the

  Company’s common stock. Given that the price per share of the Company’s common stock at the




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  close of trading on February 28, 2020 was $38.04, Defendant Tookes owned approximately $1.6

  million worth of Ryder stock.

         96.    For the fiscal year ended December 31, 2015, Tookes received $260,122 in

  compensation from the Company. This included $122,000 in fees earned or paid in cash and

  $138,122 in stock awards. For the fiscal year ended December 31, 2016, Tookes received $315,910

  in compensation from the Company. This included $136,000 in fees earned or paid in cash,

  $174,910 in stock awards, and $5,000 in all other compensation. For the fiscal year ended

  December 31, 2017, Tookes received $316,843 in compensation from the Company. This included

  $136,000 in fees earned or paid in cash and $180,843 in stock awards. For the fiscal year ended

  December 31, 2018, Tookes received $329,125 in compensation from the Company. This included

  $136,000 in fees earned or paid in cash, $183,125 in stock awards, and $10,000 in all other

  compensation. For the fiscal year ended December 31, 2019, Tookes received $358,844 in

  compensation from the Company. This included $137,000 in fees earned or paid in cash and

  $221,844 in stock awards.

         97.    The Company’s 2020 Proxy Statement stated the following about Tookes:

         Mr. Tookes served as President of Raytheon International until he retired from
         Raytheon Company in December 2002.

         Mr. Tookes joined Raytheon in September 1999 as President and Chief Operating
         Officer of Raytheon Aircraft Company. He was appointed Chief Executive Officer
         in January 2000, Chairman in August 2000 and became President of Raytheon
         International in May 2001. Prior to joining Raytheon in 1999, Mr. Tookes served
         as President of Pratt & Whitney's Large Military Engines Group since 1996. He
         joined Pratt & Whitney's parent company, United Technologies Corporation, in
         1980. Mr. Tookes was a Lieutenant Commander and military pilot in the U.S. Navy
         and later served as a commercial pilot with United Airlines.

         The Board nominated Mr. Tookes as a director because of his leadership experience
         and expertise in global operations, the transportation industry, the U.S. military and


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         government contracting, which the Board finds to be valuable skills that
         complement the other skills represented on our Board. In addition, Mr. Tookes has
         leadership experience in positions of executive oversight and senior management
         at global public companies. He also has experience as a director on global public
         company boards, including serving as governance committee chair and member of
         audit, compensation, finance and executive committees.

         Consistent with our policies and practices related to director service, in making a
         determination as to Mr. Tookes' nomination, the Board considered Mr. Tookes'
         current service on the board of three other public companies. Mr. Tookes was
         renominated based on his qualifications listed above, his valuable, significant
         contributions to the Board and Company and his demonstrated willingness and
         ability to commit adequate time and attention to all Board matters.

         98.     Upon information and belief, Defendant Tookes is a citizen of Florida.

                 FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

         99.     By reason of their positions as officers, directors, and/or fiduciaries of Ryder, and

  because of their ability to control the business and corporate affairs of Ryder, the Individual

  Defendants owed Ryder and its shareholders fiduciary obligations of trust, loyalty, good faith, and

  due care, and were and are required to use their utmost ability to control and manage Ryder in a

  fair, just, honest, and equitable manner. The Individual Defendants were and are required to act in

  furtherance of the best interests of Ryder and its shareholders so as to benefit all shareholders

  equally.

         100.    Each director and officer of the Company owes to Ryder and its shareholders the

  fiduciary duty to exercise good faith and diligence in the administration of the Company and in

  the use and preservation of its property and assets and the highest obligations of fair dealing.

         101.    The Individual Defendants, because of their positions of control and authority as

  directors and/or officers of Ryder, were able to and did, directly or indirectly, exercise control over

  the wrongful acts complained of herein.



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         102.    To discharge their duties, the officers and directors of Ryder were required to

  exercise reasonable and prudent supervision over the management, policies, controls, and

  operations of the Company.

         103.    Each Individual Defendant, by virtue of his or her position as a director and/or

  officer owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good

  faith, and the exercise of due care and diligence in the management and administration of the

  affairs of the Company, as well as in the use and preservation of its property and assets. The

  conduct of the Individual Defendants complained of herein involves a knowing and culpable

  violation of their obligations as directors and officers of Ryder, the absence of good faith on their

  part, or a reckless disregard for their duties to the Company and its shareholders that the Individual

  Defendants were aware of or should have been aware of posed a risk of serious injury to the

  Company. The conduct of the Individual Defendants who were also officers and/or directors of the

  Company has been ratified by the remaining Individual Defendants who collectively comprised

  Ryder’s Board at all relevant times.

         104.    As senior executive officers and directors of a publicly-traded company whose

  common stock was registered with the SEC pursuant to the Exchange Act and traded on the NYSE,

  the Individual Defendants had a duty to prevent and not to effect the dissemination of inaccurate

  and untruthful information with respect to the Company’s financial condition, performance,

  growth, operations, financial statements, business, products, management, earnings, internal

  controls, and present and future business prospects, and had a duty to cause the Company to

  disclose omissions of material fact in its regulatory filings with the SEC all those facts described




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  in this Complaint that it failed to disclose, so that the market price of the Company’s common

  stock would be based upon truthful and accurate information.

         105.    To discharge their duties, the officers and directors of Ryder were required to

  exercise reasonable and prudent supervision over the management, policies, practices, and internal

  controls of the Company. By virtue of such duties, the officers and directors of Ryder were required

  to, among other things:

                 (a)     ensure that the Company was operated in a diligent, honest, and prudent

  manner in accordance with the laws and regulations of Florida and the United States, and pursuant

  to Ryder’s own Code of Conduct;

                 (b)     conduct the affairs of the Company in an efficient, business-like manner so

  as to make it possible to provide the highest quality performance of its business, to avoid wasting

  the Company’s assets, and to maximize the value of the Company’s stock;

                 (c)     remain informed as to how Ryder conducted its operations, and, upon

  receipt of notice or information of imprudent or unsound conditions or practices, to make

  reasonable inquiry in connection therewith, and to take steps to correct such conditions or

  practices;

                 (d)     establish and maintain systematic and accurate records and reports of the

  business and internal affairs of Ryder and procedures for the reporting of the business and internal

  affairs to the Board and to periodically investigate, or cause independent investigation to be made

  of, said reports and records;

                 (e)     maintain and implement an adequate and functioning system of internal

  legal, financial, and management controls, such that Ryder’s operations would comply with all



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  applicable laws and Ryder’s financial statements and regulatory filings filed with the SEC and

  disseminated to the public and the Company’s shareholders would be accurate;

                  (f)    exercise reasonable control and supervision over the public statements

  made by the Company’s officers and employees and any other reports or information that the

  Company was required by law to disseminate;

                  (g)    refrain from unduly benefiting themselves and other Company insiders at

  the expense of the Company; and

                  (h)    examine and evaluate any reports of examinations, audits, or other financial

  information concerning the financial affairs of the Company and to make full and accurate

  disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth

  above.

           106.   Each of the Individual Defendants further owed to Ryder and the shareholders the

  duty of loyalty requiring that each favor Ryder’s interest and that of its shareholders over their

  own while conducting the affairs of the Company and refrain from using their position, influence

  or knowledge of the affairs of the Company to gain personal advantage.

           107.   At all times relevant hereto, the Individual Defendants were the agents of each other

  and of Ryder and were at all times acting within the course and scope of such agency.

           108.   Because of their advisory, executive, managerial, and directorial positions with

  Ryder, each of the Individual Defendants had access to adverse, non-public information about the

  Company.




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         109.    The Individual Defendants, because of their positions of control and authority, were

  able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

  as well as the contents of the various public statements made by Ryder.

          CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

         110.    In committing the wrongful acts alleged herein, the Individual Defendants have

  pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

  and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

  caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

  aided and abetted and/or assisted each other in breaching their respective duties.

         111.    The purpose and effect of the conspiracy, common enterprise, and common course

  of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’

  violations of law, including breaches of fiduciary duty, unjust enrichment, and waste of corporate

  assets, and violations of the Exchange Act; (ii) conceal adverse information concerning the

  Company’s operations, financial condition, legal compliance, future business prospects and

  internal controls; and (iii) to artificially inflate the Company’s stock price.

         112.    The Individual Defendants accomplished their conspiracy, common enterprise,

  and/or common course of conduct by causing the Company to purposefully or recklessly conceal

  material facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance

  of this plan, conspiracy, and course of conduct, the Individual Defendants collectively and

  individually took the actions set forth herein. Because the actions described herein occurred under

  the authority of the Board, each of the Individual Defendants who are directors of Ryder, was a




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  direct, necessary, and substantial participant in the conspiracy, common enterprise, and common

  course of conduct complained of herein.

         113.     Each of the Individual Defendants aided and abetted and rendered substantial

  assistance in the wrongs complained of herein. In taking such actions to substantially assist the

  commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

  actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

  substantially assisted the accomplishment of that wrongdoing, and was or should have been aware

  of his or her overall contribution to and furtherance of the wrongdoing.

         114.     At all times relevant hereto, each of the Individual Defendants was the agent of

  each of the other Individual Defendants and of Ryder and was at all times acting within the course

  and scope of such agency.

                    RYDER’S CORPORATE GOVERNANCE GUIDELINES

         115.     The Company’s Corporate Governance Guidelines (the “Guidelines”) provide that

  the Board is elected “to oversee the management of the Company and its business in accordance

  with applicable laws and regulations.” According to the Guidelines, the Board is responsible for,

  among other things, “reviewing, approving and monitoring important financial and business

  strategies”; “overseeing the integrity of the Company’s financial statements, public disclosures

  and financial reporting processes in accordance with applicable laws and regulations”; and

  “overseeing risk assessment, risk monitoring process and compliance with applicable laws and

  regulations.”

         116.     In a section titled, “Board Membership Policies,” the Guidelines state the

  following:



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         Directors are charged with a fiduciary duty to the Company and to all of the
         Company’s shareholders. In satisfying this fiduciary duty, directors shall strive to
         make decisions that are in the best interests of the Company and all of its
         shareholders, in accordance with applicable law. Directors should represent the best
         interests of the Company and its shareholders as a whole rather than any special
         interest groups or constituencies, and directors must not be beholden to any such
         special interests or constituencies.

         117.    In a section titled, “Ethics and Conflicts of Interest,” the Guidelines state the

  following:

         The Board expects its members, as well as officers and employees, to act ethically
         at all times and to be familiar with and acknowledge their adherence to the policies
         comprising the Company’s Principles of Business Conduct, which include policies
         regarding conflicts of interest, corporate opportunities and confidentiality. There
         shall be no waiver of any part of the Principles of Business Conduct (including
         conflicts of interest) for members of the Board or any executive officer, except by
         a majority vote of the Company’s Board or the Corporate Governance and
         Nominating Committee, which will ascertain whether the waiver is appropriate and
         will ensure that the waiver is accompanied by appropriate controls designated to
         protect the Company. Although the Board cannot conceive of any circumstances
         under which such a waiver would be granted, in the extraordinary event that a
         waiver is granted to a member of the Board or an executive officer, the waiver will
         be posted on the Company’s website and may be disclosed in a public filing made
         with the SEC.

                   RYDER’S PRINCIPLES OF BUSINESS CONDUCT

         118.    The Company’s Principles of Business Conduct (the “Code of Conduct”) is

  applicable to everyone, including all employees, directors, and officer of Ryder, and provides that

  “[i]t is the responsibility of every employee, director, officer, and representative of Ryder to know

  and comply with our Principles of Business Conduct . . . [and] all applicable laws and regulations

  in the countries where we do business.”

         119.    In a section titled, “Our Reputation,” the Code of Conduct states that, “[h]aving a

  strong reputation helps us in all areas of our business. It gives us a competitive advantage with




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  customers and investors. It attracts more good people to join our team. All of these advantages

  help us stay on top in our industry.”

         120.    In a section titled, “Additional Responsibilities for Officers, Directors, and

  Managers,” the Code of Conduct states that “[a]t Ryder, we expect our officers, directors, and

  managers to show their character as leaders. That means we hold them to a higher standard with

  regard to our Principles, and raise our expectations as people are given more responsibility and

  authority within the company.” Ryder officers, executives, and managers are expected to “monitor

  ethical behavior in others and be on the lookout for violations of our policies” and “[r]eport [their]

  own misconduct when circumstances require it.”

         121.    In a section titled, “Raising Concerns” the Code of Conduct states that, “[w]hen

  something is not right, we say so. When an issue needs our attention, we deal with it.”

         122.    In a section titled “Showing Our Character,” the Code of Conduct states that, “we

  show our character by acting with integrity when dealing with each other, our customers, and

  others we interact with on behalf of the company.”

         123.    In a section titled, “Complying with the Law and Governmental Inspections,” the

  Code of Conduct states that, “we fully comply with all of the laws and regulations that apply to

  our business throughout the world.”

         124.    In a section titled, “Ensuring Accurate Records and Metrics,” the Code of Conduct

  states the following:

         At Ryder, our books, records, and financial statements must be honest, accurate,
         objective, complete, and timely. This is important so that we can make sound
         business decisions for Ryder. It is also required that we truthfully reflect our
         business to investors in reports and documents filed with the Securities and
         Exchange Commission and in other public communications. Ryder’s financial



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         integrity is dependent on everyone being honest and accurate in their daily record-
         keeping.

         At Ryder we’re always trying to do a good thing better. That’s hard if we don’t
         have accurate records for measuring and managing our work. Recording false date
         also causes legal and financial risks to Ryder, which is why it can be cause for
         discipline or dismissal. So when it comes to entering data of any kind, we expect
         100% accuracy.

         125.    In a section titled, “Obeying Insider Information and Securities Trading Laws,” the

  Code of Conduct states the following:

         The rules on insider trading are clear: it’s against the law. If you have access to
         financial, operational, or strategic information about Ryder or other companies that
         is both material and not publicly disclosed, it’s unlawful and against our policies to
         use it for personal gain – for yourself or anyone else.

         It’s also against our policy and the law to give insider information to others. This
         includes family members and co-workers at Ryder who do not have a need to know
         the information. If you’re not aware of what constitutes insider information, talk to
         your manager, read Ryder’s policy on insider trading, or contact the Law
         Department.

         126.    In a section titled, “Trading Windows for Officers and Designated Employees,” the

  Code of Conduct further states that, “Ryder’s Principles and policy on insider trading prohibit us

  from using material information for trading in Ryder stock unless that information has been

  disclosed to the public.”

         127.    In violation of the Code of Conduct and the Guidelines, the Individual Defendants

  conducted little, if any, oversight of the Company’s engagement in the Individual Defendants’

  scheme to engage in improper accounting practices, to issue materially false and misleading

  statements to the public, and to facilitate and disguise the Individual Defendants’ violations of law,

  including breaches of fiduciary duty, waste of corporate assets, unjust enrichment, and violations

  of the Exchange Act, and aiding and abetting thereof. Moreover, six of the Individual Defendants



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  violated the Code of Conduct by engaging in insider trading. Also in violation of the Code of

  Conduct, the Individual Defendants failed to maintain the accuracy of Company records and

  reports, comply with laws and regulations, conduct business in an honest and ethical manner, and

  properly report violations of the Code of Conduct.

                          INDIVIDUAL DEFENDANTS’ MISCONDUCT

         Background

         128.    Based in Miami, Florida, Ryder is a global provider of transportation and supply

 chain management products, including truck leasing. As noted above, the Company operates

 through three segments: (1) FMS; (2) DTS; and (3) SCS.

         Ryder’s Financial Success was Heavily Dependent upon its FMS Segment

         129.    The Company’s FMS segment—which provides full-service leasing and leasing

 with flexible maintenance options, commercial rental, and contract or transactional maintenance

 services of trucks, tractors and trailers—accounts for over 60% of the Company’s revenue and

 operates in the United States, Canada, and Europe.

         130.    The FMS segment has multiple components, including the ChoiceLease Program,

 Commercial Rental, and Used Vehicles. The ChoiceLease Program accounts for more than half of

 FMS revenue and provides long term rentals. The Commercial Rental segment provides shorter

 term vehicle rentals to customers, and the Used Vehicles segment sells Ryder’s used vehicles at the

 end of the vehicle’s useful life, either from one of the Company’s 51 retail sales centers or through

 the Company’s website.

         131.    The financial performance of Ryder’s FMS segment is dependent on demand for

  truck rentals and leases, as well as demand for those used trucks once the truck’s useful life is over.



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          132.    The vehicles that Ryder leases to consumers typically have a useful life of

  approximately seven to eight years. Once the term lease ends, or after the vehicle reaches its useful

  life, Ryder sells the vehicle through its Used Truck Centers (“UTCs”), which sell the used vehicles

  throughout North American and through the Company’s website.

          133.    It is important for Ryder to sell its vehicles promptly, because the longer Ryder holds

  on to a vehicle on one of its lots, the more it will depreciate, which increases the likelihood that

  the vehicle’s value will fall below the residual value that Ryder has internally designated for that

  vehicle. If Ryder is unable to sell the vehicle at a favorable price, it will incur a loss from the sale,

  which negatively impacts Ryder’s earnings.

          134.    Because most of the Company’s assets are tied up with its fleet of trucks and

  tractors, i.e., its revenue-earning equipment, the valuation of these assets is critical to the

  Company’s finances.

          Ryder Failed to Accurately Report the Residual Values and Depreciation Expenses of
          Its Vehicles

           135. Like all other publicly-traded companies, Ryder is required to comply with GAAP,

  which is the standard for accounting accepted by the SEC. SEC Regulation S-X (17 C.F.R. § 210.4-

  01(a)(1)) provides that financial statements filed with the SEC that are not presented in accordance

  with GAAP will be presumed to be misleading, despite footnotes or other disclosures.

           136.    Under GAAP, financial elements such as assets, liabilities, revenues, and expenses

  must be recorded pursuant to the “accrual” method of accounting. The objective of this method is

  to reflect transactions within the appropriate period that their costs and associated revenues relate.

  Central to accrual accounting is the “matching principle,” which requires companies to report

  expenses in the same period as their related revenues (as opposed to when cash is actually received


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  or paid out).

          137.     In its SEC filings during the Relevant Period, Ryder referred to the assets that

  primarily contributed to its reported revenue as “revenue-earning equipment.” Ryder’s revenue-

  earning equipment was comprised of vehicles and operating property and equipment (e.g., trucks,

  tractors, and trailers). Throughout the Relevant Period, the reported value of Ryder’s revenue-

  earning equipment constituted the majority of its assets.

          138.     Pursuant to GAAP’s matching principle, Ryder was required to recognize

  expenses associated with its vehicles (i.e., revenue-earning equipment) in the same reporting

  periods that revenue generated by such equipment was recognized. One such expense was the

  vehicle’s depreciation, which is the reduction in the asset’s value over time.

          139.     ASC 360, Property, Plant, and Equipment (“ASC 360”), provides that

  depreciation expense “shall be determined on the asset’s useful life” and “require[s] that this cost

  be spread over the expected useful life of the facility in such a way as to allocate it is equitably as

  possible to the periods during which services are obtained from the use of the facility.”

         140.      Therefore, under GAAP’s matching principle and ASC 360, Ryder was required

  to reduce the carrying value of its revenue-earning equipment by recognizing depreciation expense

  during the reporting periods that such equipment was expected to provide economic benefits to the

  Company.

           141.    According to its financial statements, Ryder calculated the depreciation expense

   on its revenue-earning equipment using the straight-line method. Under this method, depreciation

   is calculated by subtracting an asset’s residual value—the price at which Ryder expected to

   dispose of the revenue-earning equipment after its useful life—from its cost, and then dividing



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   the remaining amount by the number of years such asset is expected to be used.

          142.     The reported value of the Company’s revenue-earning equipment constituted most

  of its assets during the Relevant Period, and throughout the Relevant Period, the Company reported

  that its depreciation expense was greater than $1 billion in each year. Therefore, the assumptions

  used to calculate the depreciation expense for such equipment—the useful lives and residual values

  for such equipment—were critical to the legitimacy of the Company’s reported financial results.

  For example, as the Company explain in SEC filings, “[r]eductions in [its] residual values … or

  useful lives [would] result in an increase in depreciation expense over the life of the equipment”

  which would reduce the Company’s reported earnings.

          143.     In light of this, the residual values used by the Company in its computation of

  depreciation expense on its revenue-earning equipment were required to be based on the most

  accurate and up-to-date information the Company had at the time such residual value estimates

  were made in order for the financial results reported in its SEC filings to comply with GAAP and

  not be misleading.

          144.     Given the importance of residual values, during the Relevant Period, the Company

  claimed in its SEC filings that it “review[ed] residual values and useful lives of revenue-earning

  equipment on an annual basis or more often if deemed necessary.” In addition,, Ryder further

  disclosed that it had a process to “monitor market trends throughout the year and assess residual

  values of vehicles expected to be sold in the near term” and that, as a result, the Company “may

  adjust residual values for [its] vehicles.”

           145.    Despite this, as discussed in detail below, throughout the Relevant Period, the

   Company overstated the residual value of its trucking fleet, which allowed the Company to record



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   lower depreciation expense on those assets each year, which in turn artificially inflated the

   Company’s earnings and misrepresented the Company’s true financial position.

           146.    In addition, throughout the Relevant Period, the Company overstated the book

   value of its revenue-earning equipment by understating its depreciation expense during the

   equipment’s useful life and by failing to reduce the net book value of such equipment by

   impairment. ASC 360 defines impairment as “the condition that exists when the carrying amount

   of a long-lived asset (asset group) exceeds its fair value” and requires that equipment that is

   intended to be “held and used” must be tested for recoverability when a company is aware of

   evidence or warning signs that the revenue-earning equipment’s carrying amount may not be

   recoverable when comparing carrying value of such equipment to its actual fair value.

           Used Vehicle Prices Dramatically Declined Starting in Mid-2015

           147.    Despite this, throughout the Relevant Period, the Company ignored, or recklessly

   disregarded, warning signs that the Company’s revenue-earning equipment was inflated because

   of understated depreciation expense and overstated residual value. Throughout the Relevant

   Period, the carrying value of the revenue-earning equipment was higher than the actual fair value

   of such equipment, i.e., the carrying value was higher than the actual price at which Ryder could

   sell the vehicle at the end of its useful life.

         148.      Beginning in 2015, Ryder witnessed a drastic decline in the demand for, and sales

  prices of, used vehicles. By late 2015, including because of the new emissions technology, the

  market for used vehicles, and especially tractors, weakened drastically. As Defendant Sanchez,

  Ryder’s CEO, recently acknowledged: “Following the mid-2015 peak [in used vehicle prices],

  tractor proceeds declined sharply through 2017 to below our accounting residuals as supply



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  entered the market and the freight environment slowed” (emphasis added).

           149.    Because the market for used vehicles, especially tractors, greatly declined starting

   in mid-2015, Ryder should have adjusted its residual values accordingly. Instead, the Defendants

   repeatedly pushed back against efforts by Ryder management and employees to reduce the sales

   prices of Ryder vehicles or their residual values. In fact, even though Ryder saw that its used

   vehicles’ resale values were far below their residual values, Ryder continued to increase residual

   values, understate depreciation expense, and overstate net income.

           150.    The Company adjusted residual values and depreciable lives upward from 2011

   through 2016, and greatly benefitted in 2017 and 2018 from the overstated residual values and

   understated depreciation expense. From 2011 through 2016, the percentage contribution of the

   Company’s scheme to increase residual values made an progressively large contribution to

   Ryder’s adjusted pre-tax income.

           Defendants Failed to Adjust the Residual Values of its Revenue-Earning Equipment
           Despite a Sharp Decline in Used Vehicle Prices

           151.    Beginning in mid-2015 at the latest, the Company’s changes to its residual values

   far exceeded the actual fair value, i.e., the sales prices that it obtained in the market for its used

   vehicles. The Company’s used tractor sales price as a percentage of their original cost declined

   15% in 2016, from approximately 130% in 2015 to approximately 110% in 2016. This price

   decline, as well as those that followed in subsequent years, were not fully reflective of the actual

   decline in the Company’s tractors’ values because the Company turned down calls to reduce the

   prices of its vehicles further—instead, choosing to hold onto the vehicles to avoid the significant

   financial hit from their sales.

           152.    Nevertheless, despite the 15% decline in Ryder’s used tractor sales prices in 2016,


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   rather than decrease the residual value of its fleet, as it should have, Ryder increased its residual

   values by approximately $35 million in 2016.

          153.    The used sales price decline continued into 2017, this time declining a staggering

   35% (from prices in 2015). Again, despite this even sharper decline in used vehicle sale prices in

   2017, Ryder decreased the residual value of its fleet by a miniscule $4 million in 2017.

          154.    By 2018, the drop in used tractor sale prices continued, declining by 38.5% from

   approximately 130% in 2015 to approximately 80% in 2018. Again, despite this continued

   decline in used vehicle sale prices in 2018 (compared to the high of 2015), Ryder only decreased

   the residual value of its fleet by a mere $79 million in 2018. This residual value reduction was

   woefully inadequate.

          Ryder Executives Controlled Used Vehicle Prices and Residual Value Estimates

          155.    Despite the steep decline in used vehicle prices, the executives at Ryder

   headquarters in Miami, Florida repeatedly pushed back against efforts by Ryder management and

   employees to reduce the sales prices of Ryder vehicles, or to reduce the vehicles’ residual value

   estimates.

          156.    The pricing and valuation of the vehicles, including residual values and used sale

   prices, was a top-down process that took place at the Company’s headquarters. This left Ryder

   retail offices across the country powerless to control these prices.

          157.     Numerous former Ryder employees described that a small group of Ryder

   executives set the residual values, with the ultimate decision being made at Ryder’s corporate

   headquarters in Miami.

          158.    One former Ryder Vehicle Sales Representative from November 2016 through



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   April 2019, who was responsible for evaluating used vehicles for a pricing determination, stated

   that he and his manager did not have control over the pricing of the vehicles they sold. This

   former employee stated that when a truck came to them for sale, the sales representatives filled

   out a checklist evaluation, took pictures, and sent them to headquarters in Miami. This former

   employee also stated that the individuals approving the sales price would have to know the

   residual value assigned to that vehicle in order to approve the price.

          159.    Another employee, who served on the Asset Management Board, said that the

   Asset Management Board met quarterly in a conference room in Miami with the asset managers

   and the Vice President, Eugene Tangney.

          160.    Another employee, who was a Vehicle Sales Manager until 2017, a Bailment

   Supervisor from 2017 to 2019, and a Senior Logistics Analyst from 2019 to February 2020, said

   that he was intimately involved with vehicle pricing and participated in weekly and monthly calls

   with Company Executives, including Defendant Sanchez.

          The Company Finally Reduced its Residual Value Estimates

          161.    The Company finally reduced its residual value estimates by $844 million in the

   third quarter of 2019, which resulted in a $357 million increase in depreciation, and reported a

   loss of approximately $58 million on the sale of used vehicles. Defendant Sanchez attributed it

   to how: (i) the residual values of the vehicles have “been negatively impacted by maintenance

   costs on the early model years of the post-2010 emissions technology;” and (ii) “these vehicles

   as they come off lease are now expected to be sold in a down market at below price levels.”

   However, by mid-2015, Ryder already knew of these two negative developments and that it

   needed to adjust downward its vehicles’ residual values at that time as a result. Its failure to do



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   so was a violation of GAAP.

          162.    When the Company disclosed in the third quarter of 2019 the need for drastic

   residual value reductions, the Company based it on the decline in used tractor sale priced in the

   third quarter of 2019. During the Company’s October 29, 2019 earnings call, Defendant Sanchez

   stated “we started seeing softening market conditions for used tractors” in June 2019 and those

   conditions “continued to worsen in the third quarter [of 2019]” and “[t]his triggered a review and

   lowering of residual value estimates on power vehicles.”

          163.    However, the “decline” was simply a return to the same prices that Ryder was

   obtaining for its tractors in 2018, and a small increase and then decrease in used tractor prices in

   late 2018 and early 2019 was not the first warning sign of the Company’s need to re-evaluate its

   residual values. In reality, the Company should have re-evaluated its residual values in mid-2015,

   when there was a sharp and consistent decline in prices from the 2015 peak. This sharp, consistent

   decline comports with the actual $844 million decrease in residual value estimates that Ryder

   finally made in the third quarter of 2019 (instead of the measly $75 million adjustment the

   Company took in 2018, when its tractors were at the identical market values as in the third quarter

   of 2019).

          The Company Claimed That It Reviewed Residual Values and Depreciation, Yet
          Pushed Back Employee Concerns to Write Down the Used Vehicles

          164.    The Company claimed in its annual reports filed with the SEC that Ryder

   performed yearly reviews of its residual values and depreciation expense to make sure that they

   correctly represented “historical market price changes, current and expected future market price

   trends, expected life of vehicles included in the fleet and extent of alternative uses for leased

   vehicles[.]” Ryder claimed that it set its residual values through a review of a number of factors


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   (and rather than blindly following a purported five-year rolling average):

          Depreciation and Residual Value Guarantees. We periodically review and adjust
          the residual values and useful lives of revenue earning equipment of our FMS
          business segment as described in Note 1, “Summary of Significant Accounting
          Policies — Revenue Earning Equipment, Operating Property and Equipment, and
          Depreciation” in the Notes to Consolidated Financial Statements. Reductions in
          residual values (i.e., the price at which we ultimately expect to dispose of revenue
          earning equipment) or useful lives will result in an increase in depreciation
          expense over the life of the equipment.

          We review residual values and useful lives of revenue earning equipment on an
          annual basis or more often if deemed necessary for specific groups of our revenue
          earning equipment. Reviews are performed based on vehicle class, generally
          subcategories of trucks, tractors and trailers by weight and usage. Our annual
          review is established with a long-term view considering historical market price
          changes, current and expected future market price trends, expected life of
          vehicles included in the fleet and extent of alternative uses for leased vehicles
          (e.g., rental fleet, and DTS and SCS applications). As a result, future
          depreciation expense rates are subject to change based upon changes in these
          factors. While we believe that the carrying values and estimated sales proceeds
          for revenue earning equipment are appropriate, there can be no assurance that
          deterioration in economic conditions or adverse changes to expectations of future
          sales proceeds will not occur, resulting in lower gains or losses on sales.

  (Emphasis added.)

          165.    Notwithstanding the Company’s declarations of periodic review and adjustment

   of residual values the Individual Defendants knew during the Relevant Period that the market for

   Ryder used vehicles had declined greatly, that the new emissions vehicles had substantially

   higher maintenance costs, and that Ryder was overstating its residual values.

          166.    In fact, Ryder senior management and executives regularly brought concerns to

   their supervisors who were involved in the most senior discussions to set the residual values.

          167.    For example, a former employee who worked as a Vehicle Sales Manager from

   prior to the Relevant Period to September 2016 in the Company’s Asset Management Division,

   reported that “the values of the equipment were completely off” and “it was pretty clear that they


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   needed to write-down the equipment.” This former employee stated that, despite these clear

   warning signs, upper management, including Defendants Sanchez and Garcia, pushed back on

   not writing down the used vehicles. Another employee stated that senior management, including

   Defendants Sanchez and Garcia, participated in weekly and monthly phone calls which discussed

   the Company’s vehicles’ valuations and depreciation. This former employee would “scream until

   [he] was blue in the face” about how Ryder’s vehicles were overpriced but would receive

   pushback from Sanchez and Garcia, with excuses such as the Company did not want to lose

   money on the trucks and that the Company could not afford to lower the prices.

         168.    Another former employee, who worked as the Company’s Director of Asset

  Management Canada from 2011 to 2018, stated that the Company’s senior management and

  executives received internal reports regarding residual values and depreciation and met quarterly

  to discuss to status of their used vehicle valuation and pricing. This former employee’s last position

  was director of asset management Canada, which entailed ensuring that assets were depreciating

  as they should and making sure the vehicles sold. This former employee was also a member of the

  pricing committee. employee told the finance group at the Company that they should be writing

  down the vehicles but was told to sit on the inventory. He further explained that residuals were

  never adjusted as they should have been throughout the course of the lease. Although this former

  employee continuously raised “red flags like crazy, he received a lot of pushback from Defendant

  Cooke, the President of Sales, and others.

         169.    Another former employee, who worked in various positions for the Company

  including as a Vehicle Sales Manager beginning prior to the Relevant Period and until 2017, a

  Bailment Supervisor from 2017 until 2019, and Senior Logistics Analyst from 2019 to February



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  2020, stated that he had week and monthly phone calls with the Company’s executives during

  which valuations and depreciation were discussed. This former employee would “scream until [he]

  was blue in the face” about how the Company’s vehicles were overpriced but would receive

  pushback from Defendants Sanchez and Garcia for a number of reasons, including that they did

  not want to lose money on the trucks and that Ryder could not afford to lower the prices.

         170.    Another former employee, who was a Vehicle Sales Manager in the Asset

  Management Division until September 2016, stated that there was talk of the need for write downs

  in 2015 and 2016 because the values had already depreciated much lower than expected. However,

  this former employee stated that the Company “had no interest in writing down whatsoever.”

         171.    A former Director of Used Vehicle Sales at Ryder from May 2018 through

  September 2018 said that it was clear to him that the Company’s residual value estimates exceeded

  the expected future sale price. This former employee brought up his concerns to his superior, Marc

  Thibeau, and stated that the Company understood that it would suffer a loss on the sale of its over-

  valued vehicles, but they were more concerned with keeping depreciation costs low in a beat the

  competition type mentality. This former employee’s concerns about how Ryder was recognizing

  revenue were dismissed.

          Defendants Were Aware of the Steep Decline in Used Vehicle Prices and Ignored
          Warning Signs that Price Discounts and Serious Decreases in Residual Values Were
          Necessary

         172.    Defendants admitted that they observed a steep decline in used tractor sales prices

  starting in mid-to-late-2015. In its third quarter 2019 earnings call, Defendants showed the

  following chart during a presentation:




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          173.    The above chart demonstrated that the Company experienced a precipitous decline

   in used tractor pricing during the Relevant Period, yet the Defendants did not accurately modify

   its vehicles residual values to reflect these price changes.

          174.    When the Company finally reduced the residual values of its revenue-earning

   equipment, it stated that the need for extreme reductions was based on the decline in used tractor

   prices in the third quarter of 2019. However, the decline in the third quarter of 2019 was a small

   decline after a brief increase in prices, and simply a return to the prices the Company was getting

   for its used tractors in 2018. As demonstrated by the chart used during the Company’s October

   29, 2019 earnings conference call presentation, the decline started in mid-2015, not 2019:




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          175.    In explaining the above slide, Defendant Sanchez explained that the Company

   “stated seeing softening market conditions for sued tractors” in June 2019 and that those

   conditions “triggered a review and lowering of residual value estimates on power vehicles.”

   However, as the chart clearly shows, the small increase and decrease in 2018/2019 was not the

   first trigger of the Company’s need to re-evaluate its residual value estimates. Instead, the

   Company experienced a sharp decline in used vehicle prices starting in 2015 and continuing

   through the Relevant Period.

          176.    In the second half of 2019, the Company made a $357 million adjustment and

   recorded a $58 million loss on sales of used vehicles. These wiped out the previous financial

   benefits of increased residual values that the Company had reported through 2018. Allocating the

   2019 loss ($357 million + $58 million = $415 million) to the years between mid-2105 to 2018 on

   a proportional basis results in the below estimates of the Company’s true pretax earnings. If the

   Company had correctly estimated the residual values from mid-2015 through 2019, and the

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   resulting depreciation charge was correctly accounted for in the Company’s disclosures, the

   Company’s GAAP adjusted pretax income would have significantly diminished amounts in 2015

   through 2018 compared to what the Company actually disclosed in its financial disclosure section

   of its disclosures.

           The Company Used a Five-Year Rolling Average to Capitalize on Historically High
           Prices

           177.    To capitalize on the historically higher used truck prices from 2012-2015, the

   Defendants utilized a misleading five-year rolling average residual value methodology.

   Defendants did so despite knowing that this methodology did not accurately reflect the

   Company’s vehicles’ actual residual value.

           178.    By relying on the five-year rolling average methodology, the Company continued

   to benefit from historically high prices, which had a recurring positive impact on the Company’s

   reported financial results, despite knowing that it did not reflect the actual values of used vehicle

   prices. Using this methodology, the Company continued to value its vehicles significantly above

   the price the market was willing to pay, which rendered Ryder’s reported residual values

   misleading.

           179.    During the Relevant Period, despite the almost complete collapse of used truck and

   tractor pricing, Defendants continued to mislead the market about the residual value of the

   Company’s fleet, and would only gradually recognize falling residual values when the Company

   was finally forced to sell its overvalued vehicles.

           180.    By mid-2018, the Company was forced to abandon its 5-year rolling price average

   to better capture “where [they were] seeing sales today.” On July 25, 2018, during Ryder’s second

   quarter 2018 earnings call, Defendant Sanchez, in direct response to an analyst question, stated


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   that:

           Just so you know, we’ve historically always used a 5-year rolling average to
           determine our residual value or our sales proceed at the end of the lease term. At
           the beginning of this year is when we switched and then said, rather than just
           do a rolling 5-year average, let’s just bring it to generally to where we’re seeing
           sales today. And we did that. That’s primarily a Class 8 issue. So we did that
           really across the tractor business. And so beginning of the year is when we started
           that.

  (Emphasis added.)

           181.   Then, just over a year later, Defendant Sanchez explained that “[e]ffective July 1,

   [2019,] we further lowered our long-term view of residual values for vehicles expected to be sold

   starting in late 2021 to reflect more recent multiyear market trends in our outlook. This view

   now excludes the peak pricing year of 2015.” However, Defendants offered no explanation as

   to why, despite previously saying that the Company abandoned its 5-year rolling average

   methodology, any of its 2019 residual values supposedly included 2015 peak pricing.

           The Company Knew, or Should Have Known, That Residual Value Estimates Were
           Inflated Based on Trend in Used Vehicle Sales

           182.   As further evidence that the Company overstated its vehicles residual values is the

   fact that they took increasingly larger losses on the sale of its used vehicles throughout the

   Relevant Period. In 2015, Ryder sold its used vehicles for proceeds of approximately $100

   million. The very next year, Ryder’s net sales fell almost 99% to only $972,000. In 2017,

   Ryder sold its vehicles at a loss of $17.24 million. In 2018, net used vehicles losses increased

   another 26% to $21.74 million. In 2019, the Company’s net loss on used vehicles increased

   263% to $58.7 million.

           183.   Despite the Company’s internal goal of selling its used vehicles within 90 days of

   the vehicle arriving at one of the Company’s UTCs, the Company’s internal reports revealed that


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   there were hundreds, and sometimes thousands, of vehicles that were not sold for significantly

   over six months even though those vehicles hit the point of sale, and whose residual values were

   not revised.

         184.     As of February 2016, the Company had a large number of vehicles with high

  residual values that should have been written down. As a result, the Company ended up with a

  significantly oversized used vehicle fleet.

         185.     One former employee, who was a Director of Asset Management Canada from

  2011 to 2018, stated that by 2015, it was “loud and clear” that used truck prices were declining.

  This former employee also stated that the Company’s senior management and executives received

  internal reports regarding residual values and depreciation and met quarterly to discuss to status of

  their used vehicle valuation and pricing.

         186.     Another former employee, who was a Vehicle Sales Representative at the

  Company’s UTCs from November 2016 through April 2019, stated that the pricing of the

  Company’s vehicles was “a lot” higher than competitors and that sales significantly decreased

  during his time with the Company. When he started, his office sold 50-60 trucks per month. That

  eventually declined to only 15-20 per month by 2019.

         187.     The Company’s inventory grew because it could not sell the vehicles and the

  Company did not want to send the vehicles that were not selling to auction and thereby realize the

  losses. The Company’s vehicles were sitting on the Ryder lots for 180-365 days, whereas the target

  is typically only 90-180 days. Many trucks were sitting on the lots for over six months.

         188.     As one former employee noted, the Company sat on vehicles for extended periods

  of time because they did not want to write them down or sell them at a lower price. This former



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  employee, who was a Vehicle Sales Manager in the Asset Management Division, stated that the

  large number of unsold used vehicles that sat on lots started in 2015 and was significantly different

  that it had been in the past and that “it got worse and worse and worse.”

          189.    Because the Company was overvaluing the trucks, Ryder would have taken a

  significant loss if they did try to sell them. Instead of realizing the loss, Ryder would instead try to

  find another consumer to whom to lease the same used truck.

          190.    As the Company disclosed, as of February 12, 2016, its units held for sale at the

  end of the fourth quarter of 2015 had increased to 8,000, up from 5,500 units held for sale in the

  prior year, a 45% increase. By February 2017, the total Ryder units held for sale was still extremely

  high at 7,500 units, but this figure excluded 1,200 lease vehicles being “prepared for sale.”

  Including those vehicles resulted in an increase of 700 vehicles versus the prior year. By February

  2019, Ryder still had 6,900 units held for sale, which had increased by 900 units over the past year,

  and which was still 25% higher than the 5,500 units held for sale in 2014. By the end of the fourth

  quarter in 2019, Ryder’s used vehicle inventory amounted to 9,400 vehicles, an increase of 71%

  compared with 2015.

          191.    Numerous former Ryder employees brought up their concerns to Ryder executives,

  telling them that the Company was trying to sell its used vehicles at market prices far above what

  their true value was. However, these concerns were consistently set aside by Ryder’s most senior

  executives, who kept the prices for used vehicles too high.

          192.    The Company also refused to make timely appropriate adjustments to its vehicles’

  residual values despite clear price-reducing circumstances. In particular, in 2010, the U.S.

  Environmental Protection Agency passed a set of historic emissions regulations meant to



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  substantially lower the amount of air pollution caused by large, commercial vehicles.

  Approximately 40% of the Company’s fleet used vehicles with the Navistar International

  MaxxForce Engine, which was designed to comply with emission-reduction requirements. These

  engines were extremely unreliable and problematic which led to repeated breakdowns and engine

  failures making it difficult for the Company to sell trucks with Navistar International MaxxForce

  engines.

         193.    According to former Ryder employees, as a matter of policy, the Company would

  indefinitely hold onto used vehicles instead of selling them to avoid—or at least postpone—

  recording a loss on the sale of the vehicle.

         Materially False and Misleading Statements

         July 23, 2015 Press Release and Conference Call

         194.    On July 23, 2015, the Company issued a press release containing the Company’s

  “record” financial results for the second quarter of 2015. The press release was also attached as an

  exhibit to a current report on Form 8-K filed with the SEC, which was signed by Defendant Garcia.

  The press release and Form 8-K announced “record . . . results” and reported the following

  financial results: (i) a comparable EPS from continuing operations of $1.65 (15% increase from

  2014); (ii) an EPS from continuing operations of $1.61 (an increase of 13% from 2014); (iii) a 6%

  growth of operating revenue of $1.4 Billion; and (iv) a 14% increase in GAAP Earnings of $86.2

  million. The Company also reported that its full-service lease results benefited from “lower

  depreciation associated with increased residual values.”

         195.    On that same day, the Company held a conference call with analysts and investors.

  During the call, Defendant Sanchez falsely assured investors that any headwind the Company



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  faced in its FMS segment from a decline in used vehicle sales “is being offset on the earnings line

  by the improvements that we’ve seen in depreciation expense.”

             August 7, 2015 Form 10-Q

             196.   On August 7, 2015, the Company filed its quarterly report on Form 10-Q with the

  SEC for the fiscal quarter ended June 30, 2015 (the “2015 Q2 10-Q”). The 2015 Q2 10-Q was

  signed by Defendants Sanchez and Garcia.

             197.   Attached to the 2015 Q2 10-Q were certifications pursuant to Rule 13a-14(a) and

  15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX Certifications”)

  signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the

  2015 Q2 10-Q. The SOX Certifications further attested that all fraud and any material changes to

  the Company’s internal control over financial reporting had been disclosed.

             198.   In the 2015 Q2 10-Q, the Company announced, inter alia, the following financial

  results:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $531,308
   Net gains on vehicles                        $33,237
   Earnings from continuing operations before   $133,447
   income taxes
   Net earnings                                 $85,917
   EPS – basic net earning                      $1.61
   EPS – diluted net earnings                   $1.59
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $85,159
   Comprehensive income                         $111,333
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $10,638,264
   Total shareholders’ equity                   $1,913,439
   Operating property and equipment, net of     $707,886
   accumulated depreciation
   Retained earnings                            $1,544,047

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               Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                              $137,948
   Depreciation expense                      $546,699
   Net gains on used vehicle sales           $62,816

          199.   The Company also announced that its lease and rental gross margin within its FMS

  segment had increased by 10%. The Company attributed this increase to the “benefits from

  improved residual values.” The Company also reported that earnings before tax (“EBT”) increased

  by 8% and attributed that increase to “$10 million of lower depreciation in the second quarter of

  2015 due to residual value policy changes.”

          200.   Regarding the Company’s controls and procedures, the 2015 Q2 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the second quarter of 2015, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the second quarter of 2015, Ryder’s disclosure controls and procedures (as
          defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
          effective.

          Changes in Internal Controls over Financial Reporting
          During the six months ended June 30, 2015, there were no changes in Ryder’s
          internal control over financial reporting that have materially affected or are
          reasonably likely to materially affect such internal control over financial reporting.

          September 10, 2015 Conference

          201.   On September 10, 2015, during a presentation at the RBC Capital Markets Global

  Industrials Conference, Defendant Garcia stated that “we’ve been benefitting from the solid used

  truck environment because of an increase in residuals, which helped bring down depreciation

  expense, which more than offset any gains headwind that we saw.” Defendant Garcia further stated


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  that “we probably haven’t raised our residuals fast enough” and “we’ve been kind of conservative

  in that.”

             October 22, 2015 Press Release, Form 10-Q, and Conference Call

             202.   On October 22, 2015, the Company issued a press release announcing, once again,

  “record” financial results. The press release was also attached as an exhibit to a current report on

  Form 8-K filed with the SEC, which was signed by Defendant Garcia. The press release and Form

  8-K reported the following financial results: (i) an EPS from continuing operations of $1.70 (8%

  increase), (ii) a comparable EPS from continuing operations of $1.74 (7%); and (iii) a Comparable

  Earnings of $93.3 million (8% increase).

             203.   On the same day, the Company also filed its quarterly report on Form 10-Q with

  the SEC for the fiscal quarter ended September 30, 2015 (the “2015 Q3 10-Q”). The 2015 Q3 10-

  Q was signed by Defendant Garcia.

             204.   Attached to the 2015 Q3 10-Q were SOX Certifications signed by Defendants

  Sanchez and Garcia, attesting to the accuracy of financial reporting in the 2015 Q3 10-Q. The SOX

  Certifications further attested that all fraud and any material changes to the Company’s internal

  control over financial reporting had been disclose.

             205.   In the 2015 Q3 10-Q, the Company announced, inter alia, the following financial

  results:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $550,541
   Net gains on vehicles                        $29,294
   Earnings from continuing operations before   $139,900
   income taxes
   Net earnings                                 $90,619
   EPS – basic net earning                      $1.71


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   EPS – diluted net earnings                  $1.69
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                $90,619
   Comprehensive income                        $52,332
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                $10,820,186
   Total shareholders’ equity                  $1,952,064
   Operating property and equipment, net of    $712,169
   accumulated depreciation
   Retained earnings                           $1,612,744
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                $228,567
   Depreciation expense                        $838,100
   Net gains on used vehicle sales             $92,110


          206.   In the 2015 Q3 10-Q, the Company also announced that its lease and rental gross

  margin within its FMS business segment grew by 8% and attributed the increase, in part, to

  “benefits from improved residual values.” The Company also announced that EBT in the FMS

  segment increased by 5% because of “residual value policy changes.” The Company stated that

  its revenue “[r]esults benefitted from $10 million and $30 million of lower depreciation in the

  three and nine months ended September 30, 2015, respectively, due to residual value policy

  changes implemented January 1, 2015, driven by higher sales proceeds realized on used vehicles,

  as well as growth in average lease and rental fleet size.”

          207.   Regarding the Company’s controls and procedures, the 2015 Q3 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the third quarter of 2015, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the third quarter of 2015, Ryder’s disclosure controls and procedures (as

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         defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
         effective.

         Changes in Internal Controls over Financial Reporting
         During the nine months ended September 30, 2015, there were no changes in
         Ryder’s internal control over financial reporting that have materially affected or are
         reasonably likely to materially affect such internal control over financial reporting.
         208. On the same day, October 22, 2015, the Company held a conference call with

  analysts and investors. During the call, Defendant Sanchez informed investors that the Company

  would realize a “benefit in depreciation due to higher residual values using our five-year rolling

  average methodology. We are currently conducting our annual residual value analysis and will

  provide an earnings benefit on this on our fourth quarter earnings call.”

         209.    Also on the call, an analyst asked whether “gains on sales down in the order of

  magnitude of $30 million” for the following year could be “offset . . . with residual value benefit.”

  Defendant Sanchez responded that “if you think about a price decline in that 5% to 10% range,

  gains are going to drop let’s say roughly $30 million . . . And what we’re saying is that in that

  environment we would expect our residual value uptick to probably offset the decline that’s going

  to occur in 2016.”

         November 2015 Conferences

         210.    On November 3, 2015, during a presentation at the Goldman Sachs Industrial

  Conference, Defendant Sanchez was asked, “So if you have the environment where used trucks

  sales prices are coming down, can residual values still go up in that environment?” Defendant

  Sanchez answered, “Well, they can because of the way we calculate our residual values . . .

  Obviously we step back and take a look at it and make sure that we’re still selling vehicles below—

  still selling vehicles above where our residual values are going to be set.”




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          211.    Then, a week later, on November 10, 2015, Defendant Sanchez presented at the

  Robert W. Baird & Co. Industrials conference and explained how the Company determines

  residual value. He explained that the Ryder determines the residual value using a five-year average

  of Ryder’s used truck sales prices and stated that “as used truck pricing has really gone up we’ve

  been lagging in that just because you don’t want to overshoot the residual values.” Defendant

  Sanchez reassured investors that “even in this environment I would expect that a five-year rolling

  average is going to cause an increase in residual values which is a benefit to depreciation expense”

  and “[s]o you kind of view used truck gains headwinds primarily offset by depreciation policy

  benefit.”

          212.    The next day, on November 11, 2015, the Company participated in the Stephens

  Fall Investment Conference. During the conference, Defendant Garcia stated that in 2016

  Defendants “still would expect there to be a positive from residual values despite a declining

  environment [for used truck prices] here in the last few months” and told investors that even though

  used truck prices were declining, the Company was “still saying there’s [] an opportunity to raise

  residuals in light of that.”

          February 2, 2016 Press Release and Conference Call

          213.    On February 2, 2016, the Company issued a press release once again announcing

  “record” financial results for the fourth quarter and full-year 105 results. The press release was

  also attached as an exhibit to a current report on Form 8-K filed with the SEC, which was signed

  by Defendant Garcia. The press release and Form 8-K reported the following financial results: (i)

  an EPS from continuing operations of $1.42, (ii) a comparable EPS from continuing operations of

  $1.66 (4% increase); (iii) a 7% growth in revenue of $1.4 Billion; (iv) a 10% increase in full-year



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  comparable EPS from continuing operations to $6.13; and (v) a 6% increase in full-year operating

  revenue of $5.6 Billion. The press release and Form 8-K also stated that the Company’s full-service

  lease results benefited from “lower depreciation associated with increased residual values.”

          214.    On February 2, 2016, Defendant Sanchez told analysts on the Company’s fourth

  quarter earnings call that the “[s]ignificant increases in used vehicle pricing over the past five years

  will benefit depreciation rates in 2016, as these results are blended into our vehicle residual

  calculation” and that “[t]hese benefits will partially offset lower expected gains on used vehicles

  sold.” In describing the struggles from used vehicle sales and the forecasted decline in used vehicle

  pricing, Defendant Sanchez assured investors that “I feel really good about our ability to respond

  quickly to them.

          215.    During the same call, in response to an analyst’s question about how the expected

  decline in used vehicle pricing would affect the depreciation benefit going forward, Defendant

  Sanchez falsely stated that “[i]f we had a type of bleak environment, as we’ve painted here . . . you

  would be in a situation probably 2017 where things would be flat” and “[s]o there wouldn’t be a

  depreciation policy movement one way or the other.”

          February 11, 2016 BB&T Transportation Services Conference

          216.    On February 11, 2016, Defendants participated in the BB&T Transportation

  Services Conference, where Defendant Sanchez assured investors that “[w]e don’t have a situation

  where we’ve got a bunch of vehicles that are at high residual values [and] have to be written down.”

          217.    The foregoing statement was materially false and/or misleading because the

  Company’s vehicles’ residual values had already materially decreased at the time it was made. In

  fact, at the time the statement was made, Ryder had a significant number of used vehicles that had



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  been at the Ryder UTCs for a year or more. In particular, in February 2016, there were 300 trucks

  and 450 tractors that had already been at the UTCs for six months or more and needed to be written

  down.

          February 12, 2016 Form 10-K

          218.    On February 12, 2016, the Company filed its annual report on Form 10-K with the

  SEC for the fiscal year ended December 31, 2015 (the “2015 10-K”). The 2015 10-K was signed

  by Defendants Sanchez, Garcia, Berra, Eck, Hagemann, Hassey, Hilton, Lundgren, Nieto, A.

  Smith, and E. Smith, Tookes. Attached to the 2015 10-K were SOX Certifications signed by

  Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the 2015 10-K.

  The SOX Certifications further attested that all fraud and any material changes to the Company’s

  internal control over financial reporting had been disclosed.

          219.    In the 2015 10-K, the Company announced, inter alia, the following financial

  results for the full fiscal year 2015:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                      amounts) (full year)
   Cost of lease and rentals                    $2,153,450
   Net gains on vehicles                        $117,809
   Earnings from continuing operations before   $469,215
   income taxes
   Net earnings                                 $304,768
   EPS – basic net earning                      $5.78
   EPS – diluted net earnings                   $5.73
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $304,768
   Comprehensive income                         $212,303
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $10,967,809
   Total shareholders’ equity                   $1,987,111
   Operating property and equipment, net of     $714,970
   accumulated depreciation
   Retained earnings                            $1,667,080

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               Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                              $304,768
   Depreciation expense                      $1,139,922
   Net gains on used vehicle sales           $117,809


         220.    In the 2015 10-K, the Company reported that its lease and rental gross margin

  within its FMS business segment increased 7% in 2015—attributing the increase, in part, to

  “benefits from improved vehicle residual values.” The 2015 Form 10-K also stated that full-service

  lease results benefited from “lower depreciation associated with increased residual values.” The

  2015 10-K also reported that depreciation expense increased by 8%, but that it was “partially offset

  by $40 million . . . from changes in residual values.”

         221.    In a section titled “Management’s Report on Internal Control Over Financial

  Reporting,” the 2015 10-K provided, in relevant part, that:

         Management assessed the effectiveness of Ryder’s internal control over financial
         reporting as of December 31, 2015. In making this assessment, management used
         the criteria set forth by the Committee of Sponsoring Organizations of the
         Treadway Commission in “Internal Control — Integrated Framework (2013).”
         Based on our assessment and those criteria, management determined that Ryder
         maintained effective internal control over financial reporting as of December 31,
         2015.

         April 26, 2016 Press Release & Form 10-Q

         222.    On April 26, 2016, the Company to issue a press release announcing its financial

  and operating results for the fiscal quarter ended March 31, 2016. The press release, which Ryder

  also filed with the SEC a Current Report on Form 8-K, stated that the Company’s full-service lease

  results benefited from “lower depreciation associated with increased residual values.”




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          223.    Also on April 26, 2016, the Company filed its quarterly report on Form 10-Q with

  the SEC for the fiscal quarter ended March 31, 2016 (the “2016 Q1 10-Q”). The 2016 Q1 10-Q

  was signed by Defendants Sanchez and Garcia.

          224.    Attached to the 2016 Q1 10-Q were SOX Certifications signed by Defendants

  Sanchez and Garcia, attesting to the accuracy of financial reporting in the 2016 Q1 10-Q. The SOX

  Certifications further attested that all fraud and any material changes to the Company’s internal

  control over financial reporting had been disclosed.

          225.    In the 2016 Q1 10-Q, the Company announced, inter alia, the following financial

  results for the first quarter of 2016:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $552,490
   Net gains on vehicles                        $19,129
   Earnings from continuing operations before   $88,708
   income taxes
   Net earnings                                 $55,794
   EPS – basic net earning                      $1.05
   EPS – diluted net earnings                   $1.04
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $55,794
   Comprehensive income                         $74,193
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $11,054,530
   Total shareholders’ equity                   $2,045,318
   Operating property and equipment, net of     $717,444
   accumulated depreciation
   Retained earnings                            $1,700,816
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $55,794
   Depreciation expense                         $287,170
   Net gains on used vehicle sales              $19,129




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          226.   In the 2016 Q1 10-Q, Ryder also reported that the Company’s lease and rental gross

  margin within its FMS business segment increased 2%--attributing the increase in margin, in part, to

  “benefits from improved residual values.” The Company also stated that “[f]ull service lease and

  commercial rental results benefited from approximately $9 million of lower depreciation in the

  first quarter of 2016 due to residual value changes implemented January 1, 2016.”

          227.   Regarding the Company’s controls and procedures, the 2016 Q1 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the first quarter of 2016, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the first quarter of 2016, Ryder’s disclosure controls and procedures (as
          defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
          effective.

          Changes in Internal Controls over Financial Reporting
          During the three months ended March 31, 2016, there were no changes in Ryder’s
          internal control over financial reporting that have materially affected or are
          reasonably likely to materially affect such internal control over financial reporting.

          228.    The Investor Presentation that the Company released in connection to Ryder’s first

  quarter 2016 earnings conference call, stated that “Lease results benefited from fleet growth and

  vehicle residual value benefits.”

          May 19, 2016 Conference Call

          229.   On May 19, 2016, Ryder held a conference call with analysts and investors as part

  of Ryder’s 2016 Investor Day. During the conference call, Defendant Cooke, Ryder’s President of




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  Global FMS, stated that Ryder is “the largest retailer of used trucks in the industry, and so we have

  a higher residual as a result.”

          230.    Also on the call, Defendant Garcia was asked whether the Company anticipated the

  residual value to remain the same in the next few years in light of the decline in used truck pricing,

  and Defendant Garcia stated “[y]es.”

          July 27, 2016 Press Release, Form 10-Q, and Conference Call

          231.    On July 27, 2016, the Company issued a press release announcing financial results

  for the second quarter of 2016. The press release was also attached as an exhibit to a current report

  on Form 8-K filed with the SEC, which was signed by Defendant Garcia. The press release and

  Form 8-K reported the following financial results: (i) GAAP Earnings of $116.8 and Comparable

  (non-GAAP) Earnings of $132.0 million; (ii) GAAP EPS from Continuing Operations of $1.38;

  and (iii) Comparable EPS from continuing operations of $1.56. The press release and Form 8-K

  also stated that although EBT in the FMS segment were down 9% (driven in part by lower used

  vehicle sales), the Company’s “[f]ull-service lease and commercial rental results also benefited

  from lower depreciation associated with increased residual values.”

          232.    On the same day, the Company filed its quarterly report on Form 10-Q with the

  SEC for the fiscal quarter ended June 30, 2016 (the “2016 Q2 10-Q”). The 2016 Q2 10-Q was

  signed by Defendants Sanchez and Garcia. Attached to the 2016 Q2 10-Q were SOX Certifications

  signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the

  2016 Q2 10-Q. The SOX Certifications further attested that all fraud and any material changes to

  the Company’s internal control over financial reporting had been disclosed.




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          233.   The 2016 Q2 10-Q reported that EBT in the FMS business segment were down 9%

  but stated that the Company’s full-service lease and commercial rental results “benefited from

  approximately $9 million in the second quarter and $17 million in the first half of 2016 due to

  residual value changes implemented January 1, 2016.”

          234.   In the 2016 Q2 10-Q, the Company announced, inter alia, the following financial

  results for the second quarter of 2016:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $555,302
   Net gains on vehicles                        ($12,000)
   Earnings from continuing operations before   $116,779
   income taxes
   Net earnings                                 $73,750
   EPS – basic net earning                      $1.39
   EPS – diluted net earnings                   $1.38
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $73,750
   Comprehensive income                         $35,431
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $11,136,127
   Total shareholders’ equity                   $2,047,098
   Operating property and equipment, net of     $741,022
   accumulated depreciation
   Retained earnings                            $1,736,839
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $129,544
   Depreciation expense                         $581,043
   Net gains on used vehicle sales              $31,129


          235.   Regarding the Company’s controls and procedures, the 2016 Q2 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the second quarter of 2016, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief


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         Executive Officer and Chief Financial Officer, of the effectiveness of the design
         and operation of Ryder’s disclosure controls and procedures (as defined in Rule
         13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
         the Chief Executive Officer and Chief Financial Officer concluded that as of the
         end of the second quarter of 2016, Ryder’s disclosure controls and procedures (as
         defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
         effective.

         Changes in Internal Controls over Financial Reporting
         During the six months ended June 30, 2016, there were no changes in Ryder’s
         internal control over financial reporting that have materially affected or are
         reasonably likely to materially affect such internal control over financial reporting.

         236.    Also on the same day, the Company held a conference to discuss with analysts and

  investors the Company’s second quarter 2016 earnings. During it, Defendant Garcia once again

  told analysts that Ryder expected residual value to be flat, explaining that based on “what we’re

  seeing in the current marketplace, . . . I wouldn’t envision an increase or decrease in residual values

  out over the next four, five years.”

         October 25, 2016 Press Release and Form 10-Q

         237.    On October 25, 2016, the Company issued a press release announcing its financial

  and operating results for the third quarter of 2016. The press release, which Ryder also filed with

  the SEC as an Exhibit to a Current Report on Form 8-K and which was signed by Defendant Garcia,

  reported the following financial information: (i) GAAP Earnings of $131.7 million and

  Comparable Earnings of $138.9 million; (ii) GAAP EPS from Continuing Operations of $1.59;

  and (iii) Comparable EPS from Continuing Operations of $1.67.

         238.    The press release and Form 8-K also stated that the Company’s EBT in the FMS

  business segment were down 11%, driven, in part, by lower results in used vehicle sales. However,

  the press release stated that the Company’s full-service lease and commercial rental results

  “benefited from lower depreciation associated with increased residual values.”


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         239.    On the same day, the Company filed its quarterly report on Form 10-Q with the

  SEC for the fiscal quarter ended September 30, 2016 (the “2016 Q3 10-Q”). The 2016 Q3 10-Q

  was signed by Defendants Sanchez and Garcia. Attached to the 2016 Q3 10-Q were SOX

  Certifications signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial

  reporting in the 2016 Q3 10-Q. The SOX Certifications further attested that all fraud and any

  material changes to the Company’s internal control over financial reporting had been disclosed.

         240.    In the 2016 Q3 10-Q, the Company announced, inter alia, the following financial

  results for the second quarter of 2016:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $557,901
   Net gains on vehicles                        $1,873
   Earnings from continuing operations before   $131,698
   income taxes
   Net earnings                                 $84,752
   EPS – basic net earning                      $1.60
   EPS – diluted net earnings                   $1.59
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $84,752
   Comprehensive income                         $69,960
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $11,108,773
   Total shareholders’ equity                   $2,097,041
   Operating property and equipment, net of     $740,375
   accumulated depreciation
   Retained earnings                            $1,795,445
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $214,296
   Depreciation expense                         $878,173
   Net gains on used vehicle sales              $33,002


         241.    The 2016 Q3 10-Q also reported that the EBT in the FMS segment were down by

  11% but stated that “[f]ull service lease and commercial rental results benefited from


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  approximately $9 million of lower depreciation in the third quarter and $26 million in the nine

  months ended September 30, 2016, due to residual value changes implemented January 1, 2016.”

          242.   Regarding the Company’s controls and procedures, the 2016 Q3 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the third quarter of 2016, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the third quarter of 2016, Ryder’s disclosure controls and procedures (as
          defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
          effective.

          Changes in Internal Controls over Financial Reporting
          During the nine months ended September 30, 2016, there were no changes in
          Ryder’s internal control over financial reporting that have materially affected or are
          reasonably likely to materially affect such internal control over financial reporting.

          November 8, 2016 Conference

          243.   On November 8, 2016, during a presentation at the Stephens Fall Investor

  Conference, Defendant Garcia asserted that the drop in used truck prices “will not result in us

  changing residuals right now.”

          February 2, 2017 Press Release

          244.   On February 2, 2017, Ryder issued a press release announcing its financial and

  operating results for the fourth quarter 2016. The press release, which Ryder also filed with the

  SEC as an Exhibit to a Current Report on Form 8-K that was signed by Defendant Garcia, reported

  the following financial information: (i) GAAP Earnings of $69.2 million and Comparable Earnings




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  of $82.3 million; (ii) GAAP EPS from Continuing Operations of $0.92; and (iii) Comparable EPS

  from Continuing Operations of $1.07.

          February 14, 2017 Form 10-K

          245.    On February 14, 2017, the Company filed its annual report on Form 10-K with the

  SEC for the fiscal year ended December 31, 2016 (the “2016 10-K”). The 2016 10-K was signed

  by Defendants Sanchez, Garcia, Berra, Eck, Hagemann, Hassey, Hilton, Lundgren, Nieto, A.

  Smith, E. Smith, and Tookes. Attached to the 2016 10-K were SOX Certifications signed by

  Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the 2016 10-K.

  The SOX Certifications further attested that all fraud and any material changes to the Company’s

  internal control over financial reporting had been disclosed.

          246.    In the 2016 10-K, the Company announced, inter alia, the following financial

  results for the full fiscal year of 2016:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                      amounts) (full year)
   Cost of lease and rentals                    $2,234,284
   Net gains on vehicles                        $972
   Earnings from continuing operations before   $406,381
   income taxes
   Net earnings                                 $262,477
   EPS – basic net earning                      $4.94
   EPS – diluted net earnings                   $4.90
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $262,477
   Comprehensive income                         $141,180
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $10,902,454
   Total shareholders’ equity                   $2,052,275
   Operating property and equipment, net of     $745,870
   accumulated depreciation
   Retained earnings                            $1,827,026
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $262,477

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   Depreciation expense                              $1,187,050
   Net gains on used vehicle sales                   $972


          247.   In the 2016 10-K, the Company reported that depreciation expense increased 6% in

  2016 and increased 7% in 2015 but stated that “[t]he increases in both years were partially offset by

  $35 million and $40 million, respectively, from increases in residual values.” The Company also

  stated that “[f]ull service lease and commercial rental results benefited from lower depreciation of

  $35 million due to residual value changes implemented January 1, 2016.”

          248.   In a section titled “Management’s Report on Internal Control Over Financial

  Reporting,” the 2016 10-K provided, in relevant part, that:

          Management assessed the effectiveness of Ryder’s internal control over financial
          reporting as of December 31, 2016. In making this assessment, management used
          the criteria set forth by the Committee of Sponsoring Organizations of the
          Treadway Commission in “Internal Control — Integrated Framework (2013).”
          Based on our assessment and those criteria, management determined that Ryder
          maintained effective internal control over financial reporting as of December 31,
          2016.

          249.   The same day, the Company participated in the Stifel Transportation & Logistics

  Conference. During that conference, an analyst asked the Company whether it would be revisiting

  its residual values, and Defendant Garcia stated that “most likely, it’s going to go down a little

  bit.”

          April 25, 2017 Press Release and Form 10-Q

          250.   On April 25, 2017, the Company issued a press release announcing its financial and

  operating results for the first quarter of 2017. The press release, which Ryder also filed with the

  SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The press

  release and Form 8-K reported the following financial information: (i) “Record Q1 Total Revenue



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  Grows 7% to $1.7 Billion;” (ii) “Record Q1 Operating Revenue (non-GAAP) up 3%;” (iii) GAAP

  EPS from Continuing Operations of $0.71; and (iii) Comparable EPS from Continuing Operations

  of $0.82. The press release and Form 8-K noted that the GAAP EPS from continuing operations

  was lower as a result of lower used vehicle sales.

          251.    Also on April 25, 2017, the Company filed its quarterly report on Form 10-Q with

  the SEC for the fiscal quarter ended March 31, 2017 (the “2017 Q1 10-Q”). The 2017 Q1 10-Q

  was signed by Defendants Sanchez and Garcia. Attached to the 2017 Q1 10-Q were SOX

  Certifications signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial

  reporting in the 2017 Q1 10-Q. The SOX Certifications further attested that all fraud and any

  material changes to the Company’s internal control over financial reporting had been disclosed.

          252.    In the 2017 Q1 10-Q, the Company announced, inter alia, the following financial

  results for the first quarter of 2017:



        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $578,762
   Net gains on vehicles                        $780
   Earnings from continuing operations before   $59,956
   income taxes
   Net earnings                                 $38,279
   EPS – basic net earning                      $0.72
   EPS – diluted net earnings                   $0.71
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $38,149
   Comprehensive income                         $58,955
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $10,973,807
   Total shareholders’ equity                   $2,079,796
   Operating property and equipment, net of     $754,307
   accumulated depreciation
   Retained earnings                            $1,829,114

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               Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                              $38,149
   Depreciation expense                      $311,149
   Net gains on used vehicle sales           $780

          253.   Regarding the Company’s controls and procedures, the 2017 Q1 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the first quarter of 2017, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the first quarter of 2017, Ryder’s disclosure controls and procedures (as
          defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
          effective.

          Changes in Internal Controls over Financial Reporting
          During the three months ended March 31, 2017, there were no changes in Ryder’s
          internal control over financial reporting that have materially affected or are
          reasonably likely to materially affect such internal control over financial reporting.

          July 26, 2017 Press Release and Form 10-Q

          254.   On July 26, 2017, the Company issued a press release announcing its financial and

  operating results for the second quarter of 2017. The press release, which Ryder also filed with the

  SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The press

  release and Form 8-K reported the following financial information: (i) GAAP Earnings of $80.7

  million; (ii) Comparable Earnings of $84.7 million; (iii) GAAP EPS from Continuing Operations

  of $0.97; and (iii) Comparable EPS from Continuing Operations of $1.00. The press release and

  Form 8-K noted that the GAAP EPS from continuing operations, and that it was “[p]rimarily

  [i]impacted” by lower used vehicle sales.




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          255.   Also on July 26, 2017, the Company filed its quarterly report on Form 10-Q with

  the SEC for the fiscal quarter ended June 30, 2017 (the “2017 Q2 10-Q”). The 2017 Q2 10-Q was

  signed by Defendants Sanchez and Garcia. Attached to the 2017 Q2 10-Q were SOX Certifications

  signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the

  2017 Q2 10-Q. The SOX Certifications further attested that all fraud and any material changes to

  the Company’s internal control over financial reporting had been disclosed.

          256.   In the 2017 Q2 10-Q, the Company announced, inter alia, the following financial

  results for the second quarter of 2017:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $578,389
   Net gains on vehicles                        $15,322
   Earnings from continuing operations before   $80,692
   income taxes
   Net earnings                                 $50,816
   EPS – basic net earning                      $0.96
   EPS – diluted net earnings                   $0.96
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $50,816
   Comprehensive income                         $83,822
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $11,124,784
   Total shareholders’ equity                   $2,1006,099
   Operating property and equipment, net of     $762,404
   accumulated depreciation
   Retained earnings                            $1,827,139
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $88,965
   Depreciation expense                         $621,020
   Net gains on used vehicle sales              $14,542


          257.   Regarding the Company’s controls and procedures, the 2017 Q2 10-Q provided

  that:


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         Evaluation of Disclosure Controls and Procedures
         As of the end of the second quarter of 2017, we carried out an evaluation, under the
         supervision and with the participation of management, including Ryder’s Chief
         Executive Officer and Chief Financial Officer, of the effectiveness of the design
         and operation of Ryder’s disclosure controls and procedures (as defined in Rule
         13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
         the Chief Executive Officer and Chief Financial Officer concluded that as of the
         end of the second quarter of 2017, Ryder’s disclosure controls and procedures (as
         defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
         effective.

         Changes in Internal Controls over Financial Reporting
         During the six months ended June 30, 2017, there were no changes in Ryder’s
         internal control over financial reporting that have materially affected or are
         reasonably likely to materially affect such internal control over financial reporting.


         October 25, 2017 Press Release and Form 10-Q

         258.    On October 25, 2017, the Company issued a press release announcing its financial

  and operating results for the first quarter of 2017. The press release, which Ryder also filed with

  the SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The

  press release and Form 8-K reported the following financial information: (i) GAAP Earnings of

  $94.2 million; (ii) Comparable Earnings of $111 million; (iii) GAAP EPS from Continuing

  Operations of $1.11; and (iii) Comparable EPS from Continuing Operations of $1.33.

         259.    Also on October 25, 2017, the Company filed its quarterly report on Form 10-Q

  with the SEC for the fiscal quarter ended September 30, 2017 (the “2017 Q3 10-Q”). The 2017 Q3

  10-Q was signed by Defendants Sanchez and Garcia. Attached to the 2017 Q3 10-Q were SOX

  Certifications signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial

  reporting in the 2017 Q3 10-Q. The SOX Certifications further attested that all fraud and any

  material changes to the Company’s internal control over financial reporting had been disclosed.




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          260.   In the 2017 Q3 10-Q, the Company announced, inter alia, the following financial

  results for the third quarter of 2017:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $588,626
   Net gains on vehicles                        $2,727
   Earnings from continuing operations before   $94,343
   income taxes
   Net earnings                                 $58,913
   EPS – basic net earning                      $1.11
   EPS – diluted net earnings                   $1.11
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $58,623
   Comprehensive income                         $92,029
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $11,258,974
   Total shareholders’ equity                   $2,175,064
   Operating property and equipment, net of     $778,879
   accumulated depreciation
   Retained earnings                            $1,855,806
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $147,588
   Depreciation expense                         $932,772
   Net gains on used vehicle sales              ($11,815)


          261.   Regarding the Company’s controls and procedures, the 2017 Q3 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the third quarter of 2017, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the third quarter of 2017, Ryder’s disclosure controls and procedures (as
          defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
          effective.



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         Changes in Internal Controls over Financial Reporting
         During the three months ended September 30, 2017, there were no changes in
         Ryder’s internal control over financial reporting that have materially affected or are
         reasonably likely to materially affect such internal control over financial reporting.

         February 16, 2018 Press Release and Conference Call

         262.    On February 16, 2018, the Company issued a press release announcing its financial

  and operating results for the fourth quarter of 2017. The press release, which Ryder also filed with

  the SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The

  press release and Form 8-K reported the following financial information: (i) GAAP Earnings of

  $78.8 million; (ii) Comparable Earnings of $104.5 million; (iii) GAAP EPS from Continuing

  Operations of $12.10 (which included a one-time net benefit from 2017 tax reform); and (iii)

  Comparable EPS from Continuing Operations of $1.37.

         263.    On the same day, the Company held a conference call with analysts and investors

  to discuss the Company’s fourth quarter and full-year 2017 earnings. One analyst asked “what is

  it that’s driving the change in residuals and the additional depreciation that you’re taking? Is it

  something specific with the vintage of equipment that you’re seeing? Or is it the expectation as

  you look out and the supply that’s coming into—potentially coming into the market here into ’18?

  If you can just give us a sense of maybe why some of the fundamentals seem a little bit better, but

  you are still dealing with the change in the residuals and the incremental depreciation.” Defendant

  Garcia responded that, based on Ryder’s expectations for used truck pricing, depreciation will be

  at a “lower level than what we had seen this year.”

          February 20, 2018 Form 10-K

         264.    On February 20, 2018, the Company also filed its annual report on Form 10-K with

  the SEC for the fiscal year ended December 31, 2017 (the “2017 10-K”). The 2017 10-K was


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  signed by Defendants Sanchez, Garcia, Berra, Eck, Hagemann, Hilton, Lundgren, Nieto, A. Smith,

  E. Smith, and Tookes. Attached to the 2017 10-K were SOX Certifications signed by Defendants

  Sanchez and Garcia, attesting to the accuracy of financial reporting in the 2017 10-K. The SOX

  Certifications further attested that all fraud and any material changes to the Company’s internal

  control over financial reporting had been disclosed.

          265.    In the 2017 10-K, the Company announced, inter alia, the following financial

  results for the full fiscal year of 2017:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                      amounts) (full year)
   Cost of lease and rentals                    $2,355,043
   Net gains on vehicles                        $17,241
   Earnings from continuing operations before   $313,786
   income taxes
   Net earnings                                 $790,558
   EPS – basic net earning                      $14.97
   EPS – diluted net earnings                   $14.87
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $790,558
   Comprehensive income                         $917,089
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $11,452,231
   Total shareholders’ equity                   $2,835,016
   Operating property and equipment, net of     $776,704
   accumulated depreciation
   Retained earnings                            $2,465,022
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $790,558
   Depreciation expense                         $1,255,175
   Net gains on used vehicle sales              $17,241


          266.    In the 2017 10-K, the Company reported that “lease and rental gross margin . . .

  decreased by 3% and gross margin as a percentage of revenue decreased to 30% in 2016, due to




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  lower commercial rental demand, partially offset by lease fleet growth, as well as benefits from

  improved residual values.”

         267.    The 2017 10-K also stated that “ChoiceLease and commercial rental results

  benefited from lower depreciation of $35 million due to residual value changes implemented on

  January 1, 2016.”

         268.    In a section titled “Management’s Report on Internal Control Over Financial

  Reporting,” the 2017 10-K provided, in relevant part, that:

         Management assessed the effectiveness of Ryder’s internal control over financial
         reporting as of December 31, 2017. In making this assessment, management used
         the criteria set forth by the Committee of Sponsoring Organizations of the
         Treadway Commission in “Internal Control — Integrated Framework (2013).”
         Based on our assessment and those criteria, management determined that Ryder
         maintained effective internal control over financial reporting as of December 31,
         2017.

         February 22, 2018 Conference

         269.    On February 22, 2018, during a presentation at the Citi Global Industrials

  Conference, Defendant Sanchez applauded the success of the Company despite certain challenges

  and stated that “[i]f you were to take out the negative impact of used trucks and depreciation, we’d

  be up 15% on an—from an earnings standpoint.”

         March 19, 2018 Proxy Statement

         270.    On March 19, 2018, the Company filed a Schedule 14A with the SEC (the “2018

  Proxy Statement”). Defendants Berra, Eck, Hagemann, Hilton, Lundgren, Nieto, Nord, Sanchez,




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  A. Smith, E. Smith, Stockton, and Tookes solicited the 2018 Proxy Statement filed pursuant to

  Section 14(a) of the Exchange Act, which contained material misstatements and omissions.2

         271.    With respect to the Company’s Code of Conduct, the 2018 Proxy Statement stated

  that it “appl[ies] to our officers, employees and Board members and cover all areas of professional

  conduct including conflicts of interest, confidentiality, compliance with law and mechanisms to

  report known or suspected wrongdoing.”

         272.    The 2018 Proxy Statement was false and misleading because, despite assertions to

  the contrary, the Code of Conduct was not followed, as evidenced by the numerous false and

  misleading statements alleged herein, and the Individual Defendants’ failures to report violations

  of the Code of Conduct.

         273.    The Individual Defendants caused the 2018 Proxy Statement to be false and

  misleading with regard to executive compensation in that they purported to employ “pay-for-

  performance” elements, while failing to disclose that the Company’s financial prospects were

  misrepresented as a result of false and misleading statements, causing the Company’s share price

  to be artificially inflated and allowing the Individual Defendants to wrongfully benefit from the

  fraud alleged herein.

         274.    The 2018 Proxy Statement also called for shareholder approval of, among other

  things: (1) the election of twelve directors; (2) ratification of the Company’s independent auditors;

  (3) advisory vote to approve named executive officer compensation; (4) amendments to the



  2
   Plaintiff’s allegations with respect to the misleading statements in the 2018 Proxy Statement are
  based solely on negligence; they are not based on any allegation of reckless or knowing conduct
  by or on behalf of the Individual Defendants, and they do not allege, and do not sound in, fraud.
  Plaintiff specifically disclaims any allegations of, reliance upon any allegation of, or reference to
  any allegation of fraud, scienter, or recklessness with regard to these allegations and related claims.

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  Company’s Restated Articles of Incorporation and By-Laws to authorize shareholder action by

  written consent; and (5) a shareholder proposal on simple majority voting.

          275.    The 2018 Proxy Statement was materially false and misleading and failed to

  disclose material facts necessary to make the statements made not false and misleading.

  Specifically, the Individual Defendants failed to disclose, inter alia, that: (1) throughout the

  Relevant Period, nearly all of Ryder’s used vehicles were selling at prices significantly below the

  residual values that the Company had designated for each vehicle; (2) as a result, Ryder had a large

  number of vehicles that were recorded at high residual values that needed to be written down

  because the residual values of the Company’s used vehicles had materially decreased and its

  depreciation expense had materially increased beginning at least as early as mid-2015; (3) the

  Company failed to correctly reduce the residual values of its fleet vehicles or increase its

  depreciation expense, which resulted in a material overstatement of the Company’s net earnings,

  earnings per share, the value of its operating property and equipment, its total assets, retained

  earnings, and total shareholder’s equity; (4) the Company failed to maintain internal controls. As

  a result of the foregoing, the Company’s public statements were materially false and misleading

  at all relevant times.

          April 24, 2018 Press Release and Conference Call

          276.    On April 24, 2018, Ryder issued a press release announcing its financial and

  operating results for the first quarter of 2018. The press release, which Ryder also filed with the

  SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The press

  release and Form 8-K reported the following financial information: (i) GAAP Earnings of $48.1




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  million; (ii) Comparable Earnings of $65.1 million; (iii) GAAP EPS from Continuing Operations

  of $0.64; and (iii) Comparable EPS from Continuing Operations of $0.91.

          277.     Also on April 24, 2018, the Company held a conference call with analysts and

  investors to discuss first quarter 2018 earnings. During the call, in response to an analyst’s

  question about what the Company would adjust the residual values to in 2019, Defendant Garcia

  stated that “[i]t could be a little bit less than what it was this year” and guided analysts to “model[]

  in that $30 million to $40 million range.” Defendant Sanchez also stated that “the earnings in the

  rest of the business is going to more than offset the earnings headwind from used vehicle sales and

  depreciation.”

          May 2, 2018 Press Release, Conference Call, and Form 10-Q

          278.     On May 2, 2018, the Company filed its quarterly report on Form 10-Q with the

  SEC for the fiscal quarter ended March 31, 2018 (the “2018 Q1 10-Q”). The 2018 Q1 10-Q was

  signed by Defendants Sanchez and Garcia. Attached to the 2018 Q1 10-Q were SOX Certifications

  signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the

  2018 Q1 10-Q. The SOX Certifications further attested that all fraud and any material changes to

  the Company’s internal control over financial reporting had been disclosed.

          279.     In the 2018 Q1 10-Q, the Company announced, inter alia, the following financial

  results for the first quarter of 2018:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $619,207
   Net gains on vehicles                        $7,409
   Earnings from continuing operations before   $48,100
   income taxes
   Net earnings                                 $33,505
   EPS – basic net earning                      $0.64


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   EPS – diluted net earnings                  $0.64
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                $33,505
   Comprehensive income                        $51,003
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                $11,736,157
   Total shareholders’ equity                  $2,858,815
   Operating property and equipment, net of    $790,476
   accumulated depreciation
   Retained earnings                           $2,468,005
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                $33,505
   Depreciation expense                        $336,745
   Net gains on used vehicle sales             $7,409


          280.   Regarding the Company’s controls and procedures, the 2018 Q1 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the first quarter of 2018, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the first quarter of 2018, Ryder’s disclosure controls and procedures (as
          defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
          effective.

          Changes in Internal Controls over Financial Reporting
          During the three months ended March 31, 2018, there were no changes in Ryder’s
          internal control over financial reporting that have materially affected or are
          reasonably likely to materially affect such internal control over financial reporting.

          July 25, 2018 Press Release, Conference Call, and Form 10-Q

          281.   On July 25, 2018, the Company issued a press release announcing its financial and

  operating results for the second quarter of 2018. The press release, which Ryder also filed with the

  SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The press


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  release and Form 8-K reported the following financial information: (i) GAAP Earnings of

  $98.3million; (ii) Comparable Earnings of $102.8 million; (iii) GAAP EPS from Continuing

  Operations of $0.82; and (iii) Comparable EPS from Continuing Operations of $1.42.

         282.    On the same day, the Company filed its quarterly report on Form 10-Q with the

  SEC for the fiscal quarter ended June 30, 2018 (the “2018 Q2 10-Q”). The 2018 Q2 10-Q was

  signed by Defendants Sanchez and Garcia. Attached to the 2018 Q2 10-Q were SOX Certifications

  signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the

  2018 Q2 10-Q. The SOX Certifications further attested that all fraud and any material changes to

  the Company’s internal control over financial reporting had been disclosed.

         283.    In the 2018 Q2 10-Q, the Company announced, inter alia, the following financial

  results for the second quarter of 2018:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $636,359
   Net gains on vehicles                        ($6,013)
   Earnings from continuing operations before   $98,283
   income taxes
   Net earnings                                 $42,258
   EPS – basic net earning                      $0.80
   EPS – diluted net earnings                   $0.80
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $42,258
   Comprehensive income                         $4,861
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $12,228,866
   Total shareholders’ equity                   $2,841,403
   Operating property and equipment, net of     $823,893
   accumulated depreciation
   Retained earnings                            $2,580,262
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $75,763
   Depreciation expense                         $681,285


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   Net gains on used vehicle sales                    (13,422)


          284.     Regarding the Company’s controls and procedures, the 2018 Q2 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the second quarter of 2018, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the second quarter of 2018, Ryder’s disclosure controls and procedures (as
          defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
          effective.

          Changes in Internal Controls over Financial Reporting
          During the six months ended June 30, 2018, there were no changes in Ryder’s
          internal control over financial reporting that have materially affected or are
          reasonably likely to materially affect such internal control over financial reporting.

          285.     Also on July 25, 2018, the Company held a conference call with analysts and

  investors to discuss second quarter 2018 earnings. During the call, an analyst asked if “there’s any

  renewed focus on accelerating the growth within DTS and SCS” “given some of the headwinds in

  recent years with some of the cyclical elements.” Defendant Sanchez responded, “you can look at

  ChoiceLease today as being more derisked than it has historically” as “we’ve lowered that residual

  to generally the current levels that we’re seeing today as opposed to using our normal rolling 5-

  year average.”

          October 26, 2018 Press Release, Conference Call, and Form 10-Q

          286.     On October 26, 2018, the Company issued a press release announcing its financial

  and operating results for the third quarter of 2018. The press release, which Ryder also filed with

  the SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The


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  press release and Form 8-K reported the following financial information: (i) GAAP Earnings of

  $116.1 million; (ii) Comparable Earnings of $117.6 million; (iii) GAAP EPS from Continuing

  Operations of $1.69; and (iii) Comparable EPS from Continuing Operations of $1.64.

         287.    On the same day, the Company filed its quarterly report on Form 10-Q with the

  SEC for the fiscal quarter ended September 30, 2018 (the “2018 Q3 10-Q”). The 2018 Q3 10-Q

  was signed by Defendants Sanchez and Garcia. Attached to the 2018 Q3 10-Q were SOX

  Certifications signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial

  reporting in the 2018 Q3 10-Q. The SOX Certifications further attested that all fraud and any

  material changes to the Company’s internal control over financial reporting had been disclosed.

         288.    In the 2018 Q3 10-Q, the Company announced, inter alia, the following financial

  results for the third quarter of 2018:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $649,407
   Net gains on vehicles                        ($3,012)
   Earnings from continuing operations before   $116,140
   income taxes
   Net earnings                                 $88,751
   EPS – basic net earning                      $1.69
   EPS – diluted net earnings                   $1.68
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $88,751
   Comprehensive income                         $100,571
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $12,684,305
   Total shareholders’ equity                   $2,918,398
   Operating property and equipment, net of     $826,183
   accumulated depreciation
   Retained earnings                            $2,632,589
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $164,514
   Depreciation expense                         $1,028,491


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   Net gains on used vehicle sales                    $16,434


          289.   Regarding the Company’s controls and procedures, the 2018 Q3 10-Q provided

  that:

          Evaluation of Disclosure Controls and Procedures
          As of the end of the third quarter of 2018, we carried out an evaluation, under the
          supervision and with the participation of management, including Ryder’s Chief
          Executive Officer and Chief Financial Officer, of the effectiveness of the design
          and operation of Ryder’s disclosure controls and procedures (as defined in Rule
          13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
          the Chief Executive Officer and Chief Financial Officer concluded that as of the
          end of the third quarter of 2018, Ryder’s disclosure controls and procedures (as
          defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
          effective.

          Changes in Internal Controls over Financial Reporting
          During the nine months ended September 30, 2018, there were no changes in
          Ryder’s internal control over financial reporting that have materially affected or are
          reasonably likely to materially affect such internal control over financial reporting
          Also on October 26, 2018, the Company held a conference call with analysts and
          investors to discuss third quarter 2018 earnings. During the call, Defendant Sanchez
          reassured investors that, with respect to the Company’s accounting treatment of
          residual values, the Company “keep[s] the residuals in the middle of the fairway as
          best we can.”

          February 14, 2019 Press Release

          290.   On February 14, 2019, the Company issued a press release announcing its financial

  and operating results for the fourth quarter of 2018. The press release, which Ryder also filed with

  the SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The

  press release and Form 8-K reported the following financial information: (i) GAAP Earnings of

  $111.3 million; (ii) Comparable Earnings of $121 million; (iii) GAAP EPS from Continuing

  Operations of $2.05; and (iii) Comparable EPS from Continuing Operations of $1.82.




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          February 21, 2019 Form 10-K

          291.    Also on February 21, 2019, the Company filed its annual report on Form 10-K with

  the SEC for the fiscal year ended December 31, 2018 (the “2018 10-K”). The 2018 10-K was

  signed by Defendants Sanchez, Garcia, Berra, Eck, Hagemann, Hilton, Lundgren, Nieto, Nord, A.

  Smith, E. Smith, Stockton, and Tookes. Attached to the 2018 10-K were SOX Certifications signed

  by Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the 2018 10-

  K. The SOX Certifications further attested that all fraud and any material changes to the

  Company’s internal control over financial reporting had been disclosed.

          292.    In the 2018 10-K, the Company announced, inter alia, the following financial

  results for the full fiscal year of 2018:

        Consolidated Condensed Statement of Earnings (in thousands, except per share
                                            amounts)
   Cost of lease and rentals                    $2,566,257
   Net gains on vehicles                        ($21,739)
   Earnings from continuing operations before   $373,861
   income taxes
   Net earnings                                 $273,298
   EPS – basic net earning                      $5.20
   EPS – diluted net earnings                   $5.17
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
   Net earnings                                 $273,298
   Comprehensive income                         $170,047
                      Consolidated Condensed Balance Sheet (in thousands)
   Total assets                                 $13,051,084
   Total shareholders’ equity                   $2,910,327
   Operating property and equipment, net of     $843,813
   accumulated depreciation
   Retained earnings                            $2,710,696
                Consolidated Condensed Statements of Cash Flows (in thousands)
   Net earnings                                 $273,298
   Depreciation expense                         $1,394,964
   Net gains on used vehicle sales              $21,739



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          293.    In a section a section titled “Management’s Report on Internal Control Over

   Financial Reporting,” the 2018 10-K provided, in relevant part, that:

          Management assessed the effectiveness of Ryder’s internal control over financial
          reporting as of December 31, 2018. In making this assessment, management used
          the criteria set forth by the Committee of Sponsoring Organizations of the
          Treadway Commission in “Internal Control — Integrated Framework (2013).”
          Based on our assessment and those criteria, management determined that Ryder
          maintained effective internal control over financial reporting as of December 31,
          2018.

          March 18, 2019 Proxy Statement

          294.    On March 18, 2019, the Company filed a Schedule 14A with the SEC (the “2019

   Proxy Statement”). Defendants Eck, Hagemann, Hilton, Lundgren, Nieto, Nord, Sanchez, A.

   Smith, E. Smith, Stockton, and Tookes solicited the 2019 Proxy Statement filed pursuant to

   Section 14(a) of the Exchange Act, which contained material misstatements and omissions.3

          295.    With respect to the Company’s Code of Conduct, the 2019 Proxy Statement stated

   that it “appl[ies] to our officers, employees and Board members and cover all areas of professional

   conduct including conflicts of interest, confidentiality, compliance with law and mechanisms to

   report known or suspected wrongdoing.”

          296.    The Individual Defendants caused the 2019 Proxy Statement to be false and

   misleading with regard to executive compensation in that they purported to employ “pay-for-

   performance” elements, while failing to disclose that the Company’s financial prospects were

   misrepresented as a result of false and misleading statements, causing the Company’s share price



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    Plaintiff’s allegations with respect to the misleading statements in the 2019 Proxy Statement are
   based solely on negligence; they are not based on any allegation of reckless or knowing conduct
   by or on behalf of the Individual Defendants, and they do not allege, and do not sound in, fraud.
   Plaintiff specifically disclaims any allegations of, reliance upon any allegation of, or reference to
   any allegation of fraud, scienter, or recklessness with regard to these allegations and related claims.

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   to be artificially inflated and allowing the Individual Defendants to wrongfully benefit from the

   fraud alleged herein.

          297.    The 2019 Proxy Statement was false and misleading because, despite assertions to

   the contrary, the Code of Conduct was not followed, as evidenced by the numerous false and

   misleading statements alleged herein, and the Individual Defendants’ failures to report violations

   of the Code of Conduct.

          298.    The 2019 Proxy Statement also called for shareholder approval of, among other

   things: (1) the election of eleven directors; (2) ratification of the Company’s independent auditors;

   (3) an advisory vote to approve named executive officer compensation; (4) the 2019 Equity and

   Incentive Compensation Plan, which, among other things would increase the number of shares of

   Ryder common stock available to be granted under the Company’s equity compensation plan in

   2016 by 4,300,000; (5) amendments to the Company’s Restated Articles of Incorporation and By-

   Laws to remove supermajority voting provisions on shareholder action by written consent; and (6)

   an advisory vote on a shareholder proposal on an independent board chairman.

          299.    The 2019 Proxy Statement was materially false and misleading and failed to

   disclose material facts necessary to make the statements made not false and misleading.

   Specifically, the Individual Defendants failed to disclose, inter alia, that: (1) throughout the

   Relevant Period, nearly all of Ryder’s used vehicles were selling at prices significantly below the

   residual values that the Company had designated for each vehicle; (2) as a result, Ryder had a large

   number of vehicles that were recorded at high residual values that needed to be written down

   because the residual values of the Company’s used vehicles had materially decreased and its

   depreciation expense had materially increased beginning at least as early as mid-2015; (3) the



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   Company failed to correctly reduce the residual values of its fleet vehicles or increase its

   depreciation expense, which resulted in a material overstatement of the Company’s net earnings,

   earnings per share, the value of its operating property and equipment, its total assets, retained

   earnings, and total shareholder’s equity; (4) the Company failed to maintain internal controls. As

   a result of the foregoing, the Company’s public statements were materially false and misleading

   at all relevant times.

           April 30, 2019 Press Release

           300.    On April 30, 2019, the Company issued a press release announcing its financial and

   operating results for the first quarter of 2019. The press release, which Ryder also filed with the

   SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The press

   release and Form 8-K reported the following financial information: (i) GAAP Earnings of $68.2

   million; (ii) Comparable Earnings of $80.8 million; (iii) GAAP EPS from Continuing Operations

   of $0.87; and (iii) Comparable EPS from Continuing Operations of $1.11.

           May 9, 2019 Form 10-Q

           301.    On May 9, 2019, the Company filed its quarterly report on Form 10-Q with the

   SEC for the fiscal quarter ended March 31, 2019 (the “2019 Q1 10-Q”). The 2019 Q1 10-Q was

   signed by Defendants Sanchez and Garcia. Attached to the 2019 Q1 10-Q were SOX Certifications

   signed by Defendant Sanchez, attesting to the accuracy of financial reporting in the 2019 Q2 10-

   Q. The SOX Certifications further attested that all fraud and any material changes to the

   Company’s internal control over financial reporting had been disclosed.

           302.    In the 2019 Q1 10-Q, the Company announced, inter alia, the following financial

   results for the first quarter of 2019:



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         Consolidated Condensed Statement of Earnings (in thousands, except per share
                                             amounts)
    Cost of lease and rentals                    $664,289
    Net gains on vehicles                        $8,217
    Earnings from continuing operations before   $68,151
    income taxes
    Net earnings                                 $45,316
    EPS – basic net earning                      $0.86
    EPS – diluted net earnings                   $0.86
           Consolidated Condensed Statement of Comprehensive Income (in thousands)
    Net earnings                                 $45,316
    Comprehensive income                         $66,532
                       Consolidated Condensed Balance Sheet (in thousands)
    Total assets                                 $13,948,985
    Total shareholders’ equity                   $2,566,804
    Operating property and equipment, net of     $871,524
    accumulated depreciation
    Retained earnings                            $2,343,857
                 Consolidated Condensed Statements of Cash Flows (in thousands)
    Net earnings                                 $45,316
    Depreciation expense                         $377,357
    Net gains on used vehicle sales              $8,217


           303.   Regarding the Company’s controls and procedures, the 2019 Q1 10-Q provided

   that:

           Evaluation of Disclosure Controls and Procedures
           As of the end of the first quarter of 2019, we carried out an evaluation, under the
           supervision and with the participation of management, including Ryder’s Chief
           Executive Officer and Chief Financial Officer, of the effectiveness of the design
           and operation of Ryder’s disclosure controls and procedures (as defined in Rule
           13a-15(e) under the Securities Exchange Act of 1934). Based upon that evaluation,
           the Chief Executive Officer and Chief Financial Officer concluded that as of the
           end of the first quarter of 2019, Ryder’s disclosure controls and procedures (as
           defined in Rule 13a-15(e) under the Securities Exchange Act of 1934) were
           effective.

           Changes in Internal Controls over Financial Reporting
           . . . . During the three months ended March 31, 2019, there were no other changes
           in Ryder’s internal control over financial reporting that have materially affected or



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            are reasonably likely to materially affect such internal control over financial
            reporting.

            304.   The statements and omissions referenced in ¶¶ 194–216, 218–269, 276–293, and

   300–303 were materially false and misleading, and they failed to disclose material facts necessary

   to make the statements not false and misleading. Specifically, throughout the Relevant Period, the

   Individual Defendants improperly failed to disclose, inter alia, that: (1) throughout the Relevant

   Period, nearly all of Ryder’s used vehicles were selling at prices significantly below the residual

   values that the Company had designated for each vehicle; (2) as a result, Ryder had a large number

   of vehicles that were recorded at high residual values that needed to be written down because the

   residual values of the Company’s used vehicles had materially decreased and its depreciation

   expense had materially increased beginning at least as early as mid-2015; (3) the Company failed

   to correctly reduce the residual values of its fleet vehicles or increase its depreciation expense,

   which resulted in a material overstatement of the Company’s net earnings, earnings per share, the

   value of its operating property and equipment, its total assets, retained earnings, and total

   shareholder’s equity; (4) the Company failed to maintain internal controls. As a result of the

   foregoing, the Company’s public statements were materially false and misleading at all relevant

   times.

            The Truth Gradually Emerges False and Misleading Statements Continue

            July 30, 2019 Press Release and Form 10-Q

            305.   On July 30, 2019, the Company issued a press release announcing its financial and

   operating results for the second quarter of 2019. The press release, which Ryder also filed with the

   SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The press

   release and Form 8-K reported the following financial information: (i) GAAP Earnings of $103.1


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   million; (ii) Comparable Earnings of $101 million; (iii) GAAP EPS from Continuing Operations

   of $1.43; and (iii) Comparable EPS from Continuing Operations of $1.40.

          306.    On the same day, the Company filed its quarterly report on Form 10-Q with the

   SEC for the fiscal quarter ended June 30, 2019 (the “2019 Q2 10-Q”). The 2019 Q2 10-Q was

   signed by Defendants Sanchez and Garcia. Attached to the 2019 Q2 10-Q were SOX Certifications

   signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial reporting in the

   2019 Q2 10-Q. The SOX Certifications further attested that all fraud and any material changes to

   the Company’s internal control over financial reporting had been disclosed.

          307.    In the 2019 Q2 10-Q, the Company announced, inter alia, the following financial

   results for the second quarter of 2019 :

         Consolidated Condensed Statement of Earnings (in thousands, except per share
                                             amounts)
    Cost of lease and rentals                    $687,540
    Net gains on vehicles                        ($18,140)
    Earnings from continuing operations before   $103,069
    income taxes
    Net earnings                                 $75,215
    EPS – basic net earning                      $1.43
    EPS – diluted net earnings                   $1.43
           Consolidated Condensed Statement of Comprehensive Income (in thousands)
    Net earnings                                 $72,215
    Comprehensive income                         $66,245
                       Consolidated Condensed Balance Sheet (in thousands)
    Total assets                                 $14,522,054
    Total shareholders’ equity                   $2,607,706
    Operating property and equipment, net of     $866,908
    accumulated depreciation
    Retained earnings                            $2,385,620
                 Consolidated Condensed Statements of Cash Flows (in thousands)
    Net earnings                                 $120,531
    Depreciation expense                         $768,030
    Net gains on used vehicle sales              ($26,357)



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          308.    The Company also announced that the EBT for the second quarter of 2019 in its

   FMS business segment was down to $57.7 million, as compared to $72.9 million the prior year

   period, as a result of lower used vehicle sales results, which had declined from the prior year as a

   result of higher valuation adjustments of $10.4 million on a larger inventory and higher

   depreciation of $7.6 million due to residual value changes. Because of this, the Company reduced

   its earnings per share forecast for 2019 to a range of $4.80 to $5.10, as compared to its previous

   forecasted range of $5.28 to $5.58. Although the Company did not quantify the impact of used

   vehicle prices on its 2019 outlook, management indicated that the majority of the lowered guidance

   reflected weaker tractor valuations.

          309.    In response to this news, Ryder’s stock price declined 10%, from $59.32 per share

   on July 29, 2019 to $53.38 per share on July 30, 2019, on unusually high volume of more than 1.4

   million shares traded. This share price drop equated to a $323 million drop in market capitalization.

          310.    Analysts responded negatively to this news. On the same day, Deutsche Bank wrote

   an analyst report entitled “Good operating Q[uarter], but used truck prices sting.” In it, Deutsche

   Bank says that “Ryder can’t seem to shake the impact of weaker used truck prices, which is

   something that is taking longer to recover than we had previously expected.” J.P. Morgan also

   reported on the same day that “[v]ersus our model, FMS was weaker than expected, as used vehicle

   results and higher bad debt weighed on performance, partially offset by a solid topline and

   operating beat at DTS during the quarter.” Similarly, Wolfe Research reported that its 2019 ““EPS

   estimate was already below the low-end of R’s [Ryder’s] guidance, but the magnitude of today’s

   cut is worse than we expected.”




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            October 29, 2019 Press Release and Form 10-Q

            311.   On October 29, 2019, the Company issued a press release announcing its financial

   and operating results for the third quarter of 2019. The press release, which Ryder also filed with

   the SEC as an Exhibit to a Current Report on Form 8-K, was signed by Defendant Garcia. The

   press release and Form 8-K reported the following financial information: (i) GAAP Earnings loss

   of $91.3 million; (ii) Comparable Earnings loss of $73.0 million; (iii) GAAP EPS loss from

   Continuing Operations of $1.75; and (iii) Comparable EPS loss from Continuing Operations of

   $1.49.

            312.   On the same day, the Company filed its quarterly report on Form 10-Q with the

   SEC for the fiscal quarter ended September 30, 2019 (the “2019 Q3 10-Q”). The 2019 Q3 10-Q

   was signed by Defendants Sanchez and Garcia. Attached to the 2019 Q3 10-Q were SOX

   Certifications signed by Defendants Sanchez and Garcia, attesting to the accuracy of financial

   reporting in the 2019 Q3 10-Q. The SOX Certifications further attested that all fraud and any

   material changes to the Company’s internal control over financial reporting had been disclosed.

            313.   In the 2019 Q3 10-Q, the Company announced, inter alia, the following financial

   results for the third quarter of 2019 :

         Consolidated Condensed Statement of Earnings (in thousands, except per share
                                             amounts)
    Cost of lease and rentals                    $877,767
    Net gains on vehicles                        ($22,734)
    Earnings from continuing operations before   ($91,260)
    income taxes
    Net earnings                                 ($91,455)
    EPS – basic net earning                      ($1.75)
    EPS – diluted net earnings                   ($1.75)
          Consolidated Condensed Statement of Comprehensive Income (in thousands)
    Net earnings                                 ($91,455)
    Comprehensive income                         ($107,221)

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                      Consolidated Condensed Balance Sheet (in thousands)
    Total assets                               $14,482,844
    Total shareholders’ equity                 $2,476,987
    Operating property and equipment, net of   $891,689
    accumulated depreciation
    Retained earnings                          $2,262,356
                 Consolidated Condensed Statements of Cash Flows (in thousands)
    Net earnings                               $29,076
    Depreciation expense                       $1,342,746
    Net gains on used vehicle sales            ($49,091)


          314.    Moreover, the Individual Defendants caused the Company to disclose that the

   Company was finally significantly reducing its residual value estimates. The Defendants disclosed

   to investors that “management concluded that our residual value estimates likely exceeded the

   expected future values that would be realized upon the sale of power vehicles in our fleet.” On the

   same day, during a conference call with analysts and investors, Defendant Sanchez admitted that,

   “[f]ollowing the mid-2015 peak [in used tractor prices], tractor proceeds declined sharply through

   2017 to below our accounting residuals as supply entered the market and the freight environment

   slowed.”

          315.    Therefore, the Company significantly lowered the residual value estimates for all

   vehicles and incurred $177 million in addition depreciation expenses in the third quarter of 2019.

   The Company also reduced its residual value estimates for the second half of 2019 by $289 million

   and for 2020 by $250 million. In total, the Company reduced its residual values by $844 million

   for the second half of 2019 through 2024-25, as reflected in the below slide from the Company’s

   October 29, 2019 investor presentation:




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          316.    The Company also reported a third quarter 2019 adjusted loss of ($1.49) that was

   well below the consensus of $1.49 and the guidance range of $1.45-$.160, which was primarily

   driven by the increase in depreciation expense.

          317.    The SunTrust Robinson Humphrey summarized the impact as follows: “The total

   impact of the revised residual values as reflected in higher depreciation expense is estimated to be

   $289M or $3.96/share in 2H19 and $250M or $3.50/share in 2020 . . . . Overall this change results

   in earlier recognition of depreciation in 2019 and 2020 that would have been recognized in 2021

   or later years under its prior estimate.”

          318.    Analysts were appalled by the Company’s disclosure. On October 30, 2019, J.P.

   Morgan reported that the Company’s disclosures confirmed that it “was over-earning by a

   significant amount in prior years based on the $844mm cumulative write-down.” Similarly,


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   analysts at Wolfe Research wrote that despite the fact that “expectations were low hearing into the

   report . . . the impact on 3D was much bigger than expected and C20 estimates need to come down

   materially.”

          319.    In response to the October 29, 2019 disclosure, the Company’s stock price fell by

   more than 12% over two trading days, from a closing price of $55.12 per share on October 28,

   2019 to a closing price of $52.12 on October 29, 2019 and $48.44 per share on October 30, 2019,

   on unusually high trading volume of more than 2 million shares on October 29, 2019 and more

   than 1.4 million shares on October 30, 2019.

          320.    The statements and omissions referenced in ¶¶ 305–307 and 311–313 were

   materially false and misleading, and they failed to disclose material facts necessary to make the

   statements not false and misleading. Specifically, throughout the Relevant Period, the Individual

   Defendants improperly failed to disclose, inter alia, that: (1) throughout the Relevant Period,

   nearly all of Ryder’s used vehicles were selling at prices significantly below the residual values

   that the Company had designated for each vehicle; (2) as a result, Ryder had a large number of

   vehicles that were recorded at high residual values that needed to be written down because the

   residual values of the Company’s used vehicles had materially decreased and its depreciation

   expense had materially increased beginning at least as early as mid-2015; (3) the Company failed

   to correctly and fully reduce the residual values of its fleet vehicles or increase its depreciation

   expense, which resulted in a material overstatement of the Company’s net earnings, earnings per

   share, the value of its operating property and equipment, its total assets, retained earnings, and

   total shareholder’s equity; (4) the Company failed to maintain internal controls. As a result of the




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   foregoing, the Company’s public statements were materially false and misleading at all relevant

   times.

            The Full Truth Emerges

            321.    On February 13, 2020, the truth about the Company’s overstated residual values

   fully emerged when the Company disclosed that, as a result of the significant reductions to the

   residual value of its fleet, the Company had incurred a total of $357 million in depreciation expense

   for 2019, plus a loss of approximately $58 million on the sale of used vehicles. The Company also

   announced that, for 2020, it expected to incur another $275 million in depreciation expense on its

   fleet due to the reductions in residual value plus an additional $20 million estimated loss on used

   vehicle sales.

            322.    In response to this disclosure, the Company’s stock price fell dramatically by 23%

   over three trading days, from a closing price of $50.19 per share on February 12, 2020, to a closing

   price of $45.01 on February 13, 2020, to a closing price of $40.12 on February 14, 2020, and a

   closing price of $38.45 on February 18, 2020—all on unusually high trading volume.

            323.    Analysts reacted harshly to this news. For example, Pacific Square Research stated

   that the Company was “paying the price for years of underpricing its leases to drive growth” with

   a depreciation methodology that had “Gone Awry” and “introduce[d] a significant distortion into

   earnings. Pacific Square Research went on to state that “[w]hat is shocking to us is that Ryder

   continued to adjust residual values and depreciable lives upward from 2011-2016 as if

   management assumed the good times would never end.”

            324.    A few months later, Pacific Square Research similarly wrote that “ [t]he Company

   blames a continuing, unexpected and seemingly impossible-to-predict decline in the selling prices



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   for used equipment . . . [t]he trouble is, repeatedly raising residual values—as Ryder did from

   2011-2019—is just another form of borrowing from the future. In our view, it represents a cosmetic

   boost that benefits earnings in the short term, at the expense of future earnings.”

          Repurchases During the Relevant Period

          325.    During the Relevant Period, the Individual Defendants caused the Company to

   initiate repurchases of its common stock that substantially damaged the Company. In total, during

   the Relevant Period, the Company spent an aggregate amount of over $201.3 million to repurchase

   approximately 3.1 million shares of its own common stock at artificially inflated prices.

          326.    According to the 2015 Q3 10-Q, during August 1, 2015 through September 30,

   2015, the Company purchased 222 shares of its common stock for approximately $18,272.82, at

   an average price of $82.31 per share.

          327.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during September 2015 was approximately $9,736.92.

          328.    According to the 2015 10-K, during the quarterly period ended December 31, 2015,

   the Company purchased 822 shares of its common stock for approximately $47,930.82, at an

   average price of $58.31 per share.

          329.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended December 31, 2015 was approximately $16,324.92.




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          330.    According to the 2016 Q1 10-Q, during the quarterly period ended March 31, 2016,

   the Company purchased 30,552 shares of its common stock for approximately $1,713,356.16, at

   an average price of $56.08 per share.

          331.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended March 31, 2016 was approximately $538,631.76.

          332.    According to the 2016 Q2 10-Q, during the quarterly period ended June 30, 2016,

   the Company purchased 322,341 shares of its common stock for approximately $21,932,081.64,

   at an average price of $68.04 per share.

          333.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended June 30, 2016 was approximately $9,538,070.19.

          334.    According to the 2016 Q3 10-Q, during the quarterly period ended September 30,

   2016, the Company purchased 60,261 shares of its common stock for approximately

   $3,897,681.48, at an average price of $64.68 per share.

          335.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended September 30, 2016 was approximately $1,580,646.03.

          336.    According to the 2016 10-K, during the quarterly period ended December 31, 2016,

   the Company purchased 156,927 shares of its common stock for approximately $11,650,260.48,

   at an average price of $74.24 per share.




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          337.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended December 31, 2016 was approximately $5,616,417.33.

          338.    According to the 2017 Q1 10-Q, during the quarterly period ended March 31, 2017,

   the Company purchased 245,705 shares of its common stock for approximately $18,698,150.50,

   at an average price of $76.10 per share.

          339.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended March 31, 2017 was approximately $9,250,793.25.

          340.    According to the 2017 Q2 10-Q, during the quarterly period ended June 30, 2017,

   the Company purchased 621,475 shares of its common stock for approximately $42,365,950.75,

   at an average price of $68.17 per share.

          341.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended June 30, 2017 was approximately $18,470,237.00.

          342.    According to the 2017 Q3 10-Q, during the quarterly period ended September 30,

   2017, the Company purchased 114,186 shares of its common stock for approximately

   $8,267,066.40, at an average price of $72.40 per share.

          343.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended September 30, 2017 was approximately $3,876,614.70.




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            344.   According to the 2017 10-K, during the quarterly period ended December 31, 2017,

   the Company purchased 154,704 shares of its common stock for approximately $12,521,741.76,

   at an average price of $80.94 per share.

            345.   As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended December 31, 2017 was approximately $6,573,372.96.

            346.   According to the Company’s quarterly report on Form 10-Q filed with the SEC on

   May 2, 2018, during the quarterly period ended March 31, 2018, the Company purchased 197,257

   shares of its common stock for approximately $15,042,818.82, at an average price of $76.26 per

   share.

            347.   As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended March 31, 2018 was approximately $7,458,287.17.

            348.   According to the 2018 Q2 10-Q, during the quarterly period ended June 30, 2018,

   the Company purchased 63,853 shares of its common stock for approximately $4,352,220.48, at

   an average price of $68.16 per share.

            349.   As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended June 30, 2018 was approximately $1,897,072.63.

            350.   According to the Company’s quarterly report on Form 10-Q filed with the SEC on

   October 26, 2018, during the quarterly period ended September 30, 2018, the Company purchased




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   134,903 shares of its common stock for approximately $10,498,151.46, at an average price of

   $77.82 per share.

          351.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended September 30, 2018 was approximately $5,311,131.11.

          352.    According to the 2018 10-K, during the quarterly period ended December 31, 2018,

   the Company purchased 56,613 shares of its common stock for approximately $3,161,836.05, at

   an average price of $55.85 per share.

          353.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended December 31, 2018 was approximately $985,066.20.

          354.    According to the 2019 Q2 10-Q, during the quarterly period ended March 31, 2019,

   the Company purchased 284,176 shares of its common stock for approximately $17,601,861.44,

   at an average price of $61.94 per share.

          355.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended March 31, 2019 was approximately $6,675,294.24.

          356.    According to the Q2 2019 10-Q, during the quarterly period ended June 30, 2019,

   the Company purchased 120,908 shares of its common stock for approximately $7,161,380.84, at

   an average price of $59.23 per share.




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             357.   As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended June 30, 2019 was approximately $2,512,468.24.

             358.   According to the Q3 2019 10-Q, during the quarterly period ended September 30,

   2019, the Company purchased 62,906 shares of its common stock for approximately

   $3,216,383.78, at an average price of $51.13 per share.

             359.   As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended September 30, 2019 was approximately $797,648.08.

             360.   According to the 2019 10-K, during the quarterly period ended December 31, 2019,

   the Company purchased 64,242 shares of its common stock for approximately $3,291,760.08, at

   an average price of $51.24 per share.

             361.   As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during the quarterly period ended December 31, 2019 was approximately $821,655.18.

             362.   According to the Company’s Form 10-Q filed with the SEC on May 1, 2020,

   between February 1, 2020 and February 29, 2020, the Individual Defendants caused the Company

   to repurchase 384,724 shares of its own common stock at an average price per share of

   approximately $41.30, for a total cost to the Company of approximately $15,889,101.2. Upon

   information and belief, at least some of these repurchases were made while the price of the

   Company’s shares was artificially inflated due to the false and misleading statements discussed

   herein.



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          363.    As the Company’s stock was actually worth only $38.45 per share, the price at

   closing on February 18, 2020, the amount the Company overpaid for repurchases of its own stock

   during February 2020 was approximately $1,032,636.4.

          364.    Thus, in total, during the Relevant Period, the Company overpaid for repurchases

   of its own stock by approximately $83 million.


                                       DAMAGES TO RYDER

          365.    As a direct and proximate result of the Individual Defendants’ conduct, Ryder has

   lost and expended, and will continue losing and expending, many millions of dollars.

          366.    Such expenditures include, but are not limited to, legal fees and payments

   associated with the Securities Class Action filed against the Company, its CEO and Chairman of

   the Board, its former CFO, and its former President of the Global FMS segment, and any internal

   investigations and amounts paid to outside lawyers, accountants, and investigators in connection

   thereto.

          367.    Such losses include the Company’s overpayment by approximately $83 million for

   repurchases of its own stock during the Relevant Period when the Company’s stock price was

   artificially inflated due to the false and misleading statements discussed herein.

          368.    Such costs include, but are not limited to, excessive compensation and benefits paid

   to the Individual Defendants who breached their fiduciary duties to the Company.

          369.    As a direct and proximate result of the Individual Defendants’ conduct, Ryder has

   also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s discount”

   that will plague the Company’s stock in the future due to the Company’s and their

   misrepresentations and the Individual Defendants’ breaches of fiduciary duties.


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                                    DERIVATIVE ALLEGATIONS

           370.    Plaintiff brings this action derivatively and for the benefit of Ryder to redress

   injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

   fiduciary duties as directors and/or officers of Ryder, violations of the Exchange Act as well as the

   aiding and abetting thereof.

           371.    Ryder is named solely as a nominal party in this action. This is not a collusive action

   to confer jurisdiction on this Court that it would not otherwise have.

           372.    Plaintiff is, and has been at all relevant times, a Ryder shareholder. Plaintiff will

   adequately and fairly represent the interests of Ryder in enforcing and prosecuting its rights, and,

   to that end, has retained competent counsel, experienced in derivative litigation, to enforce and

   prosecute this action.

                                DEMAND FUTILITY ALLEGATIONS

           373.    Plaintiff incorporates by reference and re-alleges each and every allegation stated

   above as if fully set forth herein.

           374.    A pre-suit demand on the Board of Ryder is futile and, therefore, excused. At the

   time of filing of this action, the Board consists of the following eleven individuals, Individual

   Defendants Sanchez, Eck, Hagemann, Hilton, Lundgren, Nieto, Nord, A. Smith, E. Smith,

   Stockton, and Tookes (the “Directors”). Plaintiff only needs to allege demand futility as to six of

   the eleven Directors who are on the Board at the time of the filing of this complaint.

           375.    Demand is excused as to all of the Directors because each one of them faces,

   individually and collectively, a substantial likelihood of liability as a result of the scheme they

   engaged in knowingly or recklessly to make and/or cause the Company to engage in improper

   accounting practices and to make false and misleading statements and omissions of material facts,

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   while three of them engaged in insider sales based on material non-public information, and, at the

   same time, caused the Company to overpay by approximately $83 million for repurchases of its

   own stock, all of which renders them unable to impartially investigate the charges and decide

   whether to pursue action against themselves and the other perpetrators of the scheme.

          376.    In complete abdication of their fiduciary duties, the Directors either knowingly or

   recklessly participated causing the Company to engage in improper accounting practices and in

   making and/or causing the Company to make the materially false and misleading statements

   alleged herein. The fraudulent scheme was, inter alia, intended to inflate earnings and make the

   Company appear more profitable and attractive to investors. As a result of the foregoing, the

   Directors breached their fiduciary duties, face a substantial likelihood of liability, are not

   disinterested, and demand upon them is futile, and thus excused.

          377.    Additional reasons that demand on Defendant Sanchez is futile follow. Defendant

   Sanchez has served as the Company’s CEO since January 2013, and as Chairman of the Board

   since May 2013. Thus, as the Company admits, he is a non-independent director. The Company

   provides Defendant Sanchez with his principal occupation, and he receives handsome

   compensation as described above, including $6,604,851 during the fiscal year ended December

   31, 2019. A majority of Defendant Sanchez’s compensation was performance-based and tied to

   the overall success of the Company—and his cash incentive was determined based on the

   Company’s comparable earnings per and Operating Revenue. In fact, for the fiscal year ended

   December 31, 2019, Defendant Sanchez received 3,897,431 in compensation-based stock awards.

   Therefore, Defendant Sanchez’s statements regarding residual values directly and indirectly

   affected his compensation during the Relevant Period.



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          378.    Defendant Sanchez’s insider sales, which yielded at least $6.6 million in proceeds,

   demonstrate his motive in facilitating and participating in the fraud. Moreover, Defendant Sanchez

   was ultimately responsible for all of the false and misleading statements and omissions that were

   made, including those made during conference calls and contained in the Company’s SEC filings

   and press releases referenced herein, many of which he either personally made or signed off on.

   As the Company’s highest officer during the Relevant Period and as a trusted director, Defendant

   Sanchez conducted little, if any, oversight of the scheme to cause the Company to engage in

   improper accounting practices and to make false and misleading statements, consciously

   disregarded his duties to monitor such controls over reporting and engagement in the scheme, and

   consciously disregarded his duties to protect corporate assets. Moreover, Defendant Sanchez is a

   defendant in the Securities Class Action. Thus, for these reasons, too, Defendant Sanchez breached

   his fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested,

   and thus demand upon him is futile and, therefore, excused.

          379.    Additional reasons that demand on Defendant Eck is futile follow. Defendant Eck

   has served as a Company director since March 2007. He also serves as a member of the

   Compensation Committee and Corporate Governance and Nominating Committee. Previously, he

   served as a member of the Finance Committee. Defendant Eck has received and continues to

   receive compensation for his role as a director as described herein. As a trusted Company director,

   he conducted little, if any, oversight of the scheme to cause the Company to engage in improper

   accounting practices and to make false and misleading statements, consciously disregarded his

   duties to monitor such controls over reporting and engagement in the scheme, and consciously

   disregarded his duties to protect corporate assets. Furthermore, Defendant Eck signed, and thus



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   personally made the false and misleading statements in the 2015 10-K, 2016 10-K, 2017 10-K,

   and 2018 10-K. For these reasons, too, Defendant Eck breached his fiduciary duties, faces a

   substantial likelihood of liability, is not independent or disinterested, and thus demand upon him

   is futile and, therefore, excused.

          380.    Additional reasons that demand on Defendant Hagemann is futile follow.

   Defendant Hagemann has served as a Company director since August 2014. He also serves as a

   member of the Audit Committee and the Finance Committee. Defendant Hagemann has received

   and continues to receive compensation for his role as a director as described herein. As a trusted

   Company director, he conducted little, if any, oversight of the scheme to cause the Company to

   engage in improper accounting practices and to make false and misleading statements, consciously

   disregarded his duties to monitor such controls over reporting and engagement in the scheme, and

   consciously disregarded his duties to protect corporate assets. Furthermore, Defendant Hagemann

   signed, and thus personally made the false and misleading statements in the 2015 10-K, 2016 10-

   K, 2017 10-K, and 2018 10-K. For these reasons, too, Defendant Hagemann breached his fiduciary

   duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

   demand upon him is futile and, therefore, excused.

          381.    Additional reasons that demand on Defendant Hilton is futile follow. Defendant

   Hilton has served as a Company director since July 2012. He also serves as a member of the

   Compensation Committee and Corporate Governance and Nominating Committee. Defendant

   Hilton has received and continues to receive compensation for his role as a director as described

   herein. As a trusted Company director, he conducted little, if any, oversight of the scheme to cause

   the Company to engage in improper accounting practices and to make false and misleading



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   statements, consciously disregarded his duties to monitor such controls over reporting and

   engagement in the scheme, and consciously disregarded his duties to protect corporate assets.

   Furthermore, Defendant Hilton signed, and thus personally made the false and misleading

   statements in the 2015 10-K, 2016 10-K, 2017 10-K, and 2018 10-K. For these reasons, too,

   Defendant Hilton breached his fiduciary duties, faces a substantial likelihood of liability, is not

   independent or disinterested, and thus demand upon him is futile and, therefore, excused.

          382.    Additional reasons that demand on Defendant Lundgren is futile follow. Defendant

   Lundgren has served as a Company director since October 2012. She also serves as a member of

   the Audit Committee and Corporate Governance and Nominating Committee. Defendant

   Lundgren has received and continues to receive compensation for her role as a director as described

   herein. As a trusted Company director, she conducted little, if any, oversight of the scheme to

   cause the Company to engage in improper accounting practices and to make false and misleading

   statements, consciously disregarded her duties to monitor such controls over reporting and

   engagement in the scheme, and consciously disregarded her duties to protect corporate assets.

   Furthermore, Defendant Lundgren signed, and thus personally made the false and misleading

   statements in the 2015 10-K, 2016 10-K, 2017 10-K, and 2018 10-K. For these reasons, too,

   Defendant Lundgren breached her fiduciary duties, faces a substantial likelihood of liability, is not

   independent or disinterested, and thus demand upon her is futile and, therefore, excused.

          383.    Additional reasons that demand on Defendant Nieto is futile follow. Defendant

   Nieto has served as a Company director since February 2007. He also serves as a member of the

   Audit Committee and the Finance Committee. Defendant Nieto has received and continues to

   receive compensation for his role as a director as described herein. As a trusted Company director,



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   he conducted little, if any, oversight of the scheme to cause the Company to engage in improper

   accounting practices and to make false and misleading statements, consciously disregarded his

   duties to monitor such controls over reporting and engagement in the scheme, and consciously

   disregarded his duties to protect corporate assets. Defendant Nieto’s insider sales, which yielded

   at least $242,196 in proceeds, demonstrate his motive in facilitating and participating in the fraud.

   Furthermore, Defendant Nieto signed, and thus personally made the false and misleading

   statements in the 2015 10-K, 2016 10-K, 2017 10-K, and 2018 10-K. For these reasons, too,

   Defendant Nieto breached his fiduciary duties, faces a substantial likelihood of liability, is not

   independent or disinterested, and thus demand upon him is futile and, therefore, excused.

          384.    Additional reasons that demand on Defendant Nord is futile follow. Defendant

   Nord has served as a Company director since March 2018. He also serves as the Chair of the Audit

   Committee and as a member of the Finance Committee. Defendant Nord has received and

   continues to receive compensation for his role as a director as described herein. As a trusted

   Company director, he conducted little, if any, oversight of the scheme to cause the Company to

   engage in improper accounting practices and to make false and misleading statements, consciously

   disregarded his duties to monitor such controls over reporting and engagement in the scheme, and

   consciously disregarded his duties to protect corporate assets. Furthermore, Defendant Nord

   signed, and thus personally made the false and misleading statements in the 2018 10-K. For these

   reasons, too, Defendant Nord breached his fiduciary duties, faces a substantial likelihood of

   liability, is not independent or disinterested, and thus demand upon him is futile and, therefore,

   excused.




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          385.    Additional reasons that demand on Defendant A. Smith is futile follow. Defendant

   A. Smith has served as a Company director since July 2003. She also serves as the Chair of the

   Finance Committee and as a member of the Audit Committee. Defendant A. Smith has received

   and continues to receive compensation for her role as a director as described herein. As a trusted

   Company director, she conducted little, if any, oversight of the scheme to cause the Company to

   engage in improper accounting practices and to make false and misleading statements, consciously

   disregarded her duties to monitor such controls over reporting and engagement in the scheme, and

   consciously disregarded her duties to protect corporate assets. Furthermore, Defendant A. Smith

   signed, and thus personally made the false and misleading statements in the 2015 10-K, 2016 10-

   K, 2017 10-K, and 2018 10-K. For these reasons, too, Defendant A. Smith breached her fiduciary

   duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

   demand upon her is futile and, therefore, excused.

          386.    Additional reasons that demand on Defendant E. Smith is futile follow. Defendant

   E. Smith has served as a Company director since July 2005. She also serves as the Chair of the

   Compensation Committee and as a member of the Corporate Governance and Nominating

   Committee. Defendant E. Smith has received and continues to receive compensation for her role

   as a director as described herein. As a trusted Company director, she conducted little, if any,

   oversight of the scheme to cause the Company to engage in improper accounting practices and to

   make false and misleading statements, consciously disregarded her duties to monitor such controls

   over reporting and engagement in the scheme, and consciously disregarded her duties to protect

   corporate assets. Defendant E. Smith’s insider sales, which yielded at least $139,078 in proceeds,

   demonstrate her motive in facilitating and participating in the fraud. Furthermore, Defendant E.



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   Smith signed, and thus personally made the false and misleading statements in the 2015 10-K,

   2016 10-K, 2017 10-K, and 2018 10-K. For these reasons, too, Defendant E. Smith breached her

   fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested, and

   thus demand upon her is futile and, therefore, excused.

          387.    Additional reasons that demand on Defendant Stockton is futile follow. Defendant

   Stockton has served as a Company director since March 2018. He also serves as a member of the

   Compensation Committee and Finance Committee. Defendant Stockton has received and

   continues to receive compensation for his role as a director as described herein. As a trusted

   Company director, he conducted little, if any, oversight of the scheme to cause the Company to

   engage in improper accounting practices and to make false and misleading statements, consciously

   disregarded his duties to monitor such controls over reporting and engagement in the scheme, and

   consciously disregarded his duties to protect corporate assets. Furthermore, Defendant Stockton

   signed, and thus personally made the false and misleading statements in the 2018 10-K. For these

   reasons, too, Defendant Stockton breached his fiduciary duties, faces a substantial likelihood of

   liability, is not independent or disinterested, and thus demand upon him is futile and, therefore,

   excused.

          388.    Additional reasons that demand on Defendant Tookes is futile follow. Defendant

   Tookes has served as a Company director since September 2002. He also serves as the Chair of

   the Corporate Governance and Nominating Committee and as a member of the Audit Committee.

   Defendant Tookes has received and continues to receive compensation for his role as a director as

   described herein. As a trusted Company director, he conducted little, if any, oversight of the

   scheme to cause the Company to engage in improper accounting practices and to make false and



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   misleading statements, consciously disregarded his duties to monitor such controls over reporting

   and engagement in the scheme, and consciously disregarded his duties to protect corporate assets.

   Furthermore, Defendant Tookes signed, and thus personally made the false and misleading

   statements in the 2015 10-K, 2016 10-K, 2017 10-K, and 2018 10-K. For these reasons, too,

   Defendant Tookes breached his fiduciary duties, faces a substantial likelihood of liability, is not

   independent or disinterested, and thus demand upon him is futile and, therefore, excused.

          389.    Additional Reasons that demand on the Board is futile follow.

          390.    Each of the Directors, individually and collectively, face a substantial likelihood of

   liability as a result of their intentional or reckless approval of unnecessary and harmful repurchases

   that caused the Company to overpay by millions of dollars for its own common stock during the

   Relevant Period. The Directors, as alleged herein, were aware or should have been aware of the

   misinformation being spread by the Company and yet approved the repurchases. Thus, the

   Directors breached their fiduciary duties, face a substantial likelihood of liability, are not

   disinterested, and demand upon them is futile, and thus excused.

          391.    Defendants Hagemann, Lundgren, Nord, A. Smith, and Tookes (the “Audit

   Committee Defendants”) served as members of the Audit Committee during the Relevant Period.

   Pursuant to the Company’s Audit Committee Charter, the Audit Committee Defendants are

   responsible for overseeing, among other things, the Company’s accounting and financial reporting

   processes, the Company’s significant risk exposures, and the Company’s compliance with legal

   and regulatory requirements. The Audit Committee Defendants failed to ensure the integrity of the

   Company’s accounting and financial reporting processes, as they are charged to do under the Audit

   Committee Charter, allowing the Company to cause the Company to engage in improper



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   accounting practices, to file false and misleading financial statements with the SEC, and to fail to

   maintain internal controls. Thus, the Audit Committee Defendants breached their fiduciary duties,

   are not disinterested, and demand is excused as to them.

          392.    As described above, at least three of the Directors directly engaged in insider

   trading, in violation of federal law and the Company’s Code of Conduct. Defendant Sanchez

   received proceeds of approximately $6.6 million, Defendant Nieto received proceeds of

   approximately $242,196, and Defendant E. Smith received approximately $139,078 as a result of

   insider transactions executed during the Relevant Period, when the Company’s stock price was

   artificially inflated due to the false and misleading statements alleged herein. Therefore, demand

   in this case is futile as to them, and excused.

          393.    The Directors have longstanding business and personal relationships with each

   other and the Individual Defendants that preclude them from acting independently and in the best

   interests of the Company and the shareholders. These conflicts of interest precluded the Directors

   from adequately monitoring the Company’s operations and internal controls and calling into

   question the Individual Defendants’ conduct. Thus, the Directors face a substantial likelihood of

   liability and demand is futile as to them.

          394.    In violation of the Company’s Code of Conduct and the Guidelines, the Directors

   conducted little, if any, oversight of the Company’s internal controls over public reporting, and of

   the Company’s engagement in the Individual Defendants’ scheme to cause the Company to engage

   in improper accounting practices and to cause the Company to engage in improper accounting

   practices, to issue materially false and misleading statements to the public, and facilitate and

   disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust



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   enrichment, waste of corporate assets, and violations of the Exchange Act. In violation of the Code

   of Conduct and the Guidelines, the Directors engaged in improper insider selling, failed to comply

   with laws and regulations, maintain the accuracy of Company records, public reports and

   communications, and uphold the responsibilities related thereto. Thus, the Directors face a

   substantial likelihood of liability and demand is futile as to them.

          395.    Ryder has been and will continue to be exposed to significant losses due to the

   wrongdoing complained of herein, yet the Directors have not filed any lawsuits against themselves

   or others who were responsible for that wrongful conduct to attempt to recover for Ryder any part

   of the damages Ryder suffered and will continue to suffer thereby. Thus, any demand upon the

   Directors would be futile.

          396.    The Individual Defendants’ conduct described herein and summarized above could

   not have been the product of legitimate business judgment as it was based on bad faith and

   intentional, reckless, or disloyal misconduct. Thus, none of the Directors can claim exculpation

   from their violations of duty pursuant to the Company’s charter (to the extent such a provision

   exists). As a majority of the Directors face a substantial likelihood of liability, they are self-

   interested in the transactions challenged herein and cannot be presumed to be capable of exercising

   independent and disinterested judgment about whether to pursue this action on behalf of the

   shareholders of the Company. Accordingly, demand is excused as being futile.

          397.    The acts complained of herein constitute violations of fiduciary duties owed by

   Ryder officers and directors, and these acts are incapable of ratification.

          398.    The Directors may also be protected against personal liability for their acts of

   mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’ liability



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   insurance if they caused the Company to purchase it for their protection with corporate funds, i.e.,

   monies belonging to the stockholders of Ryder. If there is a directors’ and officers’ liability

   insurance policy covering the Directors, it may contain provisions that eliminate coverage for any

   action brought directly by the Company against the Directors, known as, inter alia, the “insured-

   versus-insured exclusion.” As a result, if the Directors were to sue themselves or certain of the

   officers of Ryder, there would be no directors’ and officers’ insurance protection. Accordingly,

   the Directors cannot be expected to bring such a suit. On the other hand, if the suit is brought

   derivatively, as this action is brought, such insurance coverage, if such an insurance policy exists,

   will provide a basis for the Company to effectuate a recovery. Thus, demand on the Directors is

   futile and, therefore, excused.

          399.    If there is no directors’ and officers’ liability insurance, then the Directors will not

   cause Ryder to sue the Individual Defendants named herein, since, if they did, they would face a

   large uninsured individual liability. Accordingly, demand is futile in that event, as well.

          400.    Thus, for all the reasons set forth above, all of the Directors, and, if not all of them,

   at least six of the Directors, cannot consider a demand with disinterestedness and independence.

   Consequently, a demand upon the Board is excused as futile.

                                              FIRST CLAIM

                           Against Individual Defendants for Violations of
                         Section 14(a) of the Securities Exchange Act of 1934

          401.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

   above, as though fully set forth herein.

          402.    The Section 14(a) Exchange Act claims alleged herein are based solely on

   negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf


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   of the Individual Defendants. The Section 14(a) claims alleged herein do not allege and do not

   sound in fraud. Plaintiff specifically disclaims any allegations of, reliance upon any allegation of,

   or reference to any allegation of fraud, scienter, or recklessness with regard to these nonfraud

   claims.

             403.   Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

   be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

   commerce or of any facility of a national securities exchange or otherwise, in contravention of

   such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

   interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

   proxy or consent or authorization in respect of any security (other than an exempted security)

   registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

             404.   Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

   proxy statement shall contain “any statement which, at the time and in the light of the

   circumstances under which it is made, is false or misleading with respect to any material fact, or

   which omits to state any material fact necessary in order to make the statements therein not false

   or misleading.” 17 C.F.R. §240.14a-9.

             405.   Under the direction and watch of the Directors, the 2018 and 2019 Proxy

   Statements (the “Proxy Statements”) failed to disclose that: (1) throughout the Relevant Period,

   nearly all of Ryder’s used vehicles were selling at prices significantly below the residual values

   that the Company had designated for each vehicle; (2) as a result, Ryder had a large number of

   vehicles that were recorded at high residual values that needed to be written down because the

   residual values of the Company’s used vehicles had materially decreased and its depreciation



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   expense had materially increased beginning at least as early as mid-2015; (3) the Company failed

   to correctly reduce the residual values of its fleet vehicles or increase its depreciation expense,

   which resulted in a material overstatement of the Company’s net earnings, earnings per share, the

   value of its operating property and equipment, its total assets, retained earnings, and total

   shareholder’s equity; (4) the Company failed to maintain internal controls. As a result of the

   foregoing, the Company’s public statements were materially false and misleading at all relevant

   times.

            406.   The Individual Defendants also caused the Proxy Statements to be false and

   misleading with regard to executive compensation in that they purported to employ “pay-for-

   performance” elements, while failing to disclose that the Company’s financial prospects were

   misrepresented as a result of false and misleading statements, causing the Company’s share price

   to be artificially inflated and allowing the Individual Defendants to wrongfully benefit from the

   fraud alleged herein.

            407.   Moreover, the Proxy Statements were false and misleading when they discussed

   the Company’s adherence to specific governance policies and procedures, including the Code of

   Conduct, due to the Individual Defendants’ failures to abide by them and their engagement in the

   scheme to cause the Company to engage in improper accounting practices and to issue false and

   misleading statements and omissions of material fact.

            408.   In the exercise of reasonable care, the Individual Defendants should have known

   that by misrepresenting or failing to disclose the foregoing material facts, the statements contained

   in the Proxy Statements were materially false and misleading. The misrepresentations and

   omissions were material to Plaintiff in voting on the matters set forth for shareholder determination



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   in the Proxy Statements, including, but not limited to, the election of directors, ratification of the

   Company’s independent auditor, advisory approval of the compensation of executive officers,

   approval of amendments to the Company’s Restated Articles of Incorporation and By-Laws to

   authorize shareholder action by written consent, approval of shareholder proposal on simple

   majority voting, management proposal to approve the Equity and Incentive Compensation Plan,

   management proposal to remove supermajority voting provisions for shareholder action by written

   consent, and advisory vote on shareholder proposal on an Independent Board Chairman.

          409.    The false and misleading elements of the Proxy Statements alleged herein were

   material to shareholders and led to the re-election of Defendants Sanchez, Eck, Hagemann, Hilton,

   Lundgren, Nieto, Nord, A. Smith, E. Smith, Stockton, and Tookes, which allowed them to continue

   breaching their fiduciary duties to Ryder. Had shareholders been informed that the Individual

   Defendants caused the Company to engage in improper accounting practices and issue false and

   misleading statements, as detailed herein, Ryder shareholders would not have approved the

   election of Defendants Berra, Eck, Hagemann, Hilton, Lundgren, Nieto, Nord, Sanchez, A. Smith,

   E. Smith, Stockton, and Tookes; would not have ratified the independent accounting firm; would

   not have approved the compensation of the executive officers; would not have approved the Equity

   and Incentive Compensation Plan, and would not have approved amendments to the Articles of

   Incorporation and By-Laws to change the voting requirement for the removal of directors, to

   change the voting requirement for amendments to the By-Laws, to change voting requirements for

   amendments to the Articles, or to change the general voting requirements.

          410.    The Company was damaged as a result of the Individual Defendants material

   misrepresentations and omissions in the Proxy Statements.



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            411.     Plaintiff on behalf of Ryder has no adequate remedy at law.

                                              SECOND CLAIM

                           Against the Individual Defendants for Violations of
                   Section 10(b) and Rule 10b-5 of the Securities Exchange Act of 1934

            412.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

   above, as though fully set forth herein.

            413.     The Individual Defendants participated in a scheme to defraud with the purpose

   and effect of defrauding Ryder. Not only is Ryder now defending claims that it violated Section

   10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, but the Company itself is also

   one of the largest victims of the unlawful scheme perpetrated upon Ryder by the Individual

   Defendants. With the price of its common stock trading at artificially-inflated prices during the

   Relevant Period due to the Individual Defendants’ misconduct, the Individual Defendants caused

   the Company to repurchase millions of its own shares at artificially-inflated prices, damaging

   Ryder.

            414.     During the Relevant Period, the Individual Defendants also individually and in

   concert, directly and indirectly, by the use and means of instrumentalities of interstate commerce

   and/or of the mails, engaged and participated in a continuous course of conduct designed to falsify

   the Company’s press releases, public statements made in conference calls, and periodic and current

   reports filed with the SEC.

            415.     The Individual Defendants employed devices, schemes and artifices to defraud

   while in possession of adverse, material, non-public information and engaged in acts, practices

   and a course of conduct that included the making of, or participation in the making of, untrue




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   and/or misleading statements of material facts and/or omitting to state material facts necessary in

   order to make the statements made about Ryder not misleading.

          416.    The Individual Defendants, as top executives and directors of the Company, are

   liable as direct participants in the wrongs complained of herein. Through their positions of control

   and authority as directors and officers of the Company, the Individual Defendants were able to and

   did control the conduct complained of herein and the content of the public statements disseminated

   by Ryder. The Individual Defendants acted with scienter during the Relevant Period, in that they

   either had actual knowledge of the schemes and the misrepresentations and/or omissions of

   material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

   ascertain and to disclose the true facts, even though such facts were available to them. The

   Individual Defendants were the top executives of the Company, or received direct briefings from

   them, and were therefore directly responsible for the schemes set forth herein and for the false and

   misleading statements and/or omissions disseminated to the public through press releases,

   conference calls, and filings with the SEC.

          417.    In addition to each of the Individual Defendants approving the issuance of the

   Company’s false and misleading statements while they were serving as a senior executive and/or

   director of the Company, they made and/or signed the Company’s Form 10-Ks filed with the SEC

   during the Relevant Period.

          418.    By virtue of the foregoing, the Individual Defendants have violated § 10(b) of the

   Exchange Act, and Rule 10b-5 promulgated thereunder.

          419.    Plaintiff on behalf of Ryder has no adequate remedy at law.




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                                              THIRD CLAIM

                 Against the Individual Defendants for Violations of Section 20(a)
                           of the of the Securities Exchange Act of 1934

          420.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

   above, as though fully set forth herein.

          421.    The Individual Defendants, by virtue of their positions with Ryder and their specific

   acts, were, at the time of the wrongs alleged herein, controlling persons of Ryder and each of its

   officers and directors who made the false and misleading statements alleged herein within the

   meaning of § 20(a) of the Exchange Act. The Individual Defendants had the power and influence

   and exercised the same to cause Ryder and the other Individual Defendants to engage in the illegal

   conduct and practices complained of herein and violate § 10(b) of the Exchange Act.

          422.    Plaintiff on behalf of Ryder has no adequate remedy at law.

                                              FOURTH CLAIM

                   Against Individual Defendants for Breach of Fiduciary Duties

          423.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

   above, as though fully set forth herein.

          424.    Each Individual Defendant owed to the Company the duty to exercise candor, good

   faith, and loyalty in the management and administration of Ryder’s business and affairs.

          425.    Each of the Individual Defendants violated and breached his or her fiduciary duties

   of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

          426.    The Individual Defendants’ conduct set forth herein was due to their intentional or

   reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The




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   Individual Defendants intentionally or recklessly breached or disregarded their fiduciary duties to

   protect the rights and interests of Ryder.

          427.    In breach of their fiduciary duties to Ryder, the Individual Defendants also willfully

   or recklessly made and/or caused the Company to engage in improper accounting practices and to

   make false and misleading statements and omissions of material fact that failed to disclose, inter

   alia, that: (1) throughout the Relevant Period, nearly all of Ryder’s used vehicles were selling at

   prices significantly below the residual values that the Company had designated for each vehicle;

   (2) as a result, Ryder had a large number of vehicles that were recorded at high residual values that

   needed to be written down because the residual values of the Company’s used vehicles had

   materially decreased and its depreciation expense had materially increased beginning at least as

   early as mid-2015; (3) the Company failed to correctly reduce the residual values of its fleet

   vehicles or increase its depreciation expense, which resulted in a material overstatement of the

   Company’s net earnings, earnings per share, the value of its operating property and equipment, its

   total assets, retained earnings, and total shareholder’s equity; (4) the Company failed to maintain

   internal controls. As a result of the foregoing, the Company’s public statements were materially

   false and misleading at all relevant times.

          428.    The Individual Defendants failed to correct and/or caused the Company to fail to

   rectify any of the wrongs described herein or correct the false and misleading statements and

   omissions of material fact referenced herein, rendering them personally liable to the Company for

   breaching their fiduciary duties.




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           429.     In further breach of their fiduciary duties, the Individual Defendants failed to

   maintain an adequate system of oversight, disclosure controls and procedures, and internal

   controls.

           430.     The Individual Defendants also breached their fiduciary duties by causing the

   Company to repurchase millions of shares of its own stock at prices that were artificially inflated

   due to the foregoing misrepresentations, while at least six of the Individual Defendants engaged in

   lucrative insider sales, netting proceeds of over $11.5 million.

           431.     The Individual Defendants had actual or constructive knowledge that the Company

   issued materially false and misleading statements, and they failed to correct the Company’s public

   statements. The Individual Defendants had actual knowledge of the misrepresentations and

   omissions of material facts set forth herein, or acted with reckless disregard for the truth, in that

   they failed to ascertain and to disclose such facts, even though such facts were available to them.

   Such material misrepresentations and omissions were committed knowingly or recklessly and for

   the purpose and effect of artificially inflating the price of the Company’s securities and disguising

   insider sales.

           432.     The Individual Defendants had actual or constructive knowledge that they had

   caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

   maintain adequate internal controls. The Individual Defendants had actual knowledge that the

   Company was engaging in the fraudulent scheme set forth herein, and that internal controls were

   not adequately maintained, or acted with reckless disregard for the truth, in that they caused the

   Company to improperly engage in the fraudulent scheme and to fail to maintain adequate internal

   controls, even though such facts were available to them. Such improper conduct was committed



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   knowingly or recklessly and for the purpose and effect of artificially inflating the price of the

   Company’s securities and disguising insider sales. The Individual Defendants, in good faith,

   should have taken appropriate action to correct the schemes alleged herein and to prevent them

   from continuing to occur.

          433.    These actions were not a good-faith exercise of prudent business judgment to

   protect and promote the Company’s corporate interests.

          434.    As a direct and proximate result of the Individual Defendants’ breaches of their

   fiduciary obligations, Ryder has sustained and continues to sustain significant damages. As a result

   of the misconduct alleged herein, the Individual Defendants are liable to the Company.

          435.    Plaintiff on behalf of Ryder has no adequate remedy at law.

                                              FIFTH CLAIM

                       Against Individual Defendants for Unjust Enrichment

          436.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

   above, as though fully set forth herein.

          437.    By their wrongful acts, violations of law, and false and misleading statements and

   omissions of material fact that they made and/or caused to be made, the Individual Defendants

   were unjustly enriched at the expense of, and to the detriment of, Ryder.

          438.    The Individual Defendants either benefited financially from the improper conduct

   and their engaging in lucrative insider transactions tied to false and misleading statements, or

   received, unjustly, lucrative bonuses tied to the false and misleading statements, or received

   bonuses, stock options, or similar compensation from Ryder that was tied to the performance or




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   artificially inflated valuation of Ryder, or received compensation that was unjust in light of the

   Individual Defendants’ bad faith conduct.

          439.    Plaintiff, as a shareholder and representative of Ryder, seeks restitution from the

   Individual Defendants and seeks an order from this Court disgorging all profits—including from

   insider sales, benefits, and other compensation, including any performance-based or valuation-

   based compensation—obtained by the Individual Defendants due to their wrongful conduct and

   breach of their fiduciary and contractual duties.

          440.    Plaintiff on behalf of Ryder has no adequate remedy at law.

                                              SIXTH CLAIM

                   Against Individual Defendants for Waste of Corporate Assets

          441.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

   above, as though fully set forth herein.

          442.    As a result of the foregoing, and by failing to properly consider the interests of the

   Company and its public shareholders, Defendants have caused Ryder to waste valuable corporate

   assets, to incur many millions of dollars of legal liability and costs to defend unlawful actions, to

   engage in internal investigations, and to lose financing from investors and business from future

   customers who no longer trust the Company and its products and/or services. In addition, the

   Individual Defendants caused the Company to repurchase shares of its own common stock at

   artificially inflated prices, thereby wasting the Company’s assets.

          443.    As a result of the waste of corporate assets, the Individual Defendants are each

   liable to the Company.

          444.    Plaintiff on behalf of Ryder has no adequate remedy at law.



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                                        PRAYER FOR RELIEF

          FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

   of the Individual Defendants as follows:

                  (a)      Declaring that Plaintiff may maintain this action on behalf of Ryder, and

   that Plaintiff is an adequate representative of the Company;

                  (b)      Declaring that each of the Individual Defendants breached or aided and

   abetted the breach of their fiduciary duties to Ryder;

                  (c)      Determining and awarding to Ryder the damages sustained by it as a result

   of the violations set forth above from each of the Individual Defendants, jointly and severally,

   together with pre-judgment and post-judgment interest thereon;

                  (d)      Directing Ryder and the Individual Defendants to take all necessary actions

   to reform and improve its corporate governance and internal procedures to comply with applicable

   laws and to protect Ryder and its shareholders from a repeat of the damaging events described

   herein, including, but not limited to, putting forward for shareholder vote the following resolutions

   for amendments to the Company’s Bylaws or Articles of Incorporation and the following actions

   as may be necessary to ensure proper corporate governance policies:

                        1. a proposal to strengthen the Board’s supervision of operations and develop

               and implement procedures for greater shareholder input into the policies and

               guidelines of the board;

                        2. a provision to permit the shareholders of Ryder to nominate at least six

               candidates for election to the board; and

                        3. a proposal to ensure the establishment of effective oversight of compliance



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               with applicable laws, rules, and regulations;

                  (e) Awarding Ryder restitution from the Individual Defendants, and each of them;

                  (f) Awarding Plaintiff the costs and disbursements of this action, including

   reasonable attorneys’ and experts’ fees, costs, and expenses; and

                  (g) Granting such other and further relief as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

          Plaintiff hereby demands a trial by jury.

    Dated: January 19, 2021                           Respectfully submitted,

                                                      THE ROSEN LAW FIRM, P.C.

                                                      /s/ Laurence M. Rosen
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                                                         VERIFICATION

                   I,     Alan Campbell am           a        plaintiff in       the       within   action.
            I have reviewed          the     allegations    made       in   this    verified consolidated
            shareholder derivative complaint, know the contents thereof, and authorize its filing.
            To those allegations of which I have personal knowledge, I believe those allegations
            to be true. As to those allegations of which I do not have personal knowledge, I rely upon
            my counsel and their investigation and believe them to be true.

                     I declare under penalty of perjury that the foregoing is true and correct. Executed this _th
                of __________,
            day 1/12/2021         2021.
                                            ______________________
                                            Alan Campbell
